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                         Dated: February 24, 2020

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                        Exhibit 1
 Attached to Plaintiff’s Motion for Preliminary Injunction

                  Dated: February 23, 2020


                         Description:

          Handbook for DUS in Yale College:
       Committee on Honors and Academic Standing
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Handbook or Directors o
Undergraduate Studies in Yale
College 2019–2020
Committee on Honors and Academic Standing
The Yale College Faculty has charged the Committee on Honors and Academic Standing to act for it and
with its authority in matters of academic rules and standards. A chief role of the Committee on Honors and
Academic Standing is thus to enforce, interpret, and apply the academic regulations of Yale College. It also
has the responsibilities of administering the award of General Honors and Distinction in the Major and of
considering proposals for Special Term Courses and Special Divisional Majors.

From 1926 to 1981, both academic and disciplinary matters were handled by the Yale College Executive
Committee. In 1981 the Yale College Faculty changed the name of the Committee on Honors and Special
Projects to the Committee on Honors and Academic Standing, committing to it all of the academic
business previously delegated to the Executive Committee. The Yale College Executive Committee is now
solely a disciplinary committee. For more information on the Executive Committee as presently
constituted, see The Residential College Deans.

The Committee on Honors and Academic Standing meets about twice a month during the regular academic
year. A good deal of the routine business of the committee is delegated to the chair, but the full committee
decides any matter that raises a question of academic policy or that is in some other way unusual. The
chair of the committee, Dean Mark J. Schenker, is in general the person to consult about any of the
academic regulations of Yale College. All questions about General Honors, Distinction in the Major, Special
Divisional Majors, or Special Term Courses may also be referred to him.

Topics in this section:

    Special Academic Problems

    Routine Matters
    Grading Disputes

    Honors and Distinction
    Special Divisional Majors
    Special Term Courses




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      Special Term Courses
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Yale College Programs of Study
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                        Exhibit 2
 Attached to Plaintiff’s Motion for Preliminary Injunction

                  Dated: February 23, 2020


                         Description:

              Report of the Yale College
     Withdrawal and Readmission Review Committee
                     (April 2015)
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Report of the Yale College Withdrawal and
Readmission Review Committee




April 2015

John Rogers, Chair

In the fall of 2014, Yale College Dean Jonathan Holloway appointed a committee to review the
policies and procedures in Yale College regarding withdrawal and readmission. The members of the
committee were John Rogers, Professor of English, who served as Chair; Jasmina Besirevic-Regan,
Dean of Trumbull College; Caroline G. Hendel, Senior Associate, Office of General Counsel; Sara
Samuel, Yale College Class of 2015; Susan Sawyer, Senior Associate, Office of General Counsel;
and Mark Schenker, Dean of Academic Affairs, Yale College.

We met as a committee a total of 11 times, from December 2014 through April 2015. During that
period we attempted to assemble as much information as possible about the multi-faceted elements
of our withdrawal and readmission processes. As is well known, the policies at any institution
concerning a student’s withdrawal from and return to school are tied to and in many ways
constrained by policies outside the university, such as regulations concerning federal financial aid
distribution, medical rights to privacy, immigration and naturalization, and even NCAA eligibility. In
order to inform ourselves about some of the external factors, particularly in regard to financial aid,
behind current policies and the openings that might exist for future changes, we interviewed the
University Registrar, Gabriel Olszewski, and the University Director of Financial Aid,
Caesar Storlazzi. The reasons behind Yale’s current policies of readmission are also complex.
Seeking to understand the current readmission policies, as well as to solicit input regarding future
changes, we interviewed the Yale College Readmissions Committee, whose members include the
chair, Pamela George, Joseph Gordon, Dr. Howard Blue, and Dr. Lorraine Siggins, Chief of Yale
Mental Health and Counseling. We solicited, further, in a large group meeting, the perspective of
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the residential college deans. The committee chair also met with and sought the opinions of the
masters of the residential colleges at a meeting of the Council of Masters. Additionally, our
committee reviewed and discussed the wide range of practices concerning withdrawal and
readmission at our peer institutions.

It goes without saying that no one is more affected by the withdrawal and readmission policies than
those students who withdraw (or who are considering withdrawing), those withdrawn students who
seek to be reinstated in Yale College, and those reinstated students who find themselves back in
Yale College anywhere from two terms to several years after the initial withdrawal. For that reason,
the committee devoted a significant amount of time to the consideration of the wide range of student
perspectives on the subject. We were fortunate to have access to the report issued by the Yale
College Council in March, 2014, “Recommendations for Improvement to Withdrawal and Leave of
Absence Policies.” And we sought additional student opinions about both withdrawal and
readmission by means of a survey we distributed to all currently enrolled students who have
withdrawn from and then returned to Yale. We gathered from the extensive responses to that
survey a wealth of information about student experiences of and opinions about withdrawal and
readmission. We took seriously as well the content of the many editorials and articles about the
student perspective on withdrawal and readmission that appeared over the course of the Fall 2014
and Spring 2015 terms.

Additionally, committee chair John Rogers met with the members of the Dean’s Student Advisory
Committee, who shared their sense of the main student concerns touching withdrawal and
readmission. On February 25, 2015 Rogers and committee member Sara Samuel attended a town
hall meeting of students and administrators concerning mental health and counseling, at which
several students valuably detailed concerns about withdrawal and readmission practices as they
pertain to students whose medical withdrawals involve mental health issues. Rogers met with
Michael Herbert ’16, president of the Yale College Council, as well as with several recently
readmitted students who chose to express their responses to the review committee’s survey in
person rather than in writing. Through these many avenues by which reports of student experiences
were expressed, we were able to familiarize ourselves with the surprisingly wide range of student
opinion about what works well, and what needs to be changed, regarding withdrawal
and readmissions in Yale College. What follows is an articulation of the committee’s sense of some
of the central concerns involving withdrawal and readmission, along with our recommendations for
change.
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A change in terminology
We have been struck by a misconception common among some students about the meaning of a
temporary withdrawal from Yale College. Because the current term for the process by which a
student seeks to return to Yale after a withdrawal is readmission, many students are understandably
concerned that a withdrawal brings with it a nullification of the student’s initial acceptance by Yale’s
Office of Admissions. In order to clarify the fact that students who withdraw from Yale College are in
no way un-admitted to Yale, we propose a change in terminology: readmission should henceforth be
called reinstatement (and what is currently referred to as “reinstatement” should be called
“automatic reinstatement”). The committee overseeing the return of withdrawn students to campus
should be called the Reinstatement Committee.




Leaves of absence and withdrawals
As is the case at nearly all institutions, there is a significant difference in Yale College between a
“leave of absence” and a “withdrawal.” At Yale, a student in academic good standing who wishes to
interrupt his or her studies may currently petition the Committee on Honors and Academic Standing
for no more than one or two terms of leave of absence, so long as that petition is received by the
tenth day of the term. A student who leaves Yale after the tenth day must withdraw from Yale
College, and that withdrawal falls under one of the following categories: personal, financial, medical,
academic, or disciplinary. It is undeniable that a leave of absence from Yale carries with it certain
advantages a withdrawal does not. Unlike students who withdraw, students on a leave of absence
are able to retain their Yale identification cards as well as their library and email privileges. Students
who petition for a leave of absence by the tenth day of the term, and whose petition is granted,
receive a rebate of any tuition already paid. Additionally, they do not have that term counted as one
of the total of eight terms of enrollment they are normally granted.

In light of the advantages attached to a leave of absence for students wishing to interrupt their
studies, we propose increasing the length of time at the beginning of each term during which a
student can elect to take a leave of absence. The period during which a student may elect to take a
leave of absence, which currently concludes on the tenth calendar day of the term, should be
extended to the last day of the course selection period. A student who elects to take a leave of
absence during this period, expanded now an additional five days in the fall and six days in the
spring, should receive a full rebate of tuition and prorated refund of room and board, as is the case
now with students who elect a leave on or prior to the tenth day of the term. The logistical and
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financial advantage of this expansion of the period in which a student can petition for a leave of
absence is clear. No less significant perhaps would be the additional time that a student, in
consultation with the residential college dean, has to make what is often the difficult but very
important determination to take time away from Yale.

Although the regulations concerning a leave of absence are articulated fully in the Yale College
Programs of Study (“YCPS” or “Blue Book”), many students who are considering taking time off from
their studies at Yale are unfamiliar with the leave policy and its strict deadline. Because of the
advantages to the student of a leave of absence, we propose increasing student awareness of the
leave of absence window at the beginning of each term. Yale College should take responsibility for
making certain that the leave of absence policy is publicized clearly and effectively to all students
and their parents, and every effort should be made to communicate as clearly as possible the
logistical and financial consequences of leaves of absence as opposed to withdrawals. Official
announcements, for example, could encourage all students considering a leave of absence to
consult with their residential college deans as soon as possible at the beginning of the term.

One simple and significant way to improve the current situation would be to clarify the language in
the YCPS or Blue Book that describes leaves, withdrawals, and reinstatement. We strongly
recommend, in addition to this clarification of the language in the Blue Book, the creation of a Yale
College website that presents students and their families with clear information about these matters,
directing them where appropriate to related resources. One resource available on this website
should be downloadable materials for application for reinstatement.




Integrating the processes of withdrawal
and reinstatement
One striking fact we gleaned from the survey of recently reinstated students involved the uncertainty
and confusion that some withdrawn students feel about the status of their withdrawal and the
upcoming process of reinstatement. Because the process of withdrawal is largely administered at
the level of the residential college while the process of reinstatement is overseen by Yale College,
some students experience a disconnect between two practices that many students, understandably,
feel should be experienced as related components of a single process. To assure that students who
withdraw experience a more continuous connection between the time of withdrawal and the time of
reinstatement, we suggest four changes to the current practice.
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First, the Chair of the Reinstatement Committee should be informed automatically of all withdrawals
from Yale College, a step that could be implemented simply by copying the Chair of the
Reinstatement Committee on the letter of withdrawal generated by the residential college dean. The
Chair of the Reinstatement Committee could then initiate contact with the student at an earlier point
in the period of withdrawal, and the student might be likelier to experience the time of withdrawal as
one more clearly preparatory for reinstatement.

Second, and relatedly, the Chair of the Reinstatement Committee should inform each of the
residential college deans of all relevant student applications for reinstatement. In cases in which
withdrawn students are not in regular contact with their residential college deans, the dean may in
some instances learn of a student’s application for reinstatement at a very late stage in the process.
If routinely informed of a student’s interest in reinstatement, a dean could much more effectively
counsel the student through the reinstatement process, and could potentially help foster a student’s
sense of a connection with the college in particular and Yale in general.

Third, withdrawn students should be reminded that they have continued access to their residential
college deans: they should be encouraged to stay in regular contact with the dean both during the
period of withdrawal and the period following reinstatement. The sense of alienation experienced by
some withdrawn students, noted above, could be diminished if students were sent a clear,
unequivocal message that they are entitled to maintain a relationship with the dean during the
period of withdrawal.

Fourth, students who have withdrawn from Yale College for personal, academic, or medical reasons
should be permitted to petition the Yale University Library System for certain online library privileges.




Additional measures with respect to withdrawal
At any time during the year, a student may withdraw from Yale College for personal reasons.
Currently, students who elect to take a personal withdrawal are obliged to spend two terms away
from Yale, not including the term in which the withdrawal occurred. Many students have singled out
this two-term rule as both unnecessary and unintentionally punitive. We propose that students who
withdraw for personal reasons, and who are deemed to have exceptional circumstances (such as a
terminally ill parent or comparable emergency), be granted an exemption from the usual
requirements of reinstatement. Such students should be allowed to petition the Chair of the
Reinstatement Committee in this regard.
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We have learned also that there is a good deal of confusion among students concerning the amount
of time they have between notification of their withdrawal from Yale College and their departure from
the Yale campus. We propose a clarification of the time such students have to leave campus, which
is no more than 72 hours. Like the rest of the information concerning withdrawals from Yale
College, this policy should be made clear both in the YCPS and the newly created website offering
information about leaves of absence, withdrawals, and reinstatement.

We also learned from student responses to our survey, as well as from the YCC report on
withdrawal, that there exists a very real concern among students who have withdrawn for personal,
academic, medical, or financial reasons that their withdrawals from Yale College might be construed
by outsiders studying their transcripts as disciplinary in nature. It is true that, in the current system,
in every case of withdrawal, the only entry on the transcript is the word “Withdrawn” along with the
date of withdrawal; there is no designation of a reason for the withdrawal (there is the exception of
cases of expulsion, which are clearly marked as expulsion on a student’s transcript). We strongly
recommend maintaining the current practice of not specifying the reason for withdrawal in cases of
personal, academic, medical, or financial withdrawal. But in order to destigmatize withdrawal and
more clearly differentiate the majority of withdrawals from disciplinary withdrawals, we recommend
further that student transcripts, in the case of a student suspended for disciplinary reasons, note that
the reason for the withdrawal was disciplinary.

Students have as well expressed confusion about the policy concerning Yale identification cards and
email accounts at the time of withdrawal. Presently, some students have cards and accounts that
are turned off instantly upon withdrawal, while others report that their accounts are active many
months after withdrawal. In the name of equity, and in order to prevent this confusion, we propose
that the University Registrar ensure that when students are withdrawn, their Yale ID cards are
deactivated within 72 hours from the official date of withdrawal and that their Yale email accounts
are suspended after fourteen days. These practices should all be specified clearly on the new
website, providing students with adequate notice of the pending changes.




Reducing the negative financial impact of
medical withdrawals
As noted above, a leave of absence entails a full rebate of tuition and prorated refund of room and
board. Such is not the case, however, in instances of withdrawal. Like nearly all schools that
accept federal financial aid subsidies, Yale requires a student who withdraws to forfeit part or all of
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the tuition already paid for the term of withdrawal (the amount of tuition forfeited is tied to the date of
withdrawal). It should be noted that the same policy is in effect even at institutions, such as
Harvard, that employ the term “leave of absence” to apply to cases of the interruption of studies that
would go by the name of “withdrawal” at Yale; Harvard, for example, just as Yale presently does,
requires a specified forfeiture of tuition when a student leaves school after the tenth day of the term.



For these reasons, withdrawals can entail significant financial setbacks for students and their
families. One very simple way in which Yale could lessen the financial impact assumed by a family
in the case of a medical withdrawal from Yale College would be to publicize much more clearly and
effectively an important and consequential benefit already available to Yale students and their
parents or guardians. At the cost of about $350 per year, Yale Tuition Insurance, administered by A.
W. G. Dewar, provides up to a 90% refund of tuition, room, and board in the case of medical
withdrawals. Dewar requires that such insurance be purchased before the first day of the term, a
fact that should also be communicated clearly to students and parents.




Reinstatement after withdrawal
There is no question that Yale College is committed to the reinstatement of all students who have
withdrawn. In fact, the vast majority of students who apply for reinstatement are reinstated. But the
process of reinstatement is not therefore inconsequential or needless. Life as a student in such an
exciting but high-octane academic and social environment can be full of innumerable sources of
pressure and stress. It is not an environment to which all students can easily return after a
withdrawal, especially if that withdrawal involved difficult or painful circumstances. The
reinstatement process, which typically involves a student’s successful completion of two outside
college courses, exists to allow students to demonstrate to the College and, perhaps more
important, to themselves, their ability to resume the demanding life of a Yale student. Experience
has long shown that students who seek reinstatement only after a confident demonstration of their
preparedness to resume their busy academic and social lives at Yale are much more likely to
succeed upon their return to campus.

As important as the reinstatement process is, it is also a source of great frustration for many
students who have undergone or who are undergoing the process. There were students who voiced
in their responses to our survey a sense that reinstatement after a withdrawal should be automatic,
and that anything like an application process felt unnecessarily punitive. We certainly understand
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how, in the sometimes very difficult experience of withdrawal from school, such feelings could
emerge. But we were moved as well by the students who expressed gratitude for the requirement
that they not return to Yale until they were likely to feel comfortable again in the institution’s unique
academic and social environment. Careful consideration led us to affirm many of the principles
underlying the current reinstatement process.

That is not to say that the process as currently configured is perfect. We were fully sympathetic to
the many student complaints concerning both the financial burden of reinstatement and the
awkward timing of the reinstatement process, which presently occurs in the days leading up to the
beginning of each term. We propose here a number of reforms, which we feel lessen considerably
the burden of the cost and the logistical awkwardness of the current readmission process.




Proposed changes to the process of reinstatement
There are currently two deadlines in the reinstatement process, one deadline by which students
must request application materials and another for the actual submission of the application. We
propose eliminating the first deadline, as application materials for reinstatement should be made
readily available on the proposed Yale College website for leaves, withdrawals, and reinstatement.
As noted below, there will still be a deadline by which the application must be submitted to the
Reinstatement Committee. We propose, too, eliminating the current $50 readmission application
fee.

We also propose a significant change to the timing of the reinstatement process, which currently
unfolds very close to the beginning of the term. The new deadlines for the submission of the
reinstatement application should be July 1, for fall-term reinstatement, and November 1, for spring-
term reinstatement. It is understood that the final reinstatement decision would be contingent on the
student’s successful completion of any course requirements, the evidence for which may not be
available until late August or early January. This significant change in the timing of the application
process has many advantages. It promises to reduce much of the student and family anxiety
currently surrounding a process that is not fully concluded, in the present system, until just before
the beginning of the term. It allows too for a more organized and efficient plan for housing the
reinstated student in the residential college, benefiting both the returning student and his or
her suitemates.
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Coincident with the change in the application deadline, we propose two significant changes to the
requirement of the applicant’s interviews with the members of the Reinstatement Committee. First,
the interviews should be moved up to July and November, for fall and spring terms, respectively.
Second, the interviews, though preferably conducted in person, may be conducted by video
teleconference when circumstances warrant. The changes proposed here would surely lessen the
financial burden felt by those students who live far from New Haven but who in the present system
have had to pay not only for costly flights but for lodging in New Haven during the period that
precedes the opening of the dorm rooms.

We also propose a change of the role of the residential college dean in the proceedings of the
Reinstatement Committee. Currently, each residential college dean is given a vote when the
Committee discusses the applicants in his or her college. Out of an interest to preserve the advisory
nature of the relation between the residential college dean and the applicant, we propose that the
Reinstatement Committee should include as voting members only a Yale Health official, the Chair of
Reinstatement, and a dean from the Yale College Dean’s Office. What is currently now considered
the reinstatement interview with the residential college dean should be replaced by an advisory
meeting with the residential college dean, a meeting that would take place typically before mid-June
or after mid-August, for fall-term reinstatement, and in November, in cases of spring-term
reinstatement. Preferably conducted in person, this advisory meeting could also be conducted,
when warranted by circumstances, by video teleconference. The Reinstatement Chair should
consult with the residential college dean about the student both before and after the reinstatement
process.

Another long-standing complaint about the reinstatement process concerns the expense of the two
courses that applicants are required to complete. Some students complete that requirement by
enrolling in Yale Summer Session. It has long been possible, though not well-publicized, for
students on financial aid at the time of withdrawal to receive a need-based tuition scholarship from
Yale Summer Session. We believe strongly that Yale College should make clear that students who
withdraw for personal, academic, or medical reasons, and who are eligible for financial aid, be given
clear information about the Summer Session’s need-based scholarships.

Many students take the courses required for reinstatement at colleges or universities near their
homes during the period of withdrawal. Unfortunately, there is no mechanism by which Yale
financial aid could be extended directly to outside institutions. We can envision a process that
works nonetheless to reduce the tuition expense incurred by some students who, preparing for
reinstatement, elect to take college courses outside of Yale. We propose that students on financial
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aid who have successfully completed the course requirements for readmission in the summer prior
to reinstatement be forgiven their Student Income Contribution (SIC), currently assessed at $3,050.
Such students should be permitted to apply for this consideration from Yale’s Student Financial
Services.

Some students require, upon reinstatement in Yale College, a ninth term in order to complete their
Yale degrees. Currently, for reasons stemming from Federal Financial Aid policies, a “ninth-term
penalty” is assessed, by which some students enrolling for a ninth term are expected to produce an
additional Student Income Contribution (SIC), currently valued, as noted above, at $3,050. We
propose that Student Financial Services forgive that additional $3,050 expectation, replacing the
SIC with a grant funded by the university.

Finally, we want to express our support for maintaining two of the current reinstatement practices
that are generous by most institutional standards. We propose continuing the current practice of not
limiting the number of times a student may withdraw for medical reasons or the number of times a
student may apply for reinstatement after a medical withdrawal. We also propose continuing the
current practice of not limiting the number of years in which a student can be withdrawn before
reinstatement.




Life after reinstatement
In addition to student complaints about withdrawal and the application process for reinstatement, we
heard many reinstated students voice their experiences of awkwardness that accompanied their
return to enrollment in Yale College. We suggest that the Chair of the Reinstatement Committee
work with the Yale College Dean’s Office to implement practices that would help reinstated students
adjust to life back at Yale. Another concern about life after reinstatement involved the time it took to
reactivate the ID cards and Yale email accounts of reinstated students. We feel strongly that those
cards and email accounts should be reactivated within 24 hours of a student’s reinstatement.




Conclusion
The changes proposed above should improve the experience of many students undergoing the
processes of withdrawal and readmission. The reforms we advocate in this report should clarify for
students considering a leave of absence, a withdrawal, or readmission the range of options before
them. They should eliminate some of the anxiety and logistical complexity faced by students and
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their families during the reinstatement process. And, finally, several of the changes we propose
promise to reduce the costs associated with withdrawal and reinstatement. Those proposals
helping to reduce student expenses include the extension of the period during which a student may
elect to take a leave of absence, the elimination of the reinstatement application fee, the increase in
awareness of scholarship funds to cover tuition at Yale Summer Sessions, the university-funded
waiver of the Student Income Contribution for students who have completed the outside courses
required for reinstatement, the university-funded waiver of the SIC for students who are required to
enroll in Yale College for a ninth term, the change of deadlines for the reinstatement process, and
the opportunity when circumstances warrant to request to interview with the Reinstatement
Committee by video teleconference.

It is of course not our assumption that a reform of the processes of withdrawal and reinstatement will
eliminate all the difficulties students experience when they leave Yale during the term or when they
return to Yale after a period of absence. Students who withdraw from Yale College during a
semester often do so in complicated, even painful, circumstances. It is our hope, however, that the
changes proposed in this report will make what can be a difficult process clearer and less
burdensome for the students involved.

John Rogers, Chair

Jasmina Besirevic-Regan

Caroline G. Hendel

Sara Samuel

Susan Sawyer

Mark Schenker
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                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 3
  Attached to Plaintiff’s Motion for Preliminary Injunction

                  Dated: February 23, 2020


                         Description:

       Massachusetts Institute of Technology (MIT)
    Committee on Academic Performance (CAP) website
                (as of February 23, 2020)
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About the Committee       Petition Process and Forms   Progress Toward the Degree    End of Term Review    Search        Go



                                    End of Term Academic Review: Process
    Process
    Procedures                      At the end of each regular term, the Registrar flags the records of students whose
    Decisions                       term GPA is 3.0 or lower, or whose end of term registration is 35 or fewer
                                    units. (Because of special freshman grading, the standard for first-year students
    Advice for Students             is 39 or fewer units.) These records are reviewed first by the student's home
    Advice for Advisors             department, then by the CAP in two sets of meetings, Grades and Deferred
                                    Action.
    Advice for Departments
                                    Students do not appear in person before the CAP. They are represented by the
                                    home department undergraduate officer and administrator at the Grades Meeting
                                    and the advisor at a Deferred Action Meeting. Students whose cases are
                                    considered at the Deferred Action Meeting are strongly encouraged to submit a
                                    written statement to the Committee well before the meeting.

                                    Department Review

                                    Once most grades are recorded, each academic department reviews the records
                                    of its students (majors) whose term GPA is 3.0 or below, or whose end of term
                                    registration is 35 or fewer units. (Because of special freshman grading, the
                                    standard for first-year students is 39 or fewer units.

                                    The department (UAAP in the case of first-year students) decides on a
                                    recommended action for each student—No Action (which often includes a
                                    departmental warning), Warning, or Required Academic Leave. The department's
                                    undergraduate officer and academic administrator present these
                                    recommendations to the CAP at the Grades Meetings. Departments may also ask
                                    the Committee to review records not flagged, if circumstances warrant.

                                    Grades Meetings
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   At the Grades Meetings, held in the first weeks of January and June, the CAP
   reviews student records and considers department recommendations. See
   Procedures for details of how the Committee conducts this review.

   The Committee may accept the department's recommendation, or may vote for a
   different action than the department recommends. Decisions at the Grades
   Meetings include:

       No Action
       Warning
       Deferred Action.

   Deferred Action triggers a second review, at the Deferred Action Meetings, held
   two weeks later.

   Deferred Action Meetings

   At the Deferred Action Meetings, in the third weeks of January and June, the CAP
   reviews two sets of student records in more depth. These include:

       students for whom relevant information was not available at the Grades Meeting;
       students who may be required to take a year away from MIT (Required Academic
       Leave).

   In each case students are represented by their academic advisor or other
   departmental officer. Students are invited to submit a written statement for
   consideration at the meeting. See Procedures for details of how the Committee
   conducts this review.

   Decisions at the Deferred Action Meetings include:

       No Action
       Warning
       Required Academic Leave.
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                                    End of Term Academic Review: Procedures
    Process
    Procedures                      The Committee on Academic Performance conducts its End of Term Review
    Decisions                       meetings according to the following procedures and principles:

    Advice for Students                Participation
    Advice for Advisors                Representation
    Advice for Departments             Equity
                                       Decisions
                                       Confidentiality and Notification
                                       Institute Records


                                    Participation

                                    The CAP invites additional individuals to participate in the End of Term meetings,
                                    beyond its voting and ex officio members. Among these additional participants are
                                    representatives of Admissions, MIT Medical, and Student Support Services, who
                                    answer questions and provide advice to the Committee.

                                    Representation

                                    Students do not appear in person before CAP. They are represented by the home
                                    department undergraduate officer and administrator at the Grades Meeting and
                                    the advisor at a Deferred Action Meeting. Students whose cases are deferred are
                                    encouraged to submit a written statement to CAP for the Deferred Action Meeting.

                                    If a student gives permission, S3 deans can provide relevant personal information
                                    to the Committee.
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   If a student signs a written release form, Medical staff will share information that is
   directly relevant to academic performance and possible CAP action.

   Other members of the MIT community who have additional relevant information
   (instructor, housemaster, coach, graduate resident tutor, administrator) should
   relay it to either the academic advisor or the S3 dean, depending on the nature of
   the information to be given.

   Equity

   The Committee on Academic Performance reviews records individually and in
   context. It considers not only grades but progress toward the degree—the total
   number of General Institute Requirements (GIRs) and units beyond GIRs
   completed, the nature of subjects taken—and those personal factors that may
   have affected performance in a given term.

   In all cases the CAP takes care to ensure that its decisions are consistent across
   undergraduate departments, while still taking into account students' individual
   circumstances.

   Decisions

   Votes at End of Term Meetings include:

       No Action
       Warning
       Deferred Action
       Required Academic Leave.

   See the Decisions page for explanations of each vote.

   Confidentiality and Notification

   All Committee proceedings are confidential. Committee decisions are reported
   only to the student, advisor, and home department academic administrator.
   Summaries of CAP actions are sent to offices with the "need to know".

   Students, advisors, and departments are notified of decisions by email soon after
   the Committee meets; printed letters confirming the decision go out within two
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                                    days.

                                     In January the Committee mails letters only to the term address; in June letters go
                                     to the permanent address. Letters for students whose review is deferred are sent
                                     to both addresses in each term. Students can update these addresses in the
                                     Biographic Record on WebSIS. Students may also ask that one or both printed
                                     letters not be sent: email cap@mit.edu.

                                     Institute Records

                                     Warning status appears on the internal record with the code "W" next to the word
                                     "Academic", following the term's grades on the WebSIS Grade Report.

                                     Required Academic Leave appears on the internal record with the code "RW"
                                     next to the word "Academic", following the term's grades on the WebSIS Grade
                                     Report.

                                     CAP actions, including Warning and Required Academic Leave, never
                                     appear on external records.

                                     A few medical and other graduate schools ask in their application forms for
                                     information on "institutional actions". MIT does not consider CAP votes as
                                     institutional actions:

                                         Warning is a temporary internal status used for advising purposes; it should not be
                                         reported to another institution.
                                         Required Academic Leave is not the same as disciplinary expulsion. There is no
                                         obligation to report a Required Academic Leave to a graduate school. However, the
                                         gap in registration shown on the external transcript may need explanation.




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                                    End of Term Academic Review: Decisions
    Process
    Procedures                      CAP makes one of the four following decisions on each record reviewed at the
    Decisions                       End of Term: No Action, Warning (including Communication Requirement
                                    Warnings), Deferred Action, or Required Academic Leave.
    Advice for Students
    Advice for Advisors             No Action
    Advice for Departments
                                    The Committee takes no formal action on the term's performance. Nothing
                                    appears on the internal or external record. If this decision is made at the Grades
                                    Meeting, students and advisors are not notified. However, the department may
                                    send a Departmental Warning letter, which is noted only in department records.

                                    No Action is occasionally voted at the Deferred Action Meetings. In this case,
                                    because students and advisors have already been notified of the Deferred Action
                                    decision, they will also be notified of the No Action vote. As before, nothing
                                    appears on the internal or external record.

                                    Warning

                                    A vote of Warning is a formal notice to the student, advisor, and department that a
                                    record does not meet MIT's minimum requirements and that the student must
                                    make satisfactory progress toward the degree in the next term. A second term with
                                    an unsatisfactory record will raise the possibility of Required Academic Leave,
                                    though this is not automatic: the department and CAP review each term and
                                    student individually.

                                    Students on Warning have a credit limit for the following term. This is usually
                                    four subjects, 48-51 units. First-year students are strictly limited to 48 units.
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   Occasionally CAP will impose a higher or lower limit, usually in response to
   departmental request.

   If the record at the end of the following term is satisfactory, that is, above minimum
   standards, the student is automatically removed from Warning status and has no
   credit limit in the following term. The CAP Chair sends a letter of congratulation to
   these students.

   Students, see Responding to Academic Warning for advice on how to respond
   constructively to a vote of Warning.

   Communication Requirement Warnings

   Communication Requirement Warnings are equivalent in every respect to
   Academic Warnings. The Communication Requirement is the only "paced"
   General Institute Requirement (GIR), that is, students are expected to pass one
   Communication-Intensive (CI) subject each year. Failure to keep up this pace is
   unsatisfactory progress toward the degree.

   At the end of each term the CAP reviews the records of students who have not
   kept pace with the Communication Requirement. Based on recommendations
   from the Subcommittee on the Communication Requirement (SOCR), the CAP
   votes one of three Warnings:

       C (one term behind pace)
       CC (two or more terms behind pace)
       WC (Academic Warning and behind pace).

   Each Warning carries a credit limit:

       C: an appropriate CI subject plus no more than four additional subjects (usually 60
       units total)
       CC: an appropriate CI subject plus no more than three additional subjects (48-51
       units total)
       WC: an appropriate CI subject plus no more than three additional subjects (48-51
       units).

   Students, address questions about Communication Requirement Warnings to the
   Communication Requirement Advisor (commreq@mit.edu, room 5-133, 617-253-
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   2313), See Responding to Communication Requirement Warning for advice on
   how to respond constructively to this Warning.

   Deferred Action

   At the Grades Meetings, CAP will postpone action on records of two kinds:

      where the Committee wants to hear more information;
      where the final vote may be Required Academic Leave.

   In both cases students, advisors, departments, and housemasters are notified of
   the Deferred Action so that they can prepare information for the Deferred Action
   Meetings, held two weeks later. Students and advisors receive this notice by email
   and posted letter.

   Students and advisors, see If Your Review is Deferred for advice on how to
   respond constructively to a deferred decision.

   Required Academic Leave

   Required Academic Leave means that the student must stay away from MIT for at
   least a full calendar year. Its purpose is to give the student time in which to assess
   priorities, work at clearing issues or situations that contributed to failure, and
   prepare for possible return to MIT. In requiring this leave the CAP will state actions
   the student must take before applying to return, including coursework at another
   institution, medical treatment if warranted, employment, and/or other activities
   appropriate for the individual student. The Institute encourages such students to
   keep in touch with their advisor, department, and a dean in Student Support
   Services while on Required Academic Leave.

   CAP rarely imposes Required Academic Leave without at least one term spent on
   Warning, though circumstances sometimes warrant this.

   For full information about processes for Required Academic Leave and requesting
   return, see the Student Support Services website.

   Students, see Responding to Required Academic Leave for advice on how to
   respond constructively to this action.
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                                   Petition Process: Types of Petitions
    Types of Petitions
    Statement Guidelines           The Committee on Academic Performance (CAP) considers petition requests
    Submission Deadlines           (from registered undergraduates only) in two main categories:

    Committee Review and              Online petitions for late changes to registration/grading after the deadline
    Decisions                         listed in the Academic Calendar, such as:
    Online Petition Help                     Adding a subject after Add Date
                                             Dropping a subject after Drop Date
                                             Changing subject grading or registration status, such as
                                                      Regular to Sophomore Exploratory Status
                                                      Sophomore Exploratory Status to Regular
                                                      Change Sophomore Exploratory Subject from Credit to Listener
                                                      Letter Grades to Junior/Senior P/D/F
                                                      Junior/Senior P/D/F to Letter Grades
                                                      Credit to Listener
                                                      Listener to Credit
                                                      Regular to PNR
                                                      PNR to Regular


                                      Hard-copy petition requests to:

                                             Late Drop an Incomplete
                                             Exceed Warning Credit Limit
                                             Exceed IAP Credit Limit
                                             Continue on Light Load
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                                                Register After Clearance of a Hold


                                     Consult the CAP Administrator for situations not mentioned here.




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                                   Petition Process: Statement Guidelines
    Types of Petitions
    Statement Guidelines           The CAP reviews each petition individually in the context of MIT's policies. It seeks
    Submission Deadlines           to make consistent decisions while remaining sensitive to individual
                                   circumstances. Because the CAP is entrusted with upholding the integrity of
    Committee Review and           Institute records, it is important for the Committee to confirm (as much as possible)
    Decisions                      the events you set forth in a petition. That is the purpose of statements from your
    Online Petition Help           advisor, instructor, and possibly other Institute personnel.

                                   Writing Your Personal Student Statement

                                   When reading student statements the Committee looks for honest evidence of
                                   your intention to meet the deadline. It recognizes that circumstances beyond a
                                   student's control (illness, family issues, etc.) sometimes prevent students from
                                   meeting deadlines or fulfilling an academic obligation.

                                   Be concise; write only a paragraph or two. State the facts of your situation, then
                                   explain how the requested change would benefit your education. Refer to external
                                   circumstances in general terms ("I was ill on Drop Date", "My mother was
                                   hospitalized"); omit irrelevant details.

                                   If your extenuating circumstances are of a personal or medical nature you should
                                   consult with a dean in Student Support Services (Room 5-104, 617-253-4861),
                                   before submitting a petition. The deans can offer guidance with your petition
                                   statement, and they should receive any medical records you have authorized for
                                   release. The deans will not discuss your situation with the Committee without your
                                   permission. The Committee holds all student information in the strictest
                                   confidence.

                                   Statements from Advisors and Instructors
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   Because your advisor approves your initial registration and any changes to it, the
   CAP needs to hear her or his understanding of what led to a missed deadline or a
   request to exceed a credit limit. Similarly, instructors are asked to document your
   participation in their subject, to help the Committee make an informed decision on
   your request.

   Advisors and instructors submit statements for late registration petitions (e.g. Late
   Add, Late Drop, Late Change of Status) online via Student Forms and Petitions.
   Although they are notified automatically when you submit a petition, you should
   contact them directly to make sure they have all the facts to write an informed
   statement.

   For other petitions (such as Exceed the IAP or warning credit limits, drop a subject
   with a grade of Incomplete or register following a hold), you must ask advisors and
   instructors to write a statement on the applicable PDF petition form. Alternatively,
   they may email their statements to cap@mit.edu.

   Statements must be received by the CAP directly from the author; the Committee
   will not accept a statement forwarded by you or someone else. If you have asked
   for emailed statements, please note this on your petition form. You may then
   submit the form without signatures from your advisor and/or instructor.

   Questions for Advisors

   The CAP asks you to explain your reasons for supporting or not supporting your
   advisee's request. Specific questions are listed on petition forms; in general, they
   ask whether you can confirm facts given by the student and what educational
   benefit would be served by approving the request.

   See the Quick Guide for help with submitting statements online for late registration
   petitions. Statements for other petitions are provided on PDF petition forms or
   emailed to cap@mit.edu.

   Questions for Instructors

   The CAP asks you to provide data about the student's participation (or lack
   thereof) in your subject. For example, "This student has attended class from the
   first day of the term," or "This student stopped handing in psets after the sixth
   week." Specific questions are listed on petition forms. An indication of support (or
   lack thereof) alone is not sufficient for the Committee to make an informed
   decision.
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                                    See the Quick Guide for help with submitting statements online for late registration
                                    change petitions. Statements for other petitions are provided on PDF petition
                                    forms or emailed to cap@mit.edu.

                                     Substitute Signers/Online Approvers

                                     If you have tried several times but failed to reach an advisor or instructor, the CAP
                                     will accept substitute signatures and statements from certain individuals. These
                                     people must both have permission to act on behalf of the individual in question
                                     and be able to comment knowledgably on the petition. Substitute signers include:

                                         Undergraduate Academic Administrators
                                         Staff assistants to faculty members (the department office or website can identify
                                         these people)
                                         Teaching Assistants

                                     The Committee will occasionally table a petition, pending receipt of additional
                                     information that a substitute signer cannot provide.




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                                   Petition Process: Submission Deadlines
    Types of Petitions
    Statement Guidelines           The Committee accepts petitions on a rolling basis, and reviews them as
    Submission                     schedules permit. Decisions are reported by email as soon as possible after each
    Deadlines                      meeting. Meetings are currently scheduled for each month during the academic
                                   year. Students can expect to be notified of petition decisions during the following
    Committee Review and           weeks:
    Decisions
    Online Petition Help           The week of:

                                      September 16, 2019
                                      October 21, 2019
                                      November 4, 2019
                                      November 25, 2019
                                      December 16, 2019
                                      February 17, 2020
                                      March 16, 2020
                                      April 13, 2020
                                      May 4, 2020
                                      May 18, 2020


                                   Petitions to Exceed Credit Limits

                                   Petitions to exceed credit limits should be submitted before the beginning of each
                                   term, so that you will know how to register:
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                                         September 6 for Fall 2019
                                         January 3 for IAP 2020
                                         February 7 for Spring 2020.


                                     Late or Incomplete Petitions

                                     The Committee will not review a petition until it is complete. The CAP
                                     Administrator will hold your incomplete petition and notify you via email of any
                                     missing information.

                                     Note that the CAP reviews petitions for undergraduates only; graduate students
                                     should follow the petition process outlined on the website of the Office of Graduate
                                     Education.




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                                   Petition Process: Committee Review and Decisions
    Types of Petitions
    Statement Guidelines           After confidential discussion, the CAP then decides to approve, deny, or table your
    Submission Deadlines           petition. Decisions are usually made by consensus, occasionally by majority vote.

    Committee Review               The Committee reads each petition individually, giving significant attention to your
    and Decisions                  request and statements from your advisor, instructor, and others. Voting members
                                   discuss your request in the context of Faculty policy and Committee precedent.
    Online Petition Help
                                   The Committee acts solely based on the written information provided, in light of
                                   advice from the ex officio members, if given. Students, advisors, and instructors do
                                   not appear before the CAP. Discussions and votes are not recorded, and
                                   members observe strict confidentiality.

                                   If you submit more than one petition, the Committee will act on each separately;
                                   they may choose to approve one while denying another. Several petition requests
                                   approved at the same time will be charged only one filing fee and fine, if
                                   applicable.

                                   Decisions are reported by email to you, your advisor, and your department
                                   administrator. You can also see decisions for online late registration change
                                   petitions on your My Forms page.

                                   Note that this process is for undergraduates only; graduate students should
                                   follow the petition process outlined on the website of the Office of the Dean for
                                   Graduate Education.

                                   Details on the three types of CAP petition decisions are
                                   provided below:

                                   Petitions can be:
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                                         Approved: When an online late registration change petition is approved, your
                                         record is automatically updated and you can see the change in WebSIS. For other
                                         types of petitions, the CAP Administrator asks the Academic Records Office to
                                         make the requested change and other relevant offices are notified (e.g.
                                         International Students Office, Student Financial Services, etc.). Some petitions are
                                         approved with a notation of administrative neglect. This is done when the student
                                         failed to meet the Institute deadline because of inattention or procrastination. Once
                                         administrative neglect has been noted by the Committee, further petitions of this
                                         sort are likely to be denied unless there is clear evidence that missing a future
                                         deadline was caused by circumstances beyond the student's control. A $25 filing
                                         fee will be charged to your MITPAY account by the Registrar's Office for a petition
                                         approved by the CAP. Petitions approved with neglect will be charged an additional
                                         $25 fine; a second approval with neglect incurs a fine of $50.

                                         Denied: The CAP strives to apply Faculty policies and maintain equitable treatment
                                         across all departments and undergraduates. Occasionally this means denying a
                                         petition that if approved would give a student an unfair advantage over classmates.
                                         Another guiding principle is that the transcript should reflect all work that a student
                                         did, in the term in which the work was done. No fee is charged for petitions that are
                                         denied. Petition decisions are final: the Committee will not consider an appeal
                                         unless the student and advisor can provide substantial and relevant new
                                         academic information. This must be information unavailable to the Committee
                                         when it made its initial decision. Students who wish to appeal must submit a new
                                         petition that explains their situation and the new information now available. New
                                         signatures and statements that address the student's revised statement must be
                                         gathered. The CAP Chair will decide whether to accept the new petition for review
                                         by the full Committee. If accepted, appeal petitions are reviewed in the same way
                                         as initial petitions.

                                         Tabled: Occasionally the Committee will table a petition in order to gather more
                                         information before making a decision. The CAP Administrator will contact the
                                         student and advisor via email, and specifically define the information sought by the
                                         Committee. Once the additional information is received, the CAP will review the
                                         petition at its next meeting.




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                                About the Committee: CAP Membership
    Role & Function
    CAP Membership              The CAP is composed of nine voting members and eight ex officio members.

                                The Office of the Vice Chancellor designates two ex officio members, the Medical
                                Director designates one. Others serve in functions defined in the Faculty Rules. Ex
                                officio members provide information but do not vote.

                                If you have a question for the Committee, please email cap@mit.edu or contact
                                the CAP Administrator in room 7-104, 617-253-4164. It is not appropriate to
                                contact Committee members directly to inquire about a decision or influence a
                                vote.

                                Voting Members

                                Of the nine voting members, six are faculty (including the Chair) and three are
                                students.

                                Faculty

                                   Prof. Kristala L. Prather, Chair, Chemical Engineering
                                   Prof. Sandy Alexandre, Literature Section
                                   Prof. Jeremiah A. Johnson, Chemistry
                                   Prof. Markus Klute, Physics
                                   Prof. Kripa Varanasi, Mechanical Engineering
                                   Prof. Lizhong Zheng, Electrical Engineering-Computer Science


                                Students
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                                         Saffron Deasey, '20
                                         Ricardo Gayle, '22
                                         A.J. Haeffner, '21


                                     Ex Officio Members

                                         Ms. Leslie Bridson, Designated Representative, Dean of Admissions and Student
                                         Financial Services
                                         Dean DiOnetta Jones Crayton, Office of Minority Education/Office of the Vice
                                         Chancellor Designate
                                         Dean Gerardo Garcia-Rios, Student Support Services
                                         Dean Kathleen Monagle, Student Disabilities Services
                                         Dean David Randall, Designated Representative, VP and Dean for Student Life
                                         Dr. Antio Lim, MIT Medical/Co-Designate
                                         Dr. Haleh Rokni, MIT Medical/Co-Designate
                                         Ms. Ri Romano, Designated Representative, Registrar's Office
                                         Dr. Karen Singleton, MIT Medical/Co-Designate
                                         Dean Elizabeth Cogliano Young, Designated Representative, Vice Chancellor


                                     Staff to the Committee

                                         Ms. Jocelyn P. Heywood, 7-104, cap@mit.edu




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                                About the Committee: Role and Function
    Role and Function
    CAP Membership              The Committee is concerned with the academic performance of undergraduates.
                                Its key functions include the following:

                                 1. Review of Petitions Requesting a Change to Student's Academic Record:
                                    The Committee acts on petitions from individual undergraduates requesting
                                    changes to registration after Institute deadlines or exceptions to established
                                    academic standards. Petitions often seen by the Committee include requests to
                                    add or drop a subject, or change the grading status of a subject.
                                 2. Enforcement of Credit Limits: Credit limits exist for first-year students, students
                                    taking subjects during IAP, and students on Academic Warning. The Committee
                                    considers petitions from students requesting permission to exceed the IAP or
                                    Warning credit limit, and adjusts the registrations of those students who do not
                                    comply with their limit within a reasonable period of time.
                                 3. End of Term Academic Review: The Committee reviews the academic
                                    performance of all undergraduates at the conclusion of the fall and spring terms.
                                    End of term actions include imposition of Academic Warning for the following
                                    term or, when necessary, Required Academic Leave for a minimum of one
                                    academic year.
                                 4. Degree Candidate Review: In September, February, and June the Committee
                                    recommends to the Faculty candidates presented by academic departments to
                                    be awarded the SB degree.
                                 5. Recommendations to the Faculty: The Committee also makes
                                    recommendations to the Faculty on matters relating to academic standards,
                                    examinations, degree requirements, and grading.
                                 6. Return from Leave: The Committee reviews the applications of undergraduates
                                    who apply to return from Required Academic Leave and Medical Leave.
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Massachusetts Institute of Technology, Staff to the CAP, Room 7-104, Tel: 617.253.4164, Contact CAP
                                                                 Committee
                                     Case 3:20-cv-00133-JCH Document 23 FiledRecommendation(s)
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Community Concern                                                 (only applicable to undergraduate students)

                                       A “Leave of Absence” category will be created to allow undergraduate students to flexibly pursue opportunities or to fulfill personal or
No easy way for undergraduate
                                       educational commitments. This category is intended for undergraduate students who leave in between semesters and will have minimal
students to leave the Institute
                                                                                             administrative processes.

                                                          New Terminology
 Terminology and expectations
                                                 “Withdrawal” will be called “Leave”                          “Suspension of Services”            Undergraduate students on leave
suggested undergraduate students
                                                “Readmission” will be called “Return”                         statement will be renamed           can be involved in MIT activities
 on leave were no longer part of
                                      “Readmission Application” will be called “Request to Return”                   and revised                       open to non-students
      the MIT community
                                        “Voluntary Withdrawal” will be called “Personal Leave”

S3 has dual and conflicted role of
  being supporter and decision                                    S3 will be support and guide, while CAP will be decision maker in return process
    maker in return process

                                         The possibility of providing financial support and
  Concern about the financial                                                                          Undergraduate students on required academic leave will now be required to
                                           health insurance to those who need it will be
   impact of taking a leave                                                                                     complete only 1 semester of coursework rather than 2
                                                            investigated

                                                                                 Undergraduate students and S3 will work            Undergraduate students will be encouraged to
                                       CAP and S3 letters will be revised to
 Confusion about expectations                                                       together (with MIT Medical and                   remain in contact with supports on campus
                                          be clearer and have a more
        while on leave                                                            Academic Departments) to develop a                such as their S3 Dean, Academic Advisor, and
                                                supportive tone
                                                                                     clear and agreeable action plan                                 Department

Undergraduate students nervous
                                       An online and representative collection of undergraduate student              S3 will develop a mentorship program for undergraduate
 about what it is like to take a
                                                  experiences while on leave will be created                               students considering leave and while on leave
  leave or return from leave

  Undergraduate students feel
                                         Undergraduate students will have 72 hours, instead of 48 hours, to move out of MIT                     Eligible undergraduate students
    rushed off campus after
                                         affiliated housing and housing will coordinate with S3 to make sure students are not               returning from leave will be guaranteed
 requesting leave and wanted
                                                                        unnecessarily rushed                                                          housing if requested
guaranteed housing upon return

                                       CAP and DUE will increase efforts to communicate about
Lack of clarity about the process                                                                          S3 will edit and clarify their      FAQ page will be created to address
                                      the return and leave processes, data, and outcomes to faculty,
        of leave/return                                                                                              website                          common concerns
                                                         administrators, and staff

  Students fearful of psychiatric
                                                                                                                              Involuntary withdrawal will never be used to coerce
 hospitalizations and involuntary       A committee will be charged by the Chancellor to examine these processes
                                                                                                                                            students to leave MIT
           withdrawals
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                         Exhibit 4
  Attached to Plaintiff’s Motion for Preliminary Injunction

                  Dated: February 23, 2020


                         Description:

         Yale College Programs of Study 2019-2020
    J. Leave of Absence, Withdrawal, and Reinstatement
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Yale College Programs o Study
2019–2020
J. Leave of Absence, Withdrawal, and
Reinstatement
Any student in Yale College who is in academic good standing will normally receive permission, upon
petition to the Committee on Honors and Academic Standing through the residential college dean, to take
one or two terms of leave of absence, provided that the student departs in academic good standing at the
end of a term and returns at the beginning of a term. See section D, Promotion and Good Standing,
"Requirements for Academic Good Standing." In order that the University may make plans to maintain
enrollment at the established level, students desiring leaves of absence are requested to make their
intentions known to their residential college deans as soon as possible. Yale College assumes that students
who take leaves of absence will inform their parents or guardians in good time that they intend to do so.
Ordinarily, residential college deans do not notify parents or guardians that a student has taken a leave of
absence, though they may do so if they believe that such notification is appropriate.

 1. Petition for a fall-term leave For a fall-term leave of absence, a student is requested to submit a
    petition by May 1. Since a student’s plans often change during the summer, however, the Committee
    on Honors and Academic Standing will ordinarily grant a petition for a leave that is received on or
    before the fifteenth day of the term in the fall.
 2. Petition for a spring-term leave For a spring-term leave of absence, a student’s petition must be
    received on or before the fifteenth day of the term in the spring.
 3. Relinquishing housing Students considering a leave of absence should be aware that there is a
    substantial financial penalty for relinquishing on-campus housing after the relevant deadlines for
    relinquishing such housing. See “Rebates of Undergraduate Charges” under “Financial Services” in the
    Yale College online publication Undergraduate Regulations.
 4. Canceling a leave A student may cancel a leave of absence for either term as late as the first day of
    classes in the term for which the leave has been requested. However, the deadlines for payment of the
    term bill and the penalties for late payment apply in such cases. See “Payment of Bills” under
    “Financial Services” in the Yale online publication Undergraduate Regulations.

 5. Total terms of leave A student is eligible for a total of two terms of leave of absence. These two
    terms need not be taken consecutively.
 6. Accelerated students A student taking an accelerated degree by use of acceleration credits who has
    had two terms of leave of absence may receive a third term of leave if the third term of leave is
    needed to bring the student’s pattern of attendance into conformity with the pattern of attendance
    stipulated for an accelerated degree. See section Q, Acceleration Policies.
 7. Returning from a leave Permission to take a leave of absence normally includes the right to return,
    with prior notification to the residential college dean but without further application, at the beginning
    of the term specified in the student’s petition to the Committee on Honors and Academic Standing. In
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   the case, however, in which a student achieved eligibility for a leave of absence because of a
   postponement of a deadline for course work as a result of an identified medical problem, the Yale
   College Dean’s Office may require medical clearance from Yale Health before the student’s return from
   the leave of absence. Such clearance may also be required for a student who had sought and had been
   granted, on medical grounds, a waiver of the fee for the late relinquishment of housing at the time the
   leave of absence was requested.
 8. Financial aid Students taking leaves of absence who have received long-term loans will be sent
    information about their loan repayment obligations, which in most cases begin six months after the
    last day of formal enrollment at Yale. A student taking a leave of absence who is receiving financial aid
    through Yale must consult with a counselor in Student Financial Services before leaving Yale; see
    “Rebates of Undergraduate Charges” under “Financial Services” in the Yale online publication
    Undergraduate Regulations.
 9. Health coverage A student on a leave of absence is eligible to retain coverage by Yale Health during
    the time of the leave, but the student must take the initiative to apply for continued membership in
    Yale Health by completing an application form and paying the fee for membership. See “Leave of
    Absence” under “Health Services” in the Yale online publication Undergraduate Regulations. Application
    forms and details about medical coverage while on leave of absence may be obtained from the
    Member Services Department of Yale Health.




There are five types of withdrawal, three of which—academic, medical, and personal—are discussed below.
For information on disciplinary and financial withdrawals, consult the Yale online publication Undergraduate
Regulations. The period of withdrawal for disciplinary reasons is imposed by the Yale College Executive
Committee or recommended by the University-Wide Committee on Sexual Misconduct at the time the
student's enrollment is suspended.

Regardless of the type of withdrawal, students who have been withdrawn may not stay in residences on
campus, attend classes, participate in organized extracurricular activities, or make use of University library,
athletic, and other facilities. They may come to campus only upon receiving prior permission from their
residential college dean or the Dean of Student Affairs.



Students may be dismissed for academic reasons on a variety of grounds; see section I, Academic
Penalties and Restrictions, "Dismissal for Academic Reasons." Students whose withdrawal was for academic
reasons must remain away for at least one fall term and one spring term, in either order, not including the
term in which the withdrawal occurred.



A withdrawal for medical reasons must be authorized by the director of Yale Health or the chief of the
Mental Health and Counseling department, or by their official designees within the Health Center. If a
student under the care of a non–Yale Health physician wishes to withdraw for medical reasons, that
physician should submit sufficient medical history to the director of Yale Health for a final decision on the
recommendation. A student planning to return to Yale should discuss the requirements for reinstatement
with the residential college dean or the chair of the Committee on Reinstatement.

Yale College reserves the right to withdraw a student for medical reasons when, on recommendation of the
director of Yale Health or the chief of the Mental Health and Counseling department, the dean of Yale
College determines that, because of a medical condition, the student is a danger to self or others, the
student has seriously disrupted others in the student’s residential or academic communities, or the student
has refused to cooperate with efforts deemed necessary by Yale Health and the dean to make such
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determinations. Each case will be assessed individually based on all relevant factors, including, but not
limited to, the level of risk presented and the availability of reasonable modifications. Reasonable
modifications do not include fundamental alterations to the student’s academic, residential, or other
relevant communities or programs; in addition, reasonable modifications do not include those that unduly
burden university resources. An appeal of such a withdrawal must be made in writing to the dean of Yale
College no later than seven days from the effective date of withdrawal. An incident that gives rise to
voluntary or mandatory withdrawal may also result in subsequent disciplinary action.

Students whose withdrawal has been authorized as medical by the director of Yale Health or the chief of
the Mental Health and Counseling department must normally remain away at least one full term before a
return to Yale College, not including the term in which the withdrawal occurred.



At any time during the year, a student may withdraw from Yale College for personal reasons. After
consulting with the residential college dean, a student wishing to withdraw should write a letter of
resignation to the college dean. In consulting with the college dean, a student planning to return to Yale
should discuss the requirements for reinstatement. Also, students in academic good standing who fail to
register in a term will be withdrawn for personal reasons.

Students whose withdrawal was for personal reasons must remain away for at least one fall term and one
spring term, in either order, not including the term in which the withdrawal occurred. A student who
withdraws from Yale College for personal reasons rather than face disciplinary charges that are
pending against that student will not be eligible for Yale College reinstatement, re-enrollment, or a Yale
College degree until the student's case has been adjudicated by the Yale College Executive Committee or
the University-Wide Committee on Sexual Misconduct.



For information on financial rebates on account of withdrawal from Yale College, consult the section
“Financial Services” under "Regulations" in the Yale online publication Undergraduate Regulations.




During the time that students who have withdrawn are away from Yale College, the Committee on
Reinstatement expects them to have been constructively occupied and to have maintained a satisfactory
standard of conduct.

Further requirements depend to some extent on the circumstances of the withdrawal and its duration.
Students who are not in academic good standing, i.e., students who withdrew while a term was in
progress or who were dismissed for academic reasons, must ordinarily complete the equivalent of at least
two term courses, either in Yale Summer Session or at another college or university, earning grades of A
or B. See section I, Academic Penalties and Restrictions. Courses conducted online, whether taken at Yale
Summer Session or elsewhere, do not fulfill this reinstatement requirement. In general, such a record of
course work is also required of students who withdrew for medical reasons and of any students who have
been away from full-time academic work for more than four terms, whether or not they were in academic
good standing at the time of their departure, in order to demonstrate that upon return they can
satisfactorily complete their academic program. Courses themselves, as well as the institution at which
they are taken, should be cleared in advance with the chair of the Committee on Reinstatement. All such
course work must be completed no later than the opening of the term to which the student has applied to
be reinstated, but no earlier than two years before the date that term begins. Courses completed in
fulfillment of reinstatement that are eligible for graduation credit must be applied to the student’s Yale
College transcript.
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While the majority of students who apply for reinstatement do return to Yale College, reinstatement is not
guaranteed to any applicant. Since the committee seeks to reinstate only those students who have
demonstrated the ability henceforth to remain in academic good standing and thus complete degree
requirements within the specific number of terms of enrollment remaining to them, the committee may
sometimes advise applicants to defer their return until a time later than the one originally proposed. At the
conclusion of each of the two terms following their reinstatement, students are expected to complete and
pass all of the courses in which they remained enrolled. Students who fail to meet this condition are
ordinarily required to withdraw after their record has been reviewed by the Committee on Honors and
Academic Standing.

A student is eligible to be reinstated only once; a second reinstatement may be considered only under
unusual circumstances, ordinarily of a medical nature.

For reinstatement to a fall term, applications must be submitted in person or by mail by June 1. For
reinstatement to a spring term, applications must be submitted in person or by mail by November 1.
These deadlines are strictly enforced.

Frequently Asked Questions are available online to provide additional information about reinstatement
procedures as well as contact information for the chair of the Committee on Reinstatement for
reinstatement inquiries.



Students on financial aid who have successfully completed the course requirements for reinstatement in
the summer prior to reinstatement will be forgiven their Student Income Contribution (SIC) for the
subsequent summer. Students may apply for a waiver of the SIC through Yale’s Student Financial Services.

Some students require, upon reinstatement in Yale College, a ninth term of enrollment in order to
complete their bachelor’s degree. Students who receive financial aid and find themselves in such a
situation should consult with a counselor in Student Financial Services about possible Federal financial aid
implications.



Interviews with members of the Committee on Reinstatement are required of all applicants for
reinstatement. The committee may not approve a student’s return to Yale College until after the necessary
interviews have taken place. These may include individual in-person meetings for any applicant with the
chair of the committee and any other member of the committee, including a member of the Yale Health
staff. Interviews are normally conducted prior to the beginning of the term to which the student is seeking
reinstatement. While the expectation is that these meetings will take place in person, they may be
conducted by video teleconference when circumstances warrant. Contact the chair of the Committee on
Reinstatement with questions.

As an integral part of the application for reinstatement, students who withdrew for medical reasons must
obtain a recommendation from Yale Health. Such a recommendation must come from either the director of
Yale Health or the chief of the Mental Health and Counseling department, or from their official designees
within the Health Center; no such recommendation can be made in the absence of documentation
provided to Yale Health that the student has had successful treatment from an appropriate health clinician.

  . .
Students who interrupt their studies to perform U.S. military service are subject to a separate U.S. military
leave reinstatement policy.
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In the event that a student withdraws or takes a leave of absence from Yale College on or after August 14,
2008, in order to serve in the U.S. military, the student will be entitled to guaranteed reinstatement under
the following conditions:

 1. Students must have served in the U.S. Armed Forces for a period of more than thirty consecutive days.

 2. Students must give advance written or verbal notice of such service to their residential college dean.
    In providing the advance notice students do not need to indicate whether they intend to return. This
    advance notice need not come directly from the student, but, rather, can be made by an appropriate
    officer of the U.S. Armed Forces or official of the U.S. Department of Defense. Notice is not required if
    precluded by military necessity. In all cases, this requirement of giving notice can be fulfilled at the
    time the student seeks reinstatement, by submitting an attestation that the student performed the
    service.
 3. Students must not be away from the University to perform U.S. military service for a period exceeding
    five years (this includes all previous absences to perform U.S. military service but does not include any
    initial period of obligated service). If a student’s time away from the University to perform U.S. military
    service exceeds five years because the student is unable to obtain release orders through no fault of
    the student, or the student was ordered to or retained on active duty, such students should contact
    their residential college dean to determine if they remain eligible for guaranteed reinstatement.

 4. Students must notify Yale within three years of the end of the U.S. military service of their intention to
    return. However, students who are hospitalized or recovering from an illness or injury incurred in or
    aggravated during the U.S. military service have up until two years after recovering from the illness or
    injury to notify Yale of their intent to return.
 5. Students may not have received a dishonorable or bad conduct discharge or have been sentenced in a
    court-martial.

A student who meets all of these conditions will be reinstated for the following term unless the student
requests, in writing, a later date of reinstatement. Any student who fails to meet one of these
requirements may still be eligible for reinstatement under Yale’s general reinstatement policy but is not
guaranteed reinstatement. Upon returning to Yale, such students will resume their education without
repeating completed course work for courses interrupted by U.S. military service. They will have the same
enrolled status last held and will be in the same academic standing. For the first academic year in which
such students return, they will be charged the tuition and fees that would have been assessed for the
academic year in which they left the institution. Yale may charge up to the amount of tuition and fees that
other students are assessed, however, if veterans’ education benefits will cover the difference between the
amounts currently charged other students and the amount charged for the academic year in which the
student left. In the case of students who are not prepared to resume their studies with the same
enrollment status and academic standing as when they left or who will not be able to complete the
program of study, Yale will undertake reasonable efforts to help such students become prepared. If, after
reasonable efforts, Yale determines that the student remains unprepared or will be unable to complete the
program, or Yale determines that there are no reasonable efforts it can take, Yale may deny
reinstatement.
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                                     U.S. District Court, District of Connecticut
                                       CIVIL ACTION no. 3:20-cv-00133-JCH




                            Exhibit 5
     Attached to Plaintiff’s Motion for Preliminary Injunction

                     Dated: February 23, 2020


                            Description:

             Yale College Disciplinary Committee
Semester Reports, Policies and Procedures, Review Committee Info
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Yale College Undergraduate
Regulations 2019–2020
The Disciplinary Procedures of the Executive
Committee of Yale College
The Yale College Executive Committee is responsible for the fair, consistent, and uniform enforcement of
the Undergraduate Regulations, the disciplinary rules governing students in Yale College. It receives
reports of alleged infractions of those regulations whether academic or nonacademic. Its jurisdiction also
includes other actions on the part of undergraduates that may in the judgment of the committee warrant
disciplinary action because these actions may imperil the integrity and values of the academic community
or the safety of its members. The Executive Committee may assign penalties as provided in
the Undergraduate Regulations, though in some cases authority is delegated to other University officials
such as the heads of the residential colleges, the University Librarian, the directors of the Yale computer
facilities, and the Executive Director of Yale Dining, who may summarily impose certain penalties for
violations of dormitory, library, computer facility, and dining services regulations. Violations of sexual
misconduct policies are addressed by the University-Wide Committee on Sexual Misconduct (UWC), which
has authority to recommend penalties to the dean of Yale College.

As an institution, the Executive Committee is responsible to the Yale College Faculty and ultimately to the
University. The committee is charged with protecting the Yale College community so as to ensure the
integrity of academic instruction, the physical security of students, and the preservation of the property
and educational resources of the University. The committee is bound at all times to consider the manner in
which its actions and decisions may affect the persons and groups—faculty, student body, administration,
and staff—whose activities carry and foster the intellectual and residential life of Yale College.


  .
 1. The Executive Committee of Yale College is appointed by the dean of Yale College. The committee shall
    have twenty regular voting members: eight members of the Yale College faculty and twelve
    undergraduate students. At least four of the eight faculty members should be tenured. Should an
    occasion arise when, as a result of the conflict-of-interest provisions of these procedures or other
    unavailability of members, a quorum cannot be gathered from regular voting members, the dean of
    Yale College shall appoint a member or members from the faculty and undergraduate student body ad
    hoc to participate in the business then before the committee.
 2. In addition to the regular voting members there shall be three officers of the Executive Committee who
    are also members: chair, vice-chair, and secretary. They shall be appointed annually by the dean of
    Yale College and shall be charged with particular responsibilities.

      a. The chair shall be either a tenured member of the Yale College Faculty or an associate dean of Yale
         College. The chair shall coordinate all activities of the committee, shall preside at meetings or
         designate the vice-chair to preside, shall organize the conduct of meetings or designate the vice-
         chair to do so. The chair shall be the person who communicates on behalf of the Executive
         Committee to the Yale College Faculty. In hearings, the chair or vice chair, whichever of the two is
         presiding, shall vote as a regular voting member.
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      b. The vice-chair shall be either a tenured member of the Yale College Faculty or an associate dean of
         Yale College. The vice-chair will assist the chair in the coordination of committee activities and will
         preside at meetings when designated by the chair.

      c. The secretary shall normally be an assistant or associate dean of Yale College. This person shall
         assist the chair in the daily details of committee business, keep the records relating to committee
         business, handle official correspondence on behalf of the committee, and help ensure that all
         required procedural steps have been taken by the committee. The secretary shall attend all
         hearings and shall vote only to break a tie.
      d. The chair, vice-chair, and secretary shall constitute the Coordinating Group of the Executive
         Committee. The Coordinating Group shall prepare and organize all matters coming before the
         Executive Committee.

 3. In evaluating allegations of misconduct, the Executive Committee may request the assistance of an
    adviser who has knowledge of a particular subject matter or issue in question, and a factfinder, who is
    responsible for gathering any relevant facts. Advisers and factfinders will produce a written report to
    the committee, detailing the results of any investigation or analysis and any opinions reached. The
    report will be provided to the voting members and responding student(s) prior to any hearing. When
    practical, advisers and factfinders will attend the hearing and be available to answer questions
    regarding the report and any opinions presented.
      a. An adviser is a member of the Yale College Faculty who assists the work of the Executive
         Committee as an expert in a particular academic field. Advisers may be appointed either annually
         or ad hoc by the dean of Yale College.
      b. In complex cases – usually involving multiple parties – the chair or secretary may request the dean
         of Yale College to appoint a factfinder to conduct an investigation of the incident(s). The factfinder
         may be a member of the Yale College Faculty, a staff member, or an investigator engaged by the
         university for the purpose of conducting the investigation.

 4. Each student conduct hearing will be conducted by a panel drawn from the membership of the
    Executive Committee. A hearing panel shall have seven members: the chair (or vice-chair), the
    secretary (or designate), two faculty voting members, and three student voting members. The
    presence of five of these members shall constitute a quorum, provided that at least two student
    members, the chair, and the secretary are present. A majority vote shall decide questions before the
    hearing panel.
 5. There shall be a Committee of Review which in circumstances described below (See section C.7) may
    review decisions of the Executive Committee.


  .

Concerns regarding undergraduate student conduct that may violate the Undergraduate Regulations,
academic or nonacademic, shall initially be referred to the secretary of the Executive Committee or to the
chair. A report should be made in writing and should detail the conduct in question and provide all
available and relevant evidence.

 1. Reports of possible Academic Offenses

      a. A member of the faculty finding evidence of academic dishonesty on a class assignment or
         examination will bring the matter to the secretary of the Executive Committee. The faculty
         member must provide a written statement explaining, in detail, the reason for concern about the
         integrity of the examination or assignment. The faculty member will also be expected to provide
         copies of the student work that allegedly violates the regulations, copies of the relevant
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       examination or assignment prompt, and any apparent source materials or other relevant evidence.
       The secretary will keep the faculty member apprised of major developments in the case and may
       ask the faculty member to respond to student statements or other issues that may arise.

     b. If a student becomes aware of an instance of possible academic dishonesty, they should report the
        matter to the instructor. If this procedure is not feasible, the student may report the matter to the
        chair of the department or their residential college dean. The department chair or residential
        college dean will then inform the instructor about the report (without identifying the reporting
        student) and seek the instructor’s input on the matter.

2. Reports of possible Nonacademic Offenses
     a. Any member of the faculty, residential college head, residential college dean, or member of the
        University administration or staff may bring an alleged infraction to the attention of the secretary
        of the Executive Committee.

     b. An undergraduate student may bring a report of a nonacademic infraction to the attention of the
        secretary only in conjunction with their residential college head, residential college dean, a
        member of the Yale College Dean’s Office, a member of the President’s Committee on Racial and
        Ethnic Harassment, or the Yale Police Department.
     c. In addition, the Coordinating Group shall review reports of student misconduct lodged by the Yale
        Police Department. The Coordinating Group shall take note of conduct in the reports that may be in
        violation of the Undergraduate Regulationsand appears to warrant action by the Executive
        Committee and shall refer the student(s) for action under section 3 immediately below.

3. Initial Disposition and Referral of Reports. Each week the Coordinating Group shall review all reports
   received by the secretary and shall make one of the following judgments in regard to each report:
     a. Reports for which sufficient information is available and which, if substantiated, would constitute a
        violation of the Undergraduate Regulations shall be submitted to the Executive Committee, unless
        withdrawn as provided below in section E.2.
     b. If there is a need to locate documents, inquire further into matters of fact, or pursue additional
        information before an informed decision may be made by the Coordinating Group, the secretary
        shall make preliminary inquiries. When deemed necessary, the chair or secretary shall request that
        a factfinder be appointed to conduct an investigation. In cases of alleged academic offenses, it
        remains the responsibility of the faculty member to furnish copies of any relevant source materials.

     c. If, after an investigation or at any time during the disciplinary process, the Coordinating Group
        determines that there is insufficient information to reach a conclusion or that the act does not
        amount to a violation of the Undergraduate Regulations, the Coordinating Group will close the
        matter.
     d. Reports that should have been directed to an administrative official, such as infractions of housing,
        library, or dining services regulations, shall be referred to the proper authority.

     e. Reports that appear to involve sexual misconduct shall be referred to the secretary of
        the University-Wide Committee on Sexual Misconduct (UWC). In complex cases that combine
        allegations of sexual misconduct and other offenses, the chair of the Executive Committee and the
        chair of the UWC shall consult pursuant to the provisions of the procedures of the UWC.
     f. See section E for reports concerning alleged acts of violence or physical force, harassment,
        intimidation, or coercion.


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1. Notification of the Student. If the Coordinating Group decides that a report is to be referred to the
   Executive Committee for a hearing, the secretary shall, in writing, notify the student or students of this
   fact and specify the regulation that has been allegedly violated. The notification shall include a copy of
   the report that provides the basis for the allegation of misconduct. The secretary will also provide to
   the student a list of the membership of the Executive Committee and a copy of these procedures,
   including the summary for students appearing before a hearing panel of the committee. (See section
   J.) The secretary shall simultaneously inform the relevant residential college head(s) and residential
   college dean(s) of the allegation. The student and their residential college dean should review
   information relevant to the proceedings. The chair or secretary can familiarize the student and the
   student’s adviser with practical as well as procedural aspects of the hearing process, so that the
   student can be as well prepared and comfortable as possible in meeting with the hearing panel.
2. The Adviser to the Student. The student may choose an adviser. The adviser is not an advocate, but
   rather a source of personal and moral support to the student. The adviser should aid the student in
   preparing to appear before the Executive Committee. The adviser should also accompany the student
   to the committee meeting and counsel him or her. During the meeting the adviser may unobtrusively
   suggest questions or issues for the student to raise with the committee. The adviser may not
   participate directly in the proceedings except for making a brief concluding statement if the student so
   desires.
   a. The student’s residential college dean will ordinarily serve as their adviser. The student may select
      an alternative adviser in situations where the college dean is unavailable, or the student feels
      another adviser would be more appropriate. That adviser may be the residential college head,
      another residential college dean, a college adviser, a Yale College faculty member, a Yale College
      administrator, a coach, or any other faculty or staff member of the University who is not a member
      of the Executive Committee or the Office of the University General Counsel. Should a student find
      themselves unable to identify an appropriate adviser, the secretary of the Executive Committee
      shall assist the student and provide recommendations.
   b. In the case of an allegation of physical assault or other possible infractions, a residential college
      head or dean shall not serve as adviser to a student in his or her college in a case involving a
      report made by another student in the same college.
    c. The student shall notify the secretary of the Executive Committee as soon as they have chosen an
       adviser.
   d. When a report involves alleged offenses against persons and/or property, the student may choose
      an attorney as a second adviser. The legal adviser may counsel the student but may not address
      the hearing panel or otherwise participate directly in the proceeding.
   e. On all occasions when a student has requested the presence of an attorney in the meeting with the
      Executive Committee, the chair will as a matter of course request the presence of the University
      General Counsel or a representative of that office.

3. Student Statement. Students may respond in writing to the allegation. This statement allows the
   student to provide their perspective on events and any broader context or other information that will
   help the Coordinating Group and the committee to better understand the situation. Written statements
   will ordinarily be due to the secretary no more than 3 business days after the student receives
   notification. Upon receiving the student statement, the Coordinating Group may: 1) refer the matter
   directly on to the hearing panel, 2) postpone the hearing to allow for additional factfinding, or 3) close
   the matter in light of new information presented.

4. Consideration of the matter by a hearing panel of the Committee. Unless the report is withdrawn (as
   provided in section E.2), all reports referred by the Coordinating Group will be reviewed by a hearing
   panel of the Executive Committee.
5. Hearing Preparation:
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   a. The secretary will provide the student with copies of any additional materials, beyond the original
      notification, that will be considered by the committee. These might include: a factfinding report,
      witness statements, audio or video recordings, physical evidence, or additional documentation.
      These materials should be made available to the student no less than three business days prior to
      the hearing, except when the student requests that less time be allowed in order to schedule an
      earlier hearing. The same materials will be made available to the adviser.
   b. The Coordinating Group may arrange for the appearance of witnesses. If it does so, their names
      shall be made available to the student no less than two business days before the meeting. The
      student may also request to invite a reasonable number of witnesses to the hearing. The student
      must provide the name and relevance of any proposed witness to the secretary no less than two
      business days before the meeting. The invitation of any witness will be made at the discretion of
      the Coordinating Group.
   c. If it is a matter of academic dishonesty, the reporting faculty member may request from the chair
      permission to make a brief explanatory statement to the committee in the presence of the
      student.
   d. Inspection of Records. The documents relating to the report, including the initial report, any report
      of the factfinder, the statement by the student, and any other materials deemed relevant by the
      Coordinating Group, shall be made available to the committee for inspection in the Yale College
      Dean’s Office or by secure electronic distribution normally no less than twenty-four hours before
      the time of the meeting. These documents are confidential.
   e. Excuse for Conflicts of Interest. The chair or secretary shall ascertain whether any members should
      be excused because of a conflict of interest (in accordance with section H.)

6. Procedures during the Student’s Meeting with the hearing panel of the Committee.
   a. The purpose of the meeting between the student and the committee is to vent fully all sides of the
      issue or issues raised in the report.
   b. Students are expected to tell the truth in all their dealings with the Executive Committee. The
      members of the Executive Committee will give such credence and weight to the student’s
      statements as they believe appropriate.
   c. Every student shall be put on notice that lying to a factfinder or to the Executive Committee may
      be taken into account in fixing the penalty and could serve as the basis for an additional violation
      as provided in the Undergraduate Regulations(See Offenses, section I, “Misconduct at a formal
      hearing.”).
   d. When a hearing panel meets with the student, the chair (or vice-chair) shall explain the substance
      of the matter and the specific undergraduate regulation allegedly violated or the other alleged
      action that in the committee’s judgment may warrant disciplinary action.

   e. The student may make a statement of reasonable length to the hearing panel.
    f. If a factfinder has conducted a review, the student or members of the committee may request the
       factfinder to explain his or her report.
   g. When invited to a hearing, witnesses or the reporting person will address the hearing panel and
      answer questions.
   h. The student may answer questions asked by the panel members.

    i. With the student’s permission, their adviser may speak briefly on their behalf.
    j. The student may make a closing statement of reasonable length to the hearing panel.
   k. Deliberative Session of the hearing panel. Upon completion of the discussion of the matter, the
      student, the factfinder or the adviser (if there is one), and all other persons except the chair (or
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 vice-chair), the secretary, and the regular voting members of the hearing panel shall withdraw. The
 panel shall then address the question of whether the student has violated the Undergraduate
 Regulations, and shall give an affirmative answer if it is satisfied that a violation has been shown
 by a clear preponderance of the evidence.

 After a full consideration, the committee shall reach its decision, through a secret ballot, by
 majority vote. Should the initial ballot result in a tie, a second ballot shall be taken after further
 discussion. Should the result again be a tie, the secretary shall cast the deciding vote. The actual
 vote shall not be indicated to the student and shall remain a part of the confidential record.

 The chair shall inform the student and their adviser of the outcome immediately after a decision is
 reached.

 Should the meeting of the committee to consider the matter extend beyond a reasonable hour, the
 chair may postpone the remainder of the meeting. The chair should reconvene the meeting in
 person or by other means as soon as possible. If the meeting is so adjourned, the same committee
 members must participate in the reconvened meeting at which the hearing or deliberations shall be
 resumed or the penalty assigned.

l. Assignment of a Penalty. The Yale College Faculty believes it is proper for the Executive Committee
   to view a particular infraction of the Undergraduate Regulations in the context of the total personal
   and academic record of the student involved.
   i. When a hearing panel of the Executive Committee proceeds to consider assigning a penalty, it
      shall invite the student and the adviser to return to the room. The secretary will inform the
      panel of any previous infractions of the Undergraduate Regulationson the part of the student.
      The hearing panel shall permit the student and his or her adviser to present a statement of
      reasonable length relevant to the determination of the penalty.
   ii. After the student and the adviser have again withdrawn, the secretary will inform the panel
       about the nature of previous penalties assessed for similar offenses. The panel will discuss
       what penalty it should impose. If the panel has found that the student purposely misled the
       committee during its deliberations, the panel may consider that factor as grounds for imposing
       a more severe penalty. The chair will propose a penalty upon which the voting members of the
       panel will vote by secret ballot. The chair (or vice-chair) votes with the panel. If the vote is a
       tie, there shall be further discussion and a second vote. If a second consecutive vote results in
       a tie, the secretary shall vote to break the tie.
  iii. Should a panel under extraordinary circumstances propose a penalty other than one of those
       specifically listed in the Undergraduate Regulations(e.g., some form of work service or repair of
       damaged property), the chair shall first ascertain that the persons upon whom would rest
       responsibility for overseeing enforcement of the penalty are willing to accept that responsibility.

  iv. The penalty of suspension must apply to periods when Yale College is in regular session.
      Students who are suspended must vacate the college and return keys and Yale identification to
      the residential college dean’s office within the time period specified by the hearing panel of the
      Executive Committee. In no case may that period be greater than 72 hours after the imposition
      of the penalty. A suspended student may not return to campus during the period of suspension
      for any reason unless they receive express written permission in advance from their residential
      college dean or head, or the dean of student affairs.
   v. When the hearing panel has reached its decision about the penalty, the chair shall inform the
      student and the adviser of the committee’s decision.

  vi. The secretary shall inform the relevant residential college head(s) and dean(s) of the
      committee’s decision. The secretary shall also inform the residential college dean of the exact
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         manner in which the infraction is to be indicated in the record and recommendations for the
         student. This communication should ordinarily take place in writing within two weeks of the
         disposition of the matter. Copies of those letters shall form part of the permanent record of the
         Executive Committee.
      vii. The secretary shall also send written notice of the decisions of the committee to the reporting
           person and/or the person who is the alleged victim of any crime of violence. (See section
           E below.)
     viii. The secretary may disclose to other universities and schools information concerning disciplinary
           action taken against a student for conduct that posed a significant risk to the safety or well-
           being of that student, other students, or the University community.

7. Appeals to the Committee of Review. Decisions of the Executive Committee are final and take
   immediate effect, notwithstanding whether the student is applying to the Committee of Review for
   reconsideration of a decision as provided herein. Decisions may be reopened by the Executive
   Committee itself only when substantial new evidence that may exonerate the student becomes
   available. The Executive Committee may also be requested by the Committee of Review to reconsider
   a decision; see below.

   a. There shall be a Committee of Review, which may review and, when appropriate, request
      reconsideration of the decisions of the Executive Committee. The Committee of Review will be
      composed of three persons, two of them members of the Yale College Faculty, appointed by the
      president for a term of five years, one of whom shall be designated by the president as chair of the
      committee. Each year, the faculty members of the Committee of Review, in consultation with the
      Yale College Council, will select a student member to serve on the committee.
   b. The Committee of Review will receive written appeals from (1) a student or students who have
      been assigned a penalty by the Executive Committee or the Coordinating Group (2) the dean of
      Yale College, where either the student(s) or the dean believes that a decision of the Executive
      Committee or the Coordinating Group, in matters of fact or the assignment of penalties, is
      inconsistent with precedent or otherwise in error. An appeal must be received by the Committee of
      Review no later than five business days after the decision of the Executive Committee. In order to
      review such appeals, the Committee of Review will have access to all the written records of the
      Executive Committee.
   c. In response to an appeal, the Committee of Review will have the right (1) to decline to take action;
      (2) to request in writing a reconsideration by the Executive Committee; (3) to publish commentary
      on the case which, while maintaining the confidentiality of the Executive Committee hearings,
      seeks to clarify the principles involved in the case and to offer useful counsel for future decisions.
   d. It is anticipated that in the vast majority of cases, the Committee of Review will decline to take
      action. It will request reconsideration by the Executive Committee only in cases where it believes
      that (1) some pertinent evidence was not taken into account; (2) long-standing precedents, in
      decisions of culpability and the assignment of penalties, were ignored; (3) errors in procedure may
      have substantially affected the decision; (4) certain key principles of the University were not
      sufficiently considered in the original decision.

   e. The Coordinating Group will have the authority, on behalf of the Executive Committee, to grant or
      deny a request for reconsideration. In the case where the Coordinating Group has granted the
      request to reconsider, the chair of the Executive Committee and the Committee of Review will
      discuss appropriate procedures for the Executive Committee’s reconsideration. At a meeting for
      reconsideration of a case by the Executive Committee, the chair of the Committee of Review will
      appear before the Executive Committee or the Coordinating Group in order to make clear what
      motivated the call for reconsideration. The Executive Committee or the Coordinating Group will be
      free either to alter or to confirm its original decision. It may not, however, make a finding of
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         culpability where it had previously exonerated a student, or assign a penalty more serious than
         that assigned originally.

 8. Timing on Disposition of Matters. The process of factfinding, Coordinating Group consideration, and
    Executive Committee action should normally be completed by the end of the academic semester after
    the semester in which a report has been submitted (“Academic semester” for this purpose means a
    semester in which the student is registered and in residence at Yale).

      Matters involving an administrative suspension shall be governed by the time limits provided for that
      procedure. (See section D.3.)

      A student who withdraws from Yale College for personal reasons rather than face disciplinary charges
      that are pending against that student will not be eligible for Yale College reinstatement, re-enrollment
      or a Yale College degree, and a notation to this effect will be entered on the transcript. A student in
      such a situation must go through the disciplinary proceeding in order to be eligible for reinstatement.
      If a disciplinary case brought against a graduating senior is pending at the time of graduation, the
      Coordinating Group will recommend to the dean of Yale College that the student’s degree be withheld
      until the case is resolved.


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When a report alleging an infraction of the Undergraduate Regulationsrelates to a case that either will be
or is in process of adjudication by the courts, the Executive Committee may address the matter by one of
the following procedures:

 1. If in the judgment of the Coordinating Group sufficient information is available to consider the matter,
    the committee may consider it in the normal manner.
 2. The Coordinating Group may decide to defer consideration of the matter until after the case has been
    adjudicated by the courts. When the Coordinating Group so defers consideration, it shall decide either
    to permit the student to continue in regular enrollment and residence in his or her residential college
    or to permit the student to enroll in classes but not to live in the residential college. Before the
    Coordinating Group makes this decision, the chair shall request the written opinion of the student’s
    residential college head. The student may also present a written statement in regard to his or her
    ongoing residence in the residential college.

 3. The student may request in writing that the Executive Committee defer its consideration of the matter
    and that they receive an administrative suspension.This provision is intended for use by the Executive
    Committee very rarely and only in situations in which the criminal charges are very serious and in
    which action by the Executive Committee might irreparably prejudice the student’s cause before the
    courts.

An administrative suspension suspends the student from Yale College in the same manner as any
suspension by the Executive Committee; however, the administrative suspension is without prejudice to
the review of the allegation against the student. In effect, an administrative suspension means that the
student facing a criminal hearing voluntarily withdraws from enrollment and residence in Yale College with
the understanding that they may re-enroll, through the normal procedures for reinstatement or
readmission, only after the standing matter has been considered in the normal manner by the Executive
Committee. The decision to provide an administrative suspension resides solely in the authority of the
Executive Committee; even when a student requests an administrative suspension, the committee may
decide to consider the matter immediately.
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The administrative suspension may remain in effect for no longer than one year, at the end of which time
it must be reviewed by the Executive Committee. The student may then request in writing an extension of
the administrative suspension for another period not to exceed one year. However, an extension of an
administrative suspension normally does not remain in effect longer than one month past the date on
which the matter has been adjudicated by the courts or settled otherwise, or normally longer than two
weeks beyond the opening of the academic term if determination by the courts has occurred when the
College is not in session.

When the matter comes for consideration by the Executive Committee after the period of administrative
suspension, the committee will consider the matter in the normal manner and without prejudice.

A decision favorable to the student in the courts will not necessarily exonerate him or her from having
committed the alleged infraction of the Undergraduate Regulations.


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 1. In any report involving alleged acts of violence or physical force, harassment, intimidation, or coercion
    (see Offenses, section C and section E), the procedures for the disposition before the committee (see
    Procedures, section C) are amended in the following ways:
      a. The person against whom one of the acts described above was allegedly committed (referred to
         here as the “reporting person,” whether or not they actually made the report) shall receive copies
         of all documents submitted relating to the matter, including the initial report, any report of the
         factfinder, the statement by the responding student, and any other materials deemed relevant by
         the Coordinating Group, no less than five business days before the hearing. All documents are
         strictly confidential and may not be shared or disclosed except with the reporting person’s adviser
         or legal adviser, if any. All physical documents must be returned to the secretary of the Executive
         Committee and all electronic documents must be permanently deleted once the process has ended.
      b. If the reporting person appears as a witness before the committee, they may choose to be
         accompanied for moral support by an adult member of the Yale community who will not participate
         directly in the proceedings.The reporting person may also be accompanied by a legal adviser who
         similarly may not participate directly in the proceeding. At the request of either the reporting
         person or the responding student, the testimony of the reporting person may be given out of the
         presence of the responding student. The responding student’s adviser (and legal adviser, if
         permitted pursuant to section C.2.), however, may be present in the hearing room during the
         testimony. In addition, the committee will arrange for the responding student to hear the
         testimony through audio transmission to a private room.

 2. In any report involving acts of violence or physical force, harassment, intimidation, or coercion (see
    General Conduct and Discipline, Offenses, section Candsection E), the reporting person may, at any
    time before the day scheduled for the Executive Committee's hearing, request in writing that the
    Coordinating Group dismiss the matter. The Coordinating Group will consider the request, and may
    inquire into the circumstances (including as appropriate consulting with the reporting person’s adviser
    or residential college dean) to determine whether the matter has been resolved fairly and to the
    satisfaction of the parties, whether the reporting person’s request is fully voluntary, whether the
    interests of the Yale community would be better served by hearing the case, and other relevant
    matters. The Coordinating Group will then decide to grant or deny the request, in its sole discretion.
    The decision of the Coordinating Group on the request will be final.
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 3. It shall be the duty of the chair to explain to all parties involved in a case of alleged harassment on the
    basis of sex, sexual orientation, gender identity or expression, race, color, religion, age, disability,
    status as a protected veteran, or national or ethnic origin that the Executive Committee disposition of
    the matter does not constitute the equivalent of action or redress at law. The chair shall also explain
    that the extent of the jurisdiction of the Yale College Executive Committee is limited to the
    enforcement of the Undergraduate Regulationsby means of the penalties provided therein.

 4. Should the allegation of harassment, intimidation, coercion, or assault be simultaneously pursued in
    the courts, the procedures in section D regulating such situations shall be in effect


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In proceedings involving allegations of gender discrimination by students other than sexual misconduct,
the provisions of section E and the following provisions shall apply:

 1. The reporting student shall have the same option as the responding student to bring an appeal to the
    Committee of Review as provided in section C.7.
 2. Written notice of the outcome of the proceeding must be provided to the reporting student.


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The Executive Committee and all members of the Yale community who are involved in a matter before
the Executive Committee are expected to maintain the confidentiality of its proceedings and any
information circulated in regard to those proceedings.

All documents, and other materials, prepared by, prepared for, or received from the Executive
Committee in connection with an Executive Committee proceeding must be held in strict
confidence. Students may not disclose Executive Committee Materials to anyone other than their advisers
in the Executive Committee proceeding, their residential college dean, family members, and
attorneys. Students must inform these recipients that Executive Committee materials and documents are
strictly confidential and may not be further disclosed.

Disciplinary action may be taken against a student who discloses any Executive Committee documents or
materials in violation of these procedures, or who is responsible for the improper disclosure of such
documents or materials by others. In addition, whether or not an Executive Committee document has
been disclosed, disciplinary action may be taken against a student who breaches confidentiality in order to
retaliate against a person for their participation in an Executive Committee proceeding.


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Members of the Executive Committee should be alert to potential conflicts of interest between themselves
and the persons bringing matters to the committee or the student against whom a matter has been
brought.

 1. Committee members having past or present ties of kinship, marriage, or other very close personal
    relationship to any of the parties involved in the matter should notify the chair that a conflict of
    interest exists and should be automatically excused from participation. The nature of the relationship
    need not be disclosed to the chair.
 2. Committee members having some form of close professional relationship to one or more of the parties
    involved in the matter (e.g., collaboration or cooperation in research, writing, or teaching with a
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     colleague or service as an ongoing academic adviser or instructor to the student in a very small class)
     should notify the chair that a potential conflict of interest exists and may request to be excused from
     participation.
 3. A committee member should inform the chair that they are in some manner involved in the specific
    details of the matter and may request to be excused from participation.
 4. A member of the committee should inform the chair that the nature of the matter creates an occasion
    for a conflict of interest and may request to be excused from participation.

 5. The student against whom a matter has been brought may request that a committee member be
    excused because of a proven conflict of interest as provided in the foregoing provisions.
 6. Should one of the members of the Coordinating Group be excused for a conflict of interest, a faculty
    member of the committee shall carry out the responsibilities of that member of the Coordinating Group
    in regard to the matter under consideration.
 7. All issues relating to conflict of interest should be raised and settled before the committee begins
    consideration of the matter. Questions relating to conflict of interest may not be raised after the
    committee has reached decisions, nor may they be grounds for reconsideration of committee
    decisions.
 8. The foregoing provisions are intended not to be inclusive of all possible situations of conflict of interest,
    but rather to provide guidance. It is the intention of these provisions to enable the committee to avoid
    both the appearance and the reality of conflict of interest, so that the community will have confidence
    in the fairness of the proceedings. In case of doubt, the chair and committee members should assume
    that a potential conflict of interest exists.


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The records of the Executive Committee are of four types. The first three (described in sections I.1-3.) are
unavailable to the public unless subpoenaed by the court or other government agency and should be
stored securely by the Yale College Dean’s Office. The fourth type of record (described in section I.4.) will
be published twice per year and made available to students and other members of the Yale community.
The Committee of Review will have access to all records of the Executive Committee.

 1. The secretary shall maintain a record of all matters acted on by the Executive Committee. This record
    shall include the original written report, any forms or statements signed or submitted by the student
    and all materials submitted to the committee prior to the hearing, including the report of the factfinder
    or adviser, should there be one.
 2. The secretary shall keep a record of minutes from each meeting of the Executive Committee. These
    need not be a verbatim transcript, but they should reflect a record of the statements of witnesses and
    substance of the discussions and decisions of the committee. Minutes shall not be kept of the private
    committee discussion prior to reaching a decision by vote on the substance of the allegation or the
    assessment of the penalty. A written record shall be kept of those committee members in attendance;
    the decision of the majority in determining whether a violation has occurred, including the penalty
    assessed if any; the witnesses appearing before the committee; and any written materials submitted
    to the committee.
 3. The secretary shall keep a careful, ongoing written record of the alleged violations sustained by the
    Executive Committee and the particular penalties assigned. The purpose of this record shall be to aid
    the committee in equitably addressing reports of a similar character.
 4. The secretary shall prepare a brief narrative of each decision of the Executive Committee, describing
    the alleged act(s), the alleged violation, the committee’s finding, the mitigating or exacerbating
    circumstances, and the penalty, if any. The report should be written so as not to reveal, directly or
    indirectly, the identities of the individuals involved in the case. Because the reports are summaries,
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     they do not contain all the relevant considerations in every case. For that reason, students should rely
     on them only for general guidance, not as binding precedent.


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The following summary should be given to all students being informed that a report has been made
against them. Students in Yale College requested to meet with the Executive Committee in regard to a
report of their having violated one or more of the Undergraduate Regulations, or in regard to other actions
that in the committee’s judgment may warrant disciplinary action, should be aware of the following:

 1. The student shall receive written notification of the report and of the specific alleged infraction of
    the Undergraduate Regulations. (See section C.1.)
 2. The student will be given a statement of the procedures, including the conflict-of-interest provisions
    and a list of the members of the Executive Committee. (See section H.)

 3. The student may choose an adult adviser from the Yale community as provided in the procedures. If
    the matter involves an offense against persons and/or property, the student may also bring an
    attorney to the meeting of the Executive Committee as provided in the procedures. (See section C.2.)
 4. Normally five business days must elapse between notification of the student and the meeting of the
    committee at which the matter is to be considered, but upon written request of the student a briefer
    interval may suffice.

 5. The student may request the secretary to make reasonable efforts to locate particular documents or to
    gather relevant information.

     Throughout the investigation of the matter, the student may choose to remain silent. The student
     should, however, understand that by doing so they forfeit the opportunity to ensure that the Executive
     Committee obtains all the relevant information. Every student should understand that lying to the
     factfinder or to the Executive Committee will be taken into account in fixing penalties and may
     constitute a separate violation of the regulations. (See section C.6.c. and section C.6.l.ii.)
 6. The student may see all written materials to be submitted to the committee, including the report of
    the factfinder, no less than three business days before the meeting. The student shall also be furnished
    with a list of all persons who have been requested to be witnesses at the meeting no less than two
    business days before the meeting. (See section C.5.a.and section C.5.b.)

 7. The student may request witnesses be contacted on their behalf. (See section C.5.b.)
 8. During the meeting of the committee the student may choose to remain silent. The committee is not
    to draw a negative inference from the student’s silence, but the student should understand that by
    doing so they forfeit an opportunity to present orally their side of the matter. The student should also
    understand that the committee will base its decision on the information presented to it, and that while
    the members of the Executive Committee expect that students will tell them the truth, they will give
    such credence and weight to the student’s statements as they believe appropriate. (See section C.6.b.)
 9. The student shall have the option of making a statement of reasonable length relevant to the
    determination of the penalty prior to the penalty phase of the committee’s meeting. (See section
    C.6.l.)
10. In the circumstances outlined in section D of the procedures the student may request an
    administrative suspension, but the granting of such a suspension is entirely at the discretion of the
    committee. (See section D.3.)
11. If, subsequently, substantial new information of an exonerating nature becomes available, the student
    may request a reconsideration of the matter. The student may appeal to the Committee of Review no
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   later than five business days after the decision of the Executive Committee only when they believe that
   it can be demonstrated that (1) pertinent evidence has not been taken into account in the Executive
   Committee’s decision; (2) long-standing precedents, in decisions of culpability and the assignment of
   penalties, have been ignored; (3) errors in procedure may have substantially affected the decision; (4)
   certain key principles of the University have not been sufficiently considered. (See section C.7.)

12. The student should understand that the records of the Executive Committee may be subject to
    subpoena by the courts, but that in the absence of a court order or government inquiry the records of
    the committee will not be publicly disclosed (except as provided in section I).
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Executive Committee Chair’s Report
for hearing cycle Spring 2017
Presented to the faculty on November 2, 2017

Explanation of Structure and Process
The Yale College Executive Committee has 10 regular voting members: three tenured and three
untenured faculty members; three undergraduate students; and the Dean of Yale College or his
designee. In addition, there are three officers. In Spring 2017 these were: chair, Paul North,
Professor of German; fact-finder, Fabian Drixler, Professor of History; and Jill Cutler who took
over as secretary from Pamela George in March 2017.

The majority of cases are adjudicated by a coordinating group made up of the chair, secretary,
fact-finder, and one student member. The coordinating group meets weekly to hear the cases
in which a student or students have admitted the validity of the charge against them.

In a typical case, a complaint comes to the secretary of the committee from a faculty member,
dean, or another member of university staff. The coordinating group reviews the complaint and
decides whether to charge the student under one or more sections of the undergraduate
regulations. If a charge is made, the student, along with their dean or advisors, receives a
charging letter explaining the charge and asking whether they admit validity or wish to dispute
the charge. Disputing the charge leads to a full hearing. To give a sense of the ratio, in Spring
2017 there were 19 dispositions without formal hearings and 1 full hearing.

Dispositions without a formal hearing give students and their advisors every chance to tell their
side of the story to the coordinating group. By the undergraduate regulations, prior to the
hearing, the students receive all the materials for the case, including details of the complaint
against them, any police report, supplemental testimony, or email correspondence should
there be any. The student then writes a statement in response, explaining what happened,
their motives, the context, their state of mind and thought process, and anything else they
think might help the committee understand their actions. All this becomes matter for
questioning during the hearing. After reading prepared remarks reminding students of the
guidelines and of their obligation to be honest, the Chair invites the student or students to
make an opening statement that may reiterate what was in their statement or add something
new that is of importance. The committee then asks questions. The tenor of the questions
depends very much on the type of case. Since the majority of cases involve charges of academic
dishonesty, Coordinating Group members usually ask the student to reconstruct the events
leading up to the incident, to recall the guidelines for assignments listed in the syllabus, to
explain their psychological state, and so on. State of mind, it should be said, is not a mitigating
factor, but it can help give a fuller picture of the kind of dishonesty—whether it was a one-time
lapse or perhaps a more routine habit. In the question period, the committee tries to get as full
a picture as possible. Once members are satisfied that they have a full enough picture, the
student’s advisor has a chance to speak on the student’s behalf. Finally, the student is allowed
another chance to speak, to give a closing statement. Then deliberations begin.


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There are three goals in the deliberation phase of the coordinating group hearings: 1. to
determine an appropriate penalty in accordance with the undergraduate regulations and with
precedent, 2. to see to it that harm done to the university community is mitigated, and 3. to
help the students learn something about themselves and envision ways to avoid this kind of
behavior in the future. Sometimes, in addition to one of the standard penalties (reprimand,
probation, suspension, expulsion), the committee asks a student to write a letter of apology to
parties involved, write a short text on the university value they imperiled with their actions, or
meet regularly with a dean or tutor to work on better ways of going through college. When
there has been damage to property, students are often required to repay the losses.
Sometimes, also, Students are required to make amends in other ways as well, such as stepping
down from a leadership position in a campus group, restrictions on social events, or for leaders
of a campus group, a requirement to draft a safety plan.

In Spring 2017, there were 19 dispositions without formal hearings, involving a total of 23
charged students.

Hearings before the full Executive Committee operate in a very similar manner to those before
the coordinating group. These hearings are for students who contest the charges made against
them. There are a few differences in procedure. For full hearings, the fact-finder investigates.
Normally, they interview the student charged, witnesses if necessary, and the complainant.
They also review all the written materials, so that they can produce in the end a report laying
out the evidence for and against the student. The fact-finder is specifically enjoined in the
regulations to be on the lookout for evidence that might exculpate the student. All the
procedures are the same in this type of hearing, except that there are two phases, a judgment
phase and a penalty phase. In the judgment phase, after hearing the student’s statement, a
period of questioning, hearing from the student’s advisor, and a closing statement by the
student, should the student wish to make one, the full committee may decide to withdraw
charges or, conversely, to find the student responsible for the act. If the student is found
responsible, the committee then deliberates on a penalty and chooses one of the following:
reprimand, probation, suspension, or expulsion.

In Spring 2017, there was 1 formal hearings involving 1 charged student.

There are very few standard penalties listed in the undergraduate regulations. And although
there are many years of precedents to guide the choice of penalty, judgments made by the
coordinating group and the full committee are always responsive to the details of a particular
case. Plagiarism may be as serious and extensive as copying an entire paper from a classmate,
or as unreflective as failing to cite sources fully. Vandalism may be the result of a moment of
foolishness or a pattern of alcohol abuse. It is to the great credit of committee members that
they are deeply patient and careful and weigh many factors in their decisions.




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Reflections after a second semester as Chair:
I continue to be concerned about the “culture of excellence” and how this affects students’
feelings, well-being, and behavior, particularly their behavior toward themselves. High
expectations I would say are the main cause of cheating in otherwise honest and fully capable
students, who hit a roadblock of one sort or another. I will quote some lines from last
semester’s “reflections”: “As previous chairs have remarked in their periodic reports, students
who come before the committee almost always commit infractions unwittingly or under stress,
because of mounting emotional problems, or poor judgment of a foolish or occasionally of an
egregious kind. That is: few do these things out of malice. There does seem to be, however, for
many students, a shared framework, and that is the college itself and its implied ideals. Two
infractions, academic dishonesty and hazing, are frequently dark shadows of the pressure on
students to be “leaders” and to achieve “excellence” in all they do. The pressure is internal to
the students, of course, and the vast majority of undergraduates at this institution don’t make
the sorts of poor decisions because of the pressure that land them in front of the executive
committee. But it may be helpful to consider how students could be encouraged to take
advantage of the intellectual and social gift of spending 4 years in this community, without
running a marathon to the top of every hill. The expectation to be excellent at everything is
unrealistic and dangerous.”

There is a new pressure weighing on some of our students, and it probably ought to be
recognized as a category of concern by everyone directly involved in student life in the college.
This category is political turmoil and persecution. Obviously turmoil is not new in the world, but
it is newly intensified in many regions and newly relevant for Yale, as the university recruits
students from around the world and as it begins to think of itself as a global institution. Political
turmoil is increasingly violent and can result in high anxieties for students, not to mention
destruction and displacement of their homes and loved ones. Important to note: students may
still not recognize clearly for themselves just how much dictatorship, persecution, violence, and
injustice in their home country, in general or when enacted directly against friends and family,
will affect them in New Haven, which is, to add to the difficulties, also often very far away from
the scene of conflict and their focus of worry. Along with being a global university comes the
responsibility to offset injustice where our students come from with as much support here as
we teachers, advisors, and deans can give.

The chair expresses the utmost gratitude to the members of the executive committee. The
hearings are long and the task is often unpleasant. Special thanks go to the student members,
who in their wisdom and experience give the most luminous window onto student life. For his
meticulous and absolutely principled collection and assessment of facts, thanks go to Professor
Fabian Drixler. Without his thoroughness as fact-finder, and without his willingness to play
devil’s advocate in every possible situation, the process would be much less rigorous. Jill Cutler
brought precision and moral rectitude to the proceedings, along with her long experience.
Thanks to Susan Sawyer in the General Counsel’s office for her help interpreting the regulations
and assessing the stakes of many cases. Lisa Miller in the Yale College Dean’s office kept the
steady flow of documents organized and the committee members informed—for that the chair
offers her deep thanks.

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This year (17-18) we welcome Gregg Peeples, Assistant Dean of Student Conduct as the
Secretary to the Committee, and Prof. Laura Wexler as Fact Finder. And we bid goodbye to Lisa
Miller after many years of dedicated work and wisdom for the committee.

Respectfully,

Paul North                                                       October 25, 2017
Chair of the Executive Committee, 2016-2018
Professor of German




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Spring 2017

Formal Hearings
1 formal hearings, involving 1 student

Dispositions without Formal Hearings
19 dispositions without formal hearings, involving 23 students

Penalties from dispositions and formal hearings
The following penalties were assigned to students:
suspensions - 2
withhold degree - 1
probations - 7
reprimands - 11
not guilty – 3
expulsion - 0

Academic Dishonesty
21 students were charged with Academic Dishonesty which resulted in:
withhold degree - 0
suspensions - 1
probations - 1
reprimands - 6
charge withdrawn - 8
carried over to spring term - 5

Plagiarism
5 of the 21 cheating cases were plagiarism which resulted in:
withhold degree - 0
suspensions - 0
probations - 0
reprimands - 2
charges withdrawn - 3
carried over to the spring term - 0

Other Cheating
16 of the remaining cheating cases were other forms of cheating:

6 copied answers from another student
1 changed an answer on an exam after it was turned in
1 turned in multiple papers after their deadlines
1 copied information he heard from other students to answer oral exam questions
1 copied answers from an answer key and submitted them as her own

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1 tried to obtain final exam questions after scheduling a make-up exam
1 submitted another student’s exam as his own
2 collaborated on an assignment
2 collaborated on final exam papers

Referred Cases
26 students were referred to the residential college for alcohol intoxication.
Of the 26 students who were intoxicated, 25 were transported to YNHH or University Health
Services.

Formal Hearing
In a formal hearing, Senior charged with Academic Dishonesty for changing an answer on an
exam after it was turned in, was reprimanded.

Dispositions without Formal Hearings
Freshman, charged with Academic Dishonesty for copying another student's take-home test,
was placed on probation for one term.
Senior, charged with Academic Dishonesty for submitting a senior essay largely identical to a
paper used for another course, had degree withheld for 2 terms.
Sophomore, charged with Academic Dishonesty for plagiarizing a final paper, was suspended
for 1 term.
Sophomore, charged with Falsification of Documents and Academic Dishonesty for altering a
Dean's Excuse, was placed on probation for 3 terms.
Freshman, charged with Academic Dishonesty for copying code for a problem set, was
reprimanded.
2 Juniors, charged with Academic Dishonesty for submitting nearly identical problem sets, were
placed on probation for 1 term.
Junior, charged with Academic Dishonesty for turning in multiple papers after their deadlines,
was reprimanded.
Junior, charged with Academic Dishonesty for plagiarizing a paper, was reprimanded.
Junior, charged with Academic Dishonesty for plagiarizing a written assignment, had charge
withdrawn.
Junior, charged with Academic Dishonesty for plagiarizing a written assignment, had charge
withdrawn.
Junior, charged with Academic Dishonesty for plagiarizing a written assignment, had charge
withdrawn.
Junior, charged with Defiance for refusing to cooperate with freshmen counselors in Vanderbilt
Hall, was reprimanded.


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Sophomore, charged with Willful Property Damage for discharging two fire extinguishers in
Saybrook College, was placed on probation for 2 terms and given 20 hours of community
service.
Sophomore, charged with imperiling the integrity of the university for misuse of a bathroom in
Pierson College, was reprimanded.
Sophomore, charged with imperiling the integrity of the university for misuse of a bathroom in
Pierson College, was placed on probation for 1 term.
Freshman, charged with Academic Dishonesty for plagiarizing a paper, was reprimanded.
Senior, charged with Academic Dishonesty for copying another student's homework
assignment, was placed on probation.
Freshman, charged with Academic Dishonesty for submitting identical lab reports, was
reprimanded.
Senior, charged with Defiance, Harassment and Intimidation for behavior in the Silliman
Buttery, was reprimanded.
Senior, charged with Academic Dishonesty for trying to obtain final exam questions after
scheduling a make-up exam, was reprimanded.
Sophomore, charged with Academic Dishonesty for plagiarizing two papers, was reprimanded.
Junior, charged with Academic Dishonesty for submitting another student's exam as his own,
was suspended for 2 terms.

Referrals
Freshman, 18 y.o., found intoxicated in Vanderbilt Hall. AMR transport to YNHH.
Freshman, 18 y.o., found intoxicated in Vanderbilt Hall. AMR transport to YNHH.
Senior, 21 y.o., found intoxicated at Morse College. Yale Security transport to Yale Health.
Sophomore, 19 y.o., found intoxicated on Broadway approaching the intersection of Tower
Parkway. AMR transport to YNHH.
Junior, 20 y.o., found intoxicated in Baker Hall, Room 320 at 100 Tower Parkway. AMR
transport to YNHH.
Freshman, 18 y.o., found intoxicated in Timothy Dwight College. AMR transport to YNHH.
Senior, 21 y.o., found intoxicated in Silliman College. AMR transport to YNHH.
Sophomore, 19 y.o., found intoxicated in Morse College. AMR transport to YNHH.
Freshman, 19 y.o., found intoxicated at Farnam Hall. Yale Security transport to Yale Health.
Freshman, 19 y.o., found intoxicated at Bingham Hall. Yale Security transport to Yale Health.
Senior, 21 y.o., found intoxicated in Pierson College. Yale Security transport to Yale Health.
Freshman, 20 y.o., found intoxicated at Silliman College. AMR transport to YNHH.

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Sophomore, 20 y.o., found intoxicated in Bingham Hall. AMR transport to YNHH.
Freshman, 19 y.o., found intoxicated at Lanman Wright Hall. AMR transport to YNHH.
Freshman, 19 y.o., found intoxicated at Durfee Hall. AMR transport to YNHH.
Junior, 20 y.o., found intoxicated in Pierson College. AMR transport to YNHH.
Freshman, 19 y.o., found intoxicated at Vanderbilt Hall. AMR transport to YNHH.
Freshman, age not recorded, found intoxicated in Silliman College. AMR transport to YNHH.
Freshman, age not recorded, found intoxicated at Spring Fling on Old Campus. AMR transport
to YNHH.
Senior, age not recorded, found intoxicated at Spring Fling on Old Campus. Transported to Yale
Health Center.
Senior, age not recorded, found intoxicated at Spring Fling on Old Campus. AMR transport to
YNHH.
Junior, age not recorded, found intoxicated at Spring Fling on Old Campus. AMR evaluated but
did not transport.
Freshman, age not recorded, found intoxicated at Spring Fling on Old Campus. AMR transport
to YNHH.
Senior, 23 y.o., found intoxicated in front of 242 Dwight St. AMR transport to YNHH.
Freshman, 19 y.o., found intoxicated at Lanman-Wright Hall. AMR transport to YNHH.
Junior, 21 y.o., found intoxicated in Saybrook College. AMR transport to YNHH.




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Fall 2017

Formal Hearings - 1 formal hearings, involving 1 student

Dispositions without Formal Hearings - 36 dispositions without formal
hearings, involving 36 students

Penalties from dispositions and formal hearings:
9 suspensions
14 probations
10 reprimands
1 charge withdrawn after hearing
2 charges were withdrawn after factfinding

Academic Dishonesty - 46 students were charged with academic dishonesty
which resulted:
8 suspensions
13 probations
5 reprimands
2 charges withdrawn after hearing
2 charges withdrawn after factfinding
16 carried over to spring term

Plagiarism - 13 of the 46 cheating cases heard were plagiarism which resulted in:
suspensions - 1
probations - 2
reprimands - 3
charges withdrawn after hearing – 1
charges withdrawn after factfinding - 2
carried over to the spring term – 4

Other Cheating -21 of the remaining cheating cases were other forms of
cheating:
3 Shared their code, notes or problem sets with another student
12 Copied another student’s code or problem set
3 Cheated on an exam
3 Improper collaboration

Referred Cases -16
15 students were referred to the residential college for possession of alcohol by a minor.
Of the 15 students referred, 1 was in possession of a fake id.
1 students was referred for possession of less than one-half ounce of cannabis type
substance.
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Non-academic cases: 9 students were charged with the following violations:
1 charged with alcohol and defiance of authority
2 charged with alcohol, trespassing, social functions, imperil integrity
1 charged with alcohol, special provisions student organizations
2 charged with defiance of authority
1 charged with harassment, imperil integrity
1 charged with imperil integrity
1 charged with property damage

Penalties for non-academic cases:
5 reprimands
1 probation
1 suspension
2 cases were carried over to the spring term
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Ex Comm Report for Fall 2018                                                                                        1

Executive Committee Chair’s Report
for hearing cycle Fall 2018
Presented to the faculty on May 2, 2019

Explanation of Structure and Process

The Yale College Executive Committee has 10 regular voting members: three tenured and three untenured
faculty members; three undergraduate students; and the Dean of Yale College or his designee. In addition, there
are three officers. In Fall 2017 these were: chair, Paul North, Professor of German; fact-finder, Laura Wexler,
Professor of Women’s, Gender, and Sexuality Studies, American Studies, and Film and Media; and Gregg
Peeples, Assistant Dean for Student Conduct and Community Standards.

The majority of cases are adjudicated by a coordinating group made up of the chair, secretary, fact-finder, and
one student member. The coordinating group meets weekly to hear the cases in which a student or students have
admitted the validity of the charge against them.

In a typical case, a complaint comes to the secretary of the committee from a faculty member, dean, or another
member of university staff. The coordinating group reviews the complaint and decides whether to charge the
student under one or more sections of the undergraduate regulations. If a charge is made, the student, along with
their dean or advisors, receives a charging letter explaining the charge and asking whether they admit validity or
wish to dispute the charge. Disputing the charge leads to a full hearing. To give a sense of the ratio, in Spring
2018 there were 53 dispositions without formal hearings and 4 full hearings.

Dispositions without a formal hearing give students and their advisors every chance to tell their side of the story
to the coordinating group. By the undergraduate regulations, prior to the hearing, the students receive all the
materials for the case, including details of the complaint against them, any police report, supplemental
testimony, or email correspondence should there be any. The student then writes a statement in response,
explaining what happened, their motives, the context, their state of mind and thought process, and anything else
they think might help the committee understand their actions. All this becomes matter for questioning during
the hearing. After reading prepared remarks reminding students of the guidelines and of their obligation to be
honest, the Chair invites the student or students to make an opening statement that may reiterate what was in
their statement or add something new that is of importance. The committee then asks questions. The tenor of the
questions depends very much on the type of case. Since the majority of cases involve charges of academic
dishonesty, Coordinating Group members usually ask the student to reconstruct the events leading up to the
incident, to recall the guidelines for assignments listed in the syllabus, to explain their psychological state, and
so on. State of mind, it should be said, is not a mitigating factor, but it can help give a fuller picture of the kind
of dishonesty—whether it was a one-time lapse or perhaps a more routine habit. In the question period, the
committee tries to get as full a picture as possible. Once members are satisfied that they have a full enough
picture, the student’s advisor has a chance to speak on the student’s behalf. Finally, the student is allowed to
give a closing statement. Then deliberations begin.

There are three goals in the deliberation phase of the coordinating group hearings: 1. to determine an
appropriate penalty in accordance with the undergraduate regulations and with precedent, 2. to see to it that
harm done to the university community is mitigated, and 3. to help the students learn something about
themselves and envision ways to avoid this kind of behavior in the future. Sometimes, in addition to one of the
standard penalties (reprimand, probation, suspension, expulsion), the committee asks a student to write a letter
of apology to parties involved, write a short text on the university value they imperiled with their actions, or
meet regularly with a dean or tutor to work on better ways of going through college. When there has been
damage to property, students may be required to repay the losses. Sometimes, also, students are required to
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Ex Comm Report for Fall 2018                                                                                      2

make amends in other ways as well, such as stepping down from a leadership position in a campus group,
restrictions on social events, or for leaders of a campus group, a requirement to draft a safety plan.

In Fall 2018, there were 58 dispositions without formal hearings, involving a total of 58 charged students.

Hearings before the full Executive Committee operate in a very similar manner to those before the coordinating
group. These hearings are for students who contest the charges made against them. There are a few differences
in procedure. For full hearings, the fact-finder sometimes investigates. Normally, they interview the student
charged, witnesses if necessary, and the complainant. They also review all the written materials, so that they can
produce in the end a report laying out the evidence for and against the student. The fact-finder is specifically
enjoined in the regulations to be on the lookout for evidence that might exculpate the student. All the
procedures are the same in this type of hearing, except that there are two phases, a judgment phase and a penalty
phase. In the judgment phase, after hearing the student’s statement, a period of questioning, hearing from the
student’s advisor, and a closing statement by the student, should the student wish to make one, the full
committee may decide to withdraw charges or, conversely, to find the student responsible for the act. If the
student is found responsible, the committee then deliberates on a penalty and chooses one of the following:
reprimand, probation, suspension, or expulsion.

In Fall 2018, there were 10 formal hearings involving 10 charged students.

There are very few standard penalties listed in the undergraduate regulations. The one noteworthy exception to
this is the standard penalty for Academic Dishonesty, which is two semesters of suspension. There are also
many years of precedents to guide the choice of appropriate penalty, and judgments made by the coordinating
group and the full committee are also always responsive to the details of the particular case. Plagiarism may be
as serious and extensive as copying an entire paper from a classmate, or as unreflective as failing to cite sources
fully. Vandalism may be the result of a moment of foolishness or a pattern of alcohol abuse. It is to the great
credit of committee members that they are deeply patient and careful and weigh many factors in their decisions.
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Ex Comm Report for Fall 2018                                                                                       3


Reflections after a fifth semester as chair:

From time to time students come before the Committee who, if they had had extra support to navigate the Yale
ecosystem beforehand, might not have had to go through a disciplinary process. Some students from groups that
in other contexts are quite distinct, such as athletes, international students, and first-generation college students
can, as we already know, find special challenges when they come to campus. Yale has programs to help such
students in all sorts of ways. I think it is our special responsibility to make sure we do everything possible to
catch students from under-resourced educations or with different experiences before they land in Executive
Committee. Let me be clear: in no way am I saying that students in these groups are more likely to commit
infractions, or that they come before the Committee more frequently. We have no data on this and the question
is not posed properly anyway. When students from these groups happen to commit infractions, however, one
factor sometimes distinguishes their cases from others. What is expected of a student on campus here can be
drastically different from what was expected of some students in high school or at home. If we could boil down
a few crucial parts of the regulations, with the goal of heading off misunderstandings, we could start to take
responsibility for this dissonance. Faculty and staff, advisors, professors, first-year-counselors and peers could
have frank and sympathetic discussions, in advance, with students who might need extra work to digest the
complexities of the undergraduate regulations. What counts as academic dishonesty and what kinds of situations
usually precipitate it is not always clear beforehand. What are the key offenses to guard against and how
penalties might be applied need careful explication. A good course of action would be to increase training about
the regulations for all students, with vivid examples of the kinds of situations that are likely to land someone at
Executive Committee. If we take steps to interpret key conduct expectations that might be new and bewildering
for some members of the community, we could help stop a few students before they hit a wall—an Executive
Committee proceeding—for which they may be less prepared than some of their peers.

Thanks to Dean Chun and to the Provost’s office, the Executive Committee has begun to expand its staff so that
it can handle the rising number of cases and the new kinds of cases that are coming up. Continued expansion
will allow the staff, in addition to preparing and hearing cases, to work at high levels with faculty, coaches,
college deans, and of course with students on preventative measures as well as on punitive ones. I particularly
want to welcome Earle Lobo, who has just started as Assistant Secretary of the Committee, to the staff.

I am immensely grateful to Assistant Dean Gregg Peeples for his expertise and incredibly careful and caring
work with students and faculty over the two years we have worked together. I can’t thank him enough. Thanks
also to Profs. David Vasseur, fact finder last Fall, and Emily Erikson, Vice Chair this Spring under the revised
procedures, for their incredible work.

Respectfully,
Paul North                                                            April 30, 2019

Chair of the Executive Committee, 2016-2019
Professor of German
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Ex Comm Report for Fall 2018                                                                   4

Executive Committee Fall 2018

Formal Hearings – 10 formal hearings, involving 10 students
Dispositions without Formal Hearings - 58 dispositions without formal hearings, involving 58
students
Penalties from dispositions and formal hearings:
  5 suspensions
15 probations
43 reprimands
  5 charges were withdrawn
Academic Dishonesty - 35 students were charged with academic dishonesty which resulted:
  2 suspensions
14 probations
 8 reprimands
 9 charges withdrawn
 2 carried over to spring term
Plagiarism - 7 of the cheating cases heard were plagiarism which resulted in:
  1 suspension
  2 probations
  3 charges withdrawn
 1 carried over to the spring term
Other Cheating – 28 of the remaining cheating cases were other forms of cheating:
11 cheated on an exam
  5 cheated on laboratory exercises
12 cheated on problem sets
Non-academic cases: 39 students were charged with the following violations:
  2 - charged with acts of violence or physical force
  1 - charged with acts of violence or physical force, imperil, defiance of authority
  1 - charged with acts of violence or physical force, harassment
  2 - charged with defiance of authority, drugs, theft
  1 - charged with imperil integrity and defiance of authority
  3 - charged with imperil integrity
  2 – charged with drugs
  2 – charged with drugs and imperiling
  2 – charged with alcohol and imperiling
21 – charged with trespassing
  2 – charged with trespassing and defiance of authority
Penalties for non-academic cases:
37 - reprimands
  0 - probations
  2 – suspensions (cases of acts of violence or physical force or harassment
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Yale College Executive Committee Chair’s Report
Hearing cycle for Spring 2019
Presented to the Yale College Faculty on Dec 5th, 2019

Report Content
   i) Explanation of Structure and Process
   ii) Summary of Activities
   iii) Chair’s Reflections
   iv) Spring 2019 Data

i) Explanation of Structure and Process

The Yale College Executive Committee has 20 regular voting members including 6 members
of the faculty (3 tenured and 3 untenured), 14 undergraduate students and the Dean of Yale
College or his designate. In addition, the committee has three officers which form the
committee’s coordinating group. In Spring 2019 these were the chair, Paul North, Professor
of German; vice-chair, Laura Wexler, Professor of Women’s, Gender, and Sexuality Studies,
American Studies, and Film and Media; secretary, Gregg Peeples, Assistant Dean for Student
Conduct and Community Standards and assistant secretary, Earle Lobo, Assistant Director,
Student Conduct and Community Standards.

Spring 2019 represented the first hearing cycle following substantial revisions to the
executive committee’s procedures.

In a typical case, a report is made to the secretary of the committee by a faculty member,
dean or another member of the university staff. The coordinating group reviews the report
and decides, if appropriate, to charge the student with a violation of one or more sections of
the undergraduate regulations. The student, along with their residential college dean or
advisor receives a formal letter explaining the charge along with a copy of the report and
relevant evidence. The student is asked to name an advisor and to provide a written
response to the charge within three business days. Upon receipt of the statement the
coordinating group decides to i) move the matter forward to a hearing, ii) conduct additional
fact-finding, or iii) close the matter.

Hearings are generally scheduled two to three weeks after the coordinating group’s decision;
however, significant backlogs of cases often arise during certain parts of the academic
calendar resulting in delays. Hearings are conducted by a panel drawn from the committee
and including the chair (or vice-chair), the secretary (or designate), two faculty members and
three student members. At least 3 business days before the hearing the student receives all
the materials for the case, including any fact-finding reports and evidence received after the
initial report. The hearing begins with prepared remarks from the chair which are intended
to ensure that the student understands the procedures and has identified any conflict of
interest with panel members. The student is invited to make an opening statement to the
panel and the panel members follow with questions related to the student’s remarks, written
statement, and other evidence. In many cases, students admit the validity of the charges in
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their written or oral statements and in these circumstances questioning by the panel helps to
fill in the circumstances surrounding the events and to determine what steps they have taken
to rectify their actions and safeguard against future violations of the undergraduate
regulations. In cases where students deny the validity of the charges, questioning by the
panel seeks to determine the student’s responsibility in the matter while paying particular
attention to any information that may exculpate the student. When the panel is satisfied, the
student is given an opportunity to have their advisor speak on their behalf. The student is
then permitted to make a closing statement. The panel then begins its deliberations.

Deliberations are broken into two phases. In the first phase, the panel addresses the question
of whether the student has violated the undergraduate regulations. The panel votes by secret
ballot and is charged to give an affirmative answer if the violation is supported by a “clear
preponderance of the evidence”. At this point, the student and their advisor are informed of
the panel’s decision. If found “not responsible” the matter is closed. If found “responsible”,
the student and advisor have the opportunity to address the panel again to provide any
information that would be relevant for the determination of a penalty. The second phase of
deliberations then begins with the secretary informing the panel about the nature of penalties
imposed for similar offenses and any previous infractions of a similar nature involving the
student. The chair proposes a penalty on which the panel votes by secret ballot.

Penalties are chosen from the following: reprimand, probation, suspension, or expulsion.
Each of these is described in detail in the undergraduate regulations. In some circumstances,
the panel may impose an additional penalty in the form of work-service or a fee for the repair
of damaged property.

ii) Summary of activities

In spring 2019 the executive committee charged 120 students with violations of the
undergraduate regulations. Of these, 30 were for academic dishonesty and 90 were for non-
academic violations, including 64 cases of trespassing arising from group protests on two
separate occasions.

The committee resolved 77 cases and the remaining 43 cases were carried forward to the fall
term. Of the 77 cases resolved by the committee, the outcomes were: 3 suspensions, 13
probations, 55 reprimands and 6 findings of no responsibility.

iii) Chair’s Reflections

Spring 2019 was the first academic term where the executive committee operated under its
newly revised procedures. Formerly, students who admitted the validity of the charges
against them would receive a disposition with the coordinating group rather than a full
hearing. While this procedure allowed more expedient handling of cases, it put undue
pressure on our students to admit responsibility and cede their right to a full hearing. As
chair during the current academic term (F19), and in contrast to my experience last fall as the
committee’s fact-finder, I have found that our students are as likely to make an admission of
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responsibility to the committee (in comparison to the previous procedures) while all students
benefit from the additional diversity and perspective that hearings (rather than dispositions)
provide. In short, the new procedures are working well.

Plagiarism continues to represent a substantial portion of the academic misconduct charges
that are issued by the executive committee. While this is not new, it is evident that an
increasing number of students are falling victim to digital-age habits that put their integrity at
risk. Students commonly cite the practice of copying source material into a workspace and
later losing track of the words and ideas that belong to others. While those students remain
responsible for their actions, it is clear that it was poor practice, not direct intent, that brought
them before the executive committee. Shared documents in online platforms also pose a
significant challenge to academic integrity, particularly when students are allowed to
collaborate on their methods or research, but not their final product. In all cases, clear
expectations on what is deemed appropriate versus inappropriate collaboration on
assignments and syllabi are necessary both for our students and for the executive committee.

Lastly, but with great importance, I would like to note that there is a growing need for
reconsideration of how student protestors who violate the undergraduate regulations are
referred to and handled by the executive committee. In spring 2019, charges stemming from
student protests resulted in more than half of the executive committee’s cases and at current,
many remain unresolved due to the backlog these have generated. Students often use their
time before the committee to echo their cause and I worry that they view the executive
committee as a conduit for conveying their message and validating their actions. The
executive committee has a clear role in upholding the undergraduate regulations and in
order to continue to effectively do so, for all of our students, we should provide alternative
channels for students to communicate their concerns while at the same time seek an
expedient procedure for resolving protest cases.

My reflections stem mainly from my work as chair in the current academic term and from my
previous experience as the committee’s fact-finder. I am indebted to the excellent leadership
and guidance provided by the past chair, Paul North and to the service provided by the
committee’s current vice-chair, Nancy Levene, secretary, Earle Lobo, and faculty and student
members.

Respectfully,

David A. Vasseur
Chair, Yale College Executive Committee and
Associate Professor
Ecology and Evolutionary Biology
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iv) Spring 2019 Executive Committee Data

There were 120 students charged with a violations of the undergraduate regulations.
77 cases were resolved during the spring term.

Outcomes:
 3 - Suspensions
13 - Probations
55 - Reprimands
 6 – Found not responsible

 Academic Dishonesty Cases (30)                     Non-Academic Dishonesty Cases (90)
 24 - plagiarized pset or lab assignment            1 - acts of violence
  2 - collaborated inappropriately on a take        1 - defiance of authority
     home assignment or exam                        1 - defiance of authority/imperil
  4 - plagiarized a paper, poem or essay            1 - defiance of authority/campus safety
                                                    1 - harassment
 Outcomes                                           2 - hazing
  1 – suspension – one term                         3 - hazing/alcohol
 11 - probations                                    1 - imperil the integrity of the University
 14 - reprimands                                    3 - trespassing in steam tunnels
  3 - found not responsible                         2 - trespassing at 1 Prospect Street, SSS,
  1 - carried over to fall 2019                     8 - trespassing at Payne Whitney Gym
                                                    62 - trespassing at 55 Whitney Avenue
                                                    1 - trespassing in vacant student housing
                                                    1 - trespassing in a student’s room
                                                    1 - unauthorized use of services/imperil
                                                    1 - willful property damage

                                                    Outcomes
                                                     2 - suspensions
                                                     2 - probations
                                                    41 – reprimands
                                                     3 – cases were withdrawn
                                                     3 - found not responsible
                                                    39 – carried over to fall 2019

Detailed outcomes:
 A senior charged with hazing was found not responsible.
 A senior charged with hazing was found not responsible.
 After investigation, the charges were withdrawn from a senior charged with trespassing.
 A senior who plagiarized a pset was placed on probation.
 A senior who collaborated inappropriately on a pset was placed on probation.
 A senior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
 Investments Office.
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A senior who was charged with trespassing during a protest of the student income contribution was
reprimanded.
A senior was reprimanded for trespassing at 55 Whitney Avenue during a protest at the Investments
Office.
A senior was reprimanded for trespassing at 55 Whitney Avenue during a protest at the Investments
Office.
A senior who trespassed in one of the Payne Whitney Gym pools was reprimanded.
A senior was reprimanded for trespassing at 55 Whitney Avenue during a protest at the Investments
Office.
A senior who was charged with trespassing during a protest of the student income contribution was
reprimanded.
A senior charged with alcohol and hazing violations was reprimanded.
A senior who trespassed in one of the Payne Whitney Gym pools was reprimanded.
A senior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
Investments Office.
A senior was reprimanded for trespassing at 55 Whitney Avenue during a protest at the Investments
Office.
A senior was reprimanded for trespassing at 55 Whitney Avenue during a protest at the Investments
Office.
A senior who trespassed in one of the Payne Whitney Gym pools was reprimanded.
A senior was reprimanded for trespassing at 55 Whitney Avenue during a protest at the Investments
Office.
A senior was reprimanded for trespassing at 55 Whitney Avenue during a protest at the Investments
Office.
A senior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
Investments Office.
A senior was reprimanded for trespassing at 55 Whitney Avenue during a protest at the Investments
Office.
A senior was reprimanded for trespassing at 55 Whitney Avenue during a protest at the Investments
Office.
A senior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
Investments Office.
A senior who trespassed in one of the Payne Whitney Gym pools was reprimanded.
A senior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
Investments Office.
A senior who trespassed in the steam tunnel was reprimanded.
A senior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
Investments Office.
A senior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
Investments Office.
A senior charged with hazing was reprimanded.
A senior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
Investments Office.
A senior who plagiarized a senior essay was suspended.
A junior charged with harassment was found not responsible.
A junior charged with plagiarism was found not responsible.
A junior was placed on probation for plagiarizing a pset.
A junior who trespassed in one of the Payne Whitney Gym pools was reprimanded.
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A junior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
Investments Office.
A junior who trespassed in one of the Payne Whitney Gym pools was reprimanded.
A junior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
Investments Office.
A junior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
Investments Office.
A junior elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at the
Investments Office.
A sophomore charged with inappropriate collaborating on a pset was found not responsible.
A sophomore charged with academic dishonesty was found not responsible.
After investigation, the charges were withdrawn from a sophomore charged with trespassing.
After investigation, the charges were withdrawn from a sophomore charged with trespassing.
A sophomore who plagiarized a pset was placed on probation.
A sophomore charged with defiance of authority and offenses compromising campus safety was placed
on probation.
A sophomore who plagiarized a pset was placed on probation.
A sophomore who plagiarized was reprimanded.
A sophomore charged with trespassing and offenses regarding campus housing and university facilities
was reprimanded.
A sophomore who trespassed in one of the Payne Whitney Gym pools was reprimanded.
A sophomore who plagiarized a pset was reprimanded.
A sophomore who trespassed in one of the Payne Whitney Gym pools was reprimanded.
A sophomore who plagiarized a pset was reprimanded.
A sophomore was suspended for one term for unauthorized use of services or facilities and for actions
that imperil the integrity and values of the Yale community or the well-being of its members. The penalty
was changed to four terms probation in the fall 2019.
A sophomore charged with acts of violence or physical force was suspended.
A First-Year who collaborated inappropriately on a pset was placed on probation.
A First-Year who collaborated inappropriately on a pset was placed on probation.
A First-Year charged with defiance of authority, violence/physical force and actions that imperil the
integrity and values of the Yale community or the well-being of its members was placed on probation.
The charge of imperil was withdrawn.
A First-Year was placed on probation for collaborating on a take home exam.
A First-Year who plagiarized a pset was placed on probation.
A First-Year who collaborated inappropriately on a pset was placed on probation.
A First-Year was placed on probation for collaborating on a take home exam.
A First-Year who plagiarized code was reprimanded.
A First-Year who plagiarized code was reprimanded.
A First-Year who collaborated inappropriately on a pset was reprimanded.
A First-Year who plagiarized was reprimanded.
A First-Year elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at
the Investments Office.
A First-Year was charged with trespassing and willful property damage. The charge of willful property
damage was withdrawn nd the student was reprimanded.
A First-Year who shared their pset with another student was reprimanded.
A First-Year who plagiarized was reprimanded.
A First-Year who collaborated inappropriately on a pset was reprimanded.
A First-Year who collaborated inappropriately on a lab assignment was reprimanded.
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A First-Year who collaborated inappropriately on a pset was reprimanded.
A First-Year who plagiarized a pset was reprimanded.
A First-Year who trespassed in the steam tunnel was reprimanded.
A First-Year elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at
the Investments Office.
A First-Year elected to receive a reprimanded for trespassing at 55 Whitney Avenue during a protest at
the Investments Office.
A First-Year who trespassed in the steam tunnel was reprimanded.
A First-Year who collaborated inappropriately on a pset was reprimanded.
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Oﬃce o the President
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Review Committee o the Yale College
Executive Committee (2019-20)
Chair:
Charles Baltay
Committee Members:
Peggy Clark
Alex McGrath
Joel Silverman



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                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 6
  Attached to Plaintiff’s Motion for Preliminary Injunction

                  Dated: February 23, 2020


                         Description:

      MIT Review of Withdrawal and Readmission Practices
                          2015/2016
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             Review of the Undergraduate Withdrawal and Readmission Practices
                            Massachusetts Institute of Technology
                                      Fall 2015-2016

                                                 Summary

In September 2015, Chancellor Cynthia Barnhart charged the Committee on Academic Performance
(CAP) and the Office of the Dean for Undergraduate Education (DUE) with reviewing MIT’s
withdrawal and readmission processes. During the Fall Semester of 2015, the CAP conducted this
review. In the process, it met with nearly twenty stakeholder groups, conducted a survey of
recently readmitted MIT undergraduates, reviewed corresponding policies at peer institutions, and
met nine times to discuss its findings and recommendations.

We found that those responsible for implementing MIT’s withdrawal and readmissions processes
do so in a caring, organized, and professional manner. Many students report positive experiences
with withdrawal and readmission, even when withdrawals have been required due to poor
academic performance. Approximately 130 students withdraw from MIT each year and
approximately 100 are granted readmission, which indicates that students who withdraw, even
under difficult circumstances, generally return and finish their degrees.1

Nonetheless, we also found that policies related to withdrawal and readmission are often
misunderstood and that communications are ineffective. Students expressed confusion, fear, and
anger about certain aspects of the withdrawal and readmission processes. Some students were
reluctant to withdraw when it was appropriate, out of fear they would not be readmitted. Students
expressed concern that decisions about their withdrawal and readmission applications are made
without due regard for their particular circumstances. The Office of Student Support Services (S3)
was seen as playing conflicting roles, as both a support for students and arbiter of their return.

Because of findings such as these, we make a series of recommendations, with the expectation that
they will make these processes more open, less uncertain, and easier to navigate for students.
Among the many recommendations made in this report, the following are the most fundamental:

    1. All undergraduate students, once admitted by MIT, remain members of the MIT community
       and are presumed to be eligible to return as students, even when they withdraw. When a
       student departs MIT in the middle of a semester because of a medical crisis or because the
       student’s academic performance warrants a time away to regain his or her bearings, MIT
       still expects the student to return (if he or she wants) and finish the degree. The Institute
       must communicate this clearly to all students, both those registered and those who have
       taken withdrawal.




1 Approximately 150 students apply for readmission annually. Student undergoing the readmission process
for the first time have a success rate of 65-75%, and most students are readmitted on subsequent attempts.
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   2. The Institute should no longer speak of “withdrawal” and “readmission” but of “leave” and
      “return.” These changes of nomenclature not only better communicate these policies to
      students and the outside world, they reflect better the philosophy that should guide how
      MIT thinks about taking time away from the Institute.
   3. The Institute should create a status of “leave of absence” that would allow students to
      interrupt their studies for up to two years and then return without substantial bureaucratic
      barriers. The leave of absence, which could be taken once during a student’s academic
      career, may be used for a variety of reasons, including partaking in meritorious
      opportunities, fulfilling personal obligations, or simply clearing one’s head.
   4. The CAP should move toward a model of decision making about returns following leaves
      that clearly separates the student-support role of S3 from the decision making role of the
      CAP. The logistical hurdles to achieving this goal are substantial, and will require the CAP to
      experiment with new modes of operating to make this happen.
   5. Policies about invoking involuntary medical withdrawal and psychiatric hospitalization are
      unclear and should be reviewed by a committee charged by the Chancellor. Independent of
      that review, involuntary medical withdrawal should never be used to coerce students into
      taking a voluntary leave. This attitude must be communicated and reinforced throughout
      the Institute.



                           Charge to the Committee from the Chancellor

In September 2015, Chancellor Cynthia Barnhart wrote a letter to the MIT Community outlining
new steps to enhance mental health and wellness support at MIT. In this letter, the Chancellor
stated “…students have expressed concerns about the clarity, transparency, and fairness of existing
(withdrawal and readmission) policies, and about the level of support for students who take time
away and transition back to MIT.” The Chancellor listened to feedback from the community about
the policies during informal conversation with students and from a formal report by the Committee
on Student Life, who engaged in an extensive conversation about this topic during the 2014-2015
academic year. She charged the CAP and DUE with gathering feedback from students and faculty,
and recommend changes to bolster and clarify our policies, which had not been formally reviewed
since 2010.



                                      Process of Our Review

The CAP and the DUE received the charge of Chancellor Barnhart in September 2015. The Chair of
the CAP (Professor Charles Stewart III) and the dean (Professor Dennis Freeman) agreed that the
CAP would be directly responsible for implementing the charge of the Chancellor. The review itself
began at a meeting of the CAP at the end of September 2015; this report was finalized in March
2016.
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In addition to the outreach activities outlined below, the CAP had nine meetings on the topic,
beginning in the Fall semester and ending at the beginning of the Spring term, in which the critical
issues were discussed. Because the withdrawal and readmission processes are complex and
intersect with many people and offices across the Institute, the CAP decided at the onset of its
review to consult with a broad variety of stakeholders, including the following:

    ●   All readmitted students currently at MIT
    ●   Committee on Student Life
    ●   Chair of the Faculty
    ●   Former Chairs of the CAP
    ●   Housemasters
    ●   MIT Medical Department
    ●   MIT Mental Health and Counseling
    ●   Office of Minority Education (OME) Faculty Advisory Committee
    ●   OME Student Advisory Council
    ●   Panhellenic, Interfraternity Council, and Dorm Con (two representatives from each group)
    ●   Senior leaders in the Division of Student Life (DSL)
    ●   Students at MIT Allied for Student Health (SMASH) board
    ●   Student Support Services Deans
    ●   Undergraduate Administrators
    ●   Undergraduate Advising and Academic Programming (UAAP) Student Advisory Board
    ●   Undergraduate Association’s Wellness sub-committee
    ●   Undergraduate Officers

In most cases, feedback from these stakeholder groups was gathered in a face-to-face meeting with
members of the CAP. Generally, at least one student and one non-student member met with each
group. Feedback from readmitted students currently at MIT was received in three ways. First, all
currently-enrolled readmitted students were sent an anonymous survey (23% response rate).
Second, every student was invited to a focus group discussion about his or her experiences led by a
faculty and student member of the CAP. Third, any MIT students who wanted to share their
opinions privately were offered the opportunity to meet with a member of the CAP.

In addition to the formal interviews listed, students’ opinions and experiences were solicited, and
students were consulted on the final recommendations. The CAP Chair Stewart and Dean Freeman
co-wrote two articles in the The Tech about the review process. The community was invited to
share their ideas via email. The committee listened to student leaders, students who had been
through the withdrawal and readmission processes, and students who had no direct experience
with withdrawal or readmission, but still had an interest in the issue. As part of our newly formed
partnership with the Jed Foundation,2 the committee also consulted with them about general best
practices regarding leaves and return.


2The Jed Foundation is an organization dedicated to promoting emotional health and prevent suicide among
college students.
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It should be noted that information gathering with students began long before this review was
announced. The 2014–2015 academic year was challenging for the MIT community, with three
undergraduate student suicides, and concerns about the withdrawal and readmission processes.
Many conversations were had with groups of students, including an Active Minds event on March
2015 in which the community was invited to learn and ask questions about the withdrawal and
readmission processes. The faculty Committee on Student Life also conducted a review of the
withdrawal and readmission process during the academic year and issued a report that emphasized
the importance of communicating with students who had withdrawn in a more sensitive fashion.



Survey of Readmitted Students — Summary of Results

The CAP believed that it would be important to survey all recently readmitted students, to gain
their perspectives on how the process is currently functioning. It was felt necessary to conduct a
survey both to give a voice to students who would feel reluctant to share publicly their experiences
with the withdrawal and readmission process, and to provide a baseline against which to evaluate
these processes in the future.

Therefore, a survey was sent to all currently enrolled MIT undergraduates who had at some time in
the past been readmitted to the Institute. The survey consisted of 17 questions (4 Likert-style
questions, 10 open-ended questions, and 3 demographic questions), and was divided into four
sections: the withdrawal process, time away from the Institute, the readmission process, and the
return to MIT. It was sent out via e-mail to a listserv of 194 current students who have returned
from withdrawals; 45 students responded (response rate of 23%). Sixteen of the respondents had
been on voluntary withdrawal, 20 on medical withdrawal, and 9 on required withdrawal.

While the response rate was relatively low, which means we cannot treat the responses as being
representative of all returned students, the responses did provide important insights about
withdrawal and readmission, as they are currently experienced. Answers to the open-ended
questions in the survey have been incorporated into the feedback given during the meetings, and
are included in the “Findings and Recommendations” section below.

We have reported details about the closed-ended questions in the appendix to this report, but we
have included the graphical summary of the results below. Please note that the numbers to the left
of the graphs are actual numbers rather than percentages of student respondents.
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                                                                        5




      Overall Impression of the Withdrawal Process
35
30
25
20
15
10
5
0
      Negative    Somewhat      Neutral     Somewhat     Positive
                   Negative                  Positive




       Overall Impression of Resources While Away
35
30
25
20
15
10
5
0
      Negative    Somewhat      Neutral     Somewhat     Positive
                   Negative                  Positive




           Overall Impression of the Readmission
                          Process
35
30
25
20
15
10
 5
 0
      Negative    Somewhat      Neutral     Somewhat     Positive
                   Negative                  Positive
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                Overall Impression of the Return to MIT
    35
    30
    25
    20
    15
    10
    5
    0
           Negative         Somewhat            Neutral          Somewhat            Positive
                             Negative                             Positive




Information from Peer Institutions

In addition to receiving feedback from members of the MIT community, particularly students, we
concluded that it was important to survey peer institutions, to learn how they handle what MIT
calls withdrawal and readmission. Although MIT is a distinct learning environment among elite
universities in the United States, much can be learned from how our peers handle these processes,
since the students at those institutions face many of the same pressures and opportunities
confronting MIT students. There were two major goals in this survey: first, to benchmark MIT
against the practices of peer institutions and, second, to ascertain whether there were best
practices at these institutions from which we could learn.

The survey of the practices at peer institutions was conducted by the Associate Dean for S3, Dr.
David Randall, who reviewed their policies online and spoke by phone to knowledgeable staff.3
Furthermore, we took an especially close look at Yale University, which recently conducted similar
student and administrative reviews when concerns arose about their withdrawal and readmission
processes.4

This research revealed that there is no one single way that withdrawals and readmissions are
handled at institutions we regard as our peers. Our policies tend to be on the conservative end of
the spectrum, that is, MIT tends to be much more restrictive in setting expectations and
requirements for return. On the other hand, our health insurance policy is generous in comparison.
Furthermore, while we readmit 65-75% of all applicants who apply in a particular year, most of our
peers readmit all students, with rare exception.



3This review included Caltech, Chicago, Harvard, Yale, Stanford, and Princeton.
4Student report: http://www.ycc.yale.edu/files/2015/06/YCC-Withdrawal-Policies-25ncxs2.pdf
Administration’s report: http://yalecollege.yale.edu/faculty-staff/faculty/policies-reports/report-yale-
college-withdrawal-and-readmission-review
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However, we did learn that at our peer institutions, the term “withdrawal” tends to imply a
permanent separation from the university, while the term “leave” is used to indicate a temporary
departure. This, of course, is contrary to MIT’s current practice, in which the term “withdrawal”
applies to all separations, permanent or temporary.

Most of the schools we spoke to involved a faculty committee and a dean’s office in the withdrawal
and readmission processes, and most have an involuntary withdrawal policy that is overseen by a
dean. Moreover, prorating tuition is standard practice, as is an expectation that students who leave
the university during the term have 72 hours to vacate student housing.

Most schools require there be separation from the school upon withdrawal. That is, students
generally are not allowed to live, work, or participate in student activities on campus.



                                      Background of Current Policies

We begin the substance of our report by reviewing current withdrawal and readmission policies.
This overview is based on a review of documents that describe the policies, in addition to oral
reports given by those involved in the implementation of these policies.



Withdrawals from the Institute

There are currently seven categories of actions used by the Institute for students who leave before
receiving their degree: voluntary withdrawal, medical withdrawal, academic required withdrawal,
failure to register (“no shows”), involuntary medical withdrawal, disciplinary suspension, and
disciplinary expulsion. The no show, suspension, and expulsion processes were outside the charge
of our review. However, in the interest of describing the full set of reasons why MIT students leave
the Institute before graduating, we briefly describe each category here, noting where responsibility
lies for the administration and oversight of these processes.

    1. Voluntary withdrawals are intended for students who wish to take time away for non-
       medical reasons, such as participating in an educational or personal growth experience (e.g.,
       internship, service experience, or religious mission) or attending to personal or family
       circumstances (e.g., death of a parent). Under the terms of a voluntary withdrawal, a
       student must generally take at least one full semester away from MIT and must be
       readmitted to MIT by the CAP before registering again.5




5 A “full semester” is defined by add date. That is, if a student withdraws on or before add date, they are

eligible to request return for the following semester. If they withdraw after add date, they need to remain out
of MIT for the following semester. Students are able to withdraw up until the last day of the semester. About
45 voluntary withdrawals are processed every year.
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    2. Medical withdrawals6 are intended for students who, because of reasons pertaining to
       physical or mental health, are unable to make satisfactory progress towards meeting
       Institute graduation requirements. Under the terms of a medical withdrawal, a student must
       generally take at least one full semester away from MIT (defined in the same way as
       voluntary withdrawal), and complete the prescribed course of treatment before being
       considered for readmission. As with voluntary withdrawals, students who have taken
       medical withdrawal must be readmitted to MIT by the CAP before registering again. About
       55 medical withdrawals are processed every year.

    3. Required withdrawals for academic reasons are based on a vote by the CAP taken at its end-
       of-term meetings at the end of the Fall and Spring terms, as part of its responsibility to
       “review the academic records of undergraduate students and to take appropriate action in
       the name of the Faculty.”7 Under current practices, students who are required to withdraw
       for academic reasons must generally be away for at least one academic year (two regular
       terms) before they are permitted to apply to the CAP for readmission to the Institute. Under
       the terms of a required withdrawal, a student is generally expected to take at least two
       consecutive semesters of challenging courses at another college or university, receiving
       grades of B or better. The CAP votes to require an average of 20–30 students to withdraw
       for academic reasons each year.

    4. The no show designation is reserved for students who do not register for the semester by
       add date, but who are otherwise eligible to register. This is a category that allows the
       Institute to account for the status of all students who are eligible to register. Generally,
       fewer than 5 students are designated no show each term. Students who are designated as
       no shows must be readmitted to the Institute by the CAP before being allowed to register
       again.

    5. Involuntary medical withdrawal is intended for a student who poses a significant risk to the
       health or safety of self or others, and/or when it is established that a student is unable to
       function academically or participate in campus life.8 The circumstances that could lead to
       the involuntary medical withdrawal include, but are not limited to, an inability to complete
       or make satisfactory progress towards academic requirements. In addition, a student may
       be placed on involuntary withdrawal for medical reasons, if a student does not cooperate
       with efforts, deemed necessary by the Institute, to determine if the student poses a
       significant risk to the health or safety of self or others. To date, MIT has never processed an
       involuntary withdrawal. However, as we discuss below, the circumstances surrounding
       other withdrawal processes give the impression that involuntary medical withdrawals are

6
  The juxtaposition of these two withdrawal categories — “voluntary” and “medical” withdrawals highlights
one unfortunate consequence of the terminology currently used to label types of withdrawals at the Institute,
to the degree that it is incorrectly implied that medical withdrawals are involuntary. We revisit this
important point below.
7 MIT, Rules and Regulations of the Faculty, §1.73.5.c.
8 http://mit.edu/uaap/s3/withdrawals/medwithd_policy.html.
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       common, or if they are not common, the status is used to coerce students to withdraw
       voluntarily.

   6. The final two categories are overseen by the Committee on Discipline (COD). These
      disciplinary withdraws, as well as the entire COD process, have been subject to regular
      review over the years. The last comprehensive review of the discipline system was done in
      2005 and was published in the Gibson Report.9 The review of suspensions and expulsions
      were outside the scope of our charge, and we have no further comments to make about the
      processes.
          a. A disciplinary suspension is the removal “of a student from the Institute for a
              defined period of time” for disciplinary reasons, through a vote taken by the COD.10
              Students who are suspended from MIT must be readmitted to the Institute through
              a process overseen by the COD.
          b. Disciplinary expulsions is the “permanent separation of a student from MIT” for
              disciplinary reasons, through a vote taken by the COD.11

The DUE is responsible for overseeing all withdrawals, even when decisions about the status are
made by the CAP (required withdrawals). The DUE has delegated the day-to-day administration of
withdrawals to S3. Suspensions and expulsions are overseen by the COD, and the Dean of Student
Life (DSL) has delegated the administration of suspensions and expulsions to the Office of Student
Citizenship (OSC).



Readmission

As noted previously, there are seven ways that a student can leave the Institute before receiving a
degree. In all cases, the Rules of the Faculty require that a student who has interrupted his or her
studies apply for readmission to the Institute. In this section, we describe the readmission process.
Because the charge to the CAP excluded disciplinary suspensions and expulsions, we do not address
readmissions following disciplinary actions here.

The MIT Rules of the Faculty provide that the CAP “shall act with power . . . on applications for
readmission at the undergraduate level after a voluntary, medical, or required withdrawal.”12 The
CAP has exercised this authority for many decades in close cooperation with S3 and its
predecessors. The readmission process has been reviewed regularly in that time. The last review of



9 The full text of the Gibson report can be found here:
http://web.mit.edu/faculty/reports/pdf/disciplinereport.pdf. More recently, the COD issued a
comprehensive report concerning the handling of student sexual misconduct complaints. The COD’s
recommendations may be found here: http://cod.mit.edu/sites/default/files/documents/COD-Task-Force-
Recommendations-Summary-4-17-2015.pdf.
10 MIT, COD Rules and Regulations, §11.C.i.
11 MIT, COD Rules and Regulations, §11.D.i.
12 MIT, Rules and Regulations of the Faculty, §1.73.5.b.
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the readmission process occurred in the Spring 2010. The following description of the readmission
process reflects procedures that have been in place since then.

The readmission process has been designed to verify that students are ready to resume successful
work at MIT. This means that students must demonstrate that they fulfilled the requirements
discussed during their withdrawal process, which may include medical treatment, rigorous
coursework, or meritorious work. General requirements for readmission vary by the category of
withdrawal; the requirements faced by any individual student may be modified on a case-by-case
basis, but the process for readmission is the same for all withdrawals.

Students on withdrawal must complete the undergraduate application for readmission. The
readmission application is composed of an essay and timeline about time away, a detailed plan for
coursework in future semesters, input from the academic advisor or department, transcripts,
letters of recommendation, and medical letters (if applicable). In the process of filing the
application, students also discuss the circumstances of their withdrawal and plans for return with
the relevant S3 dean. For students under medical withdrawal, the application is also reviewed by a
representative of the MIT Medical Department.13

The application deadlines for readmission are June 15 for readmission to the Fall term and
November 15 to the Spring term; students are informed that they will be notified of the
readmission decision no later than August 10 and January 10 respectively. Despite these deadlines,
applications for readmission are considered on a rolling basis.

Under the process established by the readmission review that occurred in 2010, the Readmission
Committee reviews all applications for readmission and makes a recommendation to the CAP,
which ultimately approves or denies the applications. The Readmission Committee consists of three
deans in S3 and is chaired by the head of S3. The Readmission Committee must seek consensus on
its decision whether or not to recommend readmission of an applicant to CAP. In rare cases, the
Readmission Committee may forward a divided recommendation to the CAP for a decision.

The Chair of the Readmission Committee is granted the authority to expedite consideration of
readmission applications when the initial review indicates that the decision is clear, given the
readmission guidelines and the specific expectations for return associated with a student. For
instance, if a student had voluntarily withdrawn to pursue a one-year internship at Apple, the
Readmission Chair can expedite the recommendation without a committee review. On the other
hand, the Readmission Chair may recommend an expedited denial of an application for a student on
academic required withdrawal who did not successfully complete coursework while away from
MIT.




13As a general matter, students whose withdrawal was related to issues of mental health (the vast majority of
medical withdrawals) are reviewed by clinicians in MIT Mental Health and Counseling, whereas all other
cases of readmission after medical withdrawal are reviewed by the Director of Student Health.
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All readmission recommendations are forwarded to the CAP for final approval. Under the plan
established in 2010, the CAP has delegated to the Chair of the CAP the authority to approve
unanimous recommendations by the Readmission Committee and to make the final decision in the
case of a non-unanimous Readmission Committee vote. The CAP Chair also reviews expedited
recommendations for approval or reference to the full CAP. The Chair of the CAP may overturn a
unanimous recommendation of the Readmission Committee only after review by the full CAP.

S3 receives approximately 150 applications for readmission every year. About half of these are
from students on medical withdrawal, and a quarter each are from students on academic required
or voluntary withdrawal. Roughly 65-75% of these applications are approved, and 25-35% are
denied with recommendations for how to reapply successfully and return to MIT. Students whose
applications’ were denied typically demonstrated inadequate academic performance at school away
from MIT or had not been cleared medically to return.

The CAP and S3 take great care in the readmission process and believe MIT is distinct in this regard.
For many schools, the return process is an administrative matter and does not fully take into
account a student’s readiness to return. At MIT, the goal is to readmit someone when he or she is
truly ready to return. We believe this is appropriate for two major reasons. First, MIT’s intense
academic environment makes it difficult for a student who is not prepared to re-enter at a high level
of performance. Second, if a student returns and struggles again, the associated shame and pain are
tremendous. Thus, the MIT process is aimed at trying to ensure that a readmitted student will do
more than just get by, but will succeed.

The CAP in recent years has endeavored to systematically track the academic performance of
students who have withdrawn and then been readmitted. The data collected suggest that the
current process leads students who have withdrawn under difficult circumstances to succeed once
they return. For instance, on average, students who were on academic required withdrawal see
their GPAs improve one full point (from 3.0 to 4.0 on average) upon their return to MIT.



                                  Findings and Recommendations

We found that there were many parts of the withdrawal and readmission processes at MIT that
work quite well; they are organized, thoughtful, and well connected. The goals are to help students
transition smoothly away from MIT and then return to the Institute when they are ready. The deans
in S3 work closely with students, most of whom request withdrawals on their own, to determine a
plan for their readmission and the best path back to MIT. The process includes important
stakeholders across the campus including academic advisors, academic departments, MIT Medical,
Mental Health and Counseling, DSL, the Registrar, Student Financial Services, Student Disability
Services, the International Students Office, and the Office of Minority Education.

We also uncovered several areas that could benefit from changes. Some of the areas of change arise
because this review has simply suggested ways to accomplish the goals of the withdrawal and
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readmission processes more effectively. But, we must also note that some of the changes we
recommend arise because of the heartfelt expressions of concern we heard from students about
these processes, which sometimes extend to outright widespread distrust. While we recognize that
the nature of withdrawal and readmission decisions will always generate negative feelings and
misunderstandings, it is undoubtedly true that as the level of distrust goes up, the effectiveness of
MIT’s student support system goes down, as does trust that decisions are being made wisely and
fairly about important aspects of students’ lives. Therefore, the recommendations we developed are
aimed at making the withdrawal and readmission decisions not only more effective, but also more
open and understood by the MIT community.

We organize this section along the lines of the most important themes that emerged in the feedback
we heard from the community, especially the students, about the withdrawal and readmission
processes. In developing these recommendations, we were guided by three goals:

    1. The withdrawal and readmission processes should be easily understood; outcomes about
       decisions should be communicated clearly and directly.

    2. While the decision is MIT’s, students who are most directly affected by the withdrawal and
       readmission processes should feel they have a meaningful say in the processes.

    3. All students who withdraw are expected to return to MIT (if they want to) and receive their
       degree. This includes those who are required to withdraw or who voluntarily withdraw
       because they face profound personal and medical challenges.

The recommendations in this section are organized along five major themes:

    1. Openness of communication. Despite dedicated efforts by everyone at MIT who is involved
       in withdrawal and readmission, information about how these processes unfold is
       ineffectively communicated to the community. All at MIT who are involved in the
       withdrawal and readmission processes must redouble their efforts to communicate
       information about the process openly, clearly, and directly.

    2. Terminology. The terms “withdrawal” and “readmission” impose a significant barrier to
       student understanding of the processes associated with leaving and returning. MIT must
       change its language about these processes. We must emphasize that time away from the
       Institute does not constitute a permanent severing of its relationship with a student; return
       to the Institute should not make students feel that their initial admission to MIT was a
       mistake.14


14 In these findings and recommendations section, below, we recommend a significant change in terminology.

From this point forward, “withdrawal” will be replaced with “leave” and “readmission” replaced with
“return.” Moreover, we will refer to “readmission application” as “request to return.” The notable exceptions
will be when discussing students who have already gone through these processes, and when discussing
historic experiences with the process.
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   3. Normalization of taking leave from the Institute. The culture and practices of the Institute
      stand in the way of students stepping away from MIT, when doing so would be to their
      benefit. We must lower the barriers to MIT students taking time away, not only to pursue
      distinguished business, economic, and social endeavors, but also to allow students to clear
      their heads and to assess their trajectory through MIT.

   4. Support while on leave. Many students who have withdrawn express that they feel like they
      have been abandoned by the Institute; many caring and dedicated faculty and staff at MIT
      feel hampered from reaching out to withdrawn students to help them navigate a path back
      to readmission. MIT must develop new ways to engage with students while they are on
      leave from the Institute.

   5. Transition back to MIT. Some students express frustration with the timing of decisions
      made about their request to return — not only about the return decision itself, but also
      about related decisions, such as housing. If the goal of the return process is to ensure the
      successful reintegration of students on leave into the MIT academic community, then many
      administrative practices at the Institute, both those overseen by the DUE and by the DSL,
      must be reconsidered and revised.

As well, there were three items that arose during the consideration of our charge that this report
has recommendations about. They are (1) involuntary medical withdrawals, (2) psychiatric
hospitalizations, and (3) issues related to graduate students.

We consider these broad categories of recommendations in order.



Openness of Communication

There is confusion about the processes and expectations of leave and return. While comprehensive,
clear information is available on the S3’s website, the community, from faculty members to
students, seem to be unaware of it. Better efforts need to be made to disseminate information, and
make the community aware of the policies for leave and return.

Many students who have withdrawn also expressed confusion about the expectations upon them
during their time away, and what requirements they needed to fulfill to return to MIT. Moreover, it
appears that the student body is unaware of the accurate percentage of students who are granted
return.

We recognize that the environment in which leave and return policies are communicated is
challenging. Students who are required to leave for academic reasons or who face serious medical
crises are often not receptive to the information provided about these policies, or even in a
condition to discover it. Even with these limitations, we believe that efforts could be undertaken to
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communicate more effectively with the MIT community, and especially students, about the policies
associated with leave and return.

    1. Overall efforts need to be made to communicate actively about how the processes operate,
       expectations concerning return, and results of the leave and return process.
          a. The CAP and DUE should report annually about the number of students seeking
               leave and return, the rates of return, and measure of academic success among
               students who return from leave. The CAP and DUE should also regularly
               communicate with the faculty and administrative staff about how these processes
               work, and about the resources available to students, faculty, and staff who come in
               contact with leave and return.
          b. The CAP and DUE should work with The Tech and other communications resources
               at the Institute to ensure that this same information is reported on a regular basis to
               the community.

    2. S3 should undertake a review of the sections of their website that communicate information
       concerning leave and return policies, to ensure that the information is communicated
       clearly and effectively. It should create and regularly update a FAQ section on their website
       that addresses common concerns about leaves and return.

    3. A physical or virtual book of student experiences while on leave should be made available to
       students considering leave.



Terminology

Students have clearly expressed a fear and distrust of the current withdrawal and readmission
processes. Both processes communicate a sense of rejection by MIT. The term “withdrawal”
connotes that students have been permanently separated from the Institute — a sense that is
reinforced by the fact that this term is generally used by universities when the relationship is in fact
permanently severed. The term “readmission” likewise connotes that the initial admission was
mistaken, therefore the student must prove all over again that his or her initial admission was valid.
Even in cases where return seems like a foregone conclusion, students report that they must relive
the stress of their initial application for college admission to MIT, since readmission to MIT is not
guaranteed.

Also, the current categories send unintended messages about the reasons for the withdrawals. The
labels associated with two frequently-used categories — “voluntary withdrawal” and “medical
withdrawal” — communicate the mistaken impression that all (or most) medical withdrawals occur
involuntarily.

The nomenclature surrounding the status of students who have withdrawn from MIT can be
unclear and embarrassing to students who must explain their status to the outside world. To allay
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this sense of shame, the Institute should encourage the use of a better term to describe the status of
students when they are withdrawn.

     1. The terms associated with the current processes of withdrawal and readmission should be
        changed.
           a. The term “withdrawal” should no longer be used; the corresponding processes
               should be termed “leave.”15 Implementing this change will involve amending the
               Rules of the Faculty.16
           b. The categories of leave that the Institute maintains should be the following:
                   i.  Personal leave
                  ii.  Medical leave
                 iii.  Involuntary medical leave
                 iv.   Required academic leave
           c. The term “readmission” should no longer be used and instead be called “return from
               leave” or just simply “return.”
           d. The term “readmission application” should not be used. Students are not applying to
               MIT, they are “requesting to return from leave.”

     2. Students should be encouraged to use the generic description of being “on leave” when they
        interrupt their studies at the Institute for the reasons outlined in this section of the report.17
        The categorization of the types of leave (personal leave, medical leave, etc.) is strictly for
        internal purposes, and should not be reflected on the transcript, in keeping with current
        practice related to withdrawals. We encourage the registrar to use the terminology “leave of
        absence” rather than “withdrawal” on the external transcript when students take leave in
        the middle of the semester. 18




15 We recognize that Federal regulations require the Financial Aid Office to use the term “withdrawal” on
their materials. However, MIT’s financial aid materials should make every effort to indicate that their
continued use of this term is due to federal requirements, and not MIT policy.
16 The Rules of the Faculty would need to be amended at the following places:

     ● §1.73.4 (pertaining to the jurisdiction of the Committee on Undergraduate Admissions and Financial
         Aid). The following phrase would be deleted from this section: “except in cases of students applying
         for readmission,” This phrase is the strongest language in the Rules of the Faculty that equates
         readmission with admission.
     ● §1.73.5 (pertaining to the jurisdiction of the CAP). This section would be rewritten as follows: “The
         Committee shall act with power on petitions from individual undergraduate students relating to
         exceptions to established academic standards, and establish regulations related to the return of
         students at the undergraduate level after a personal, voluntary or involuntary medical, or required
         academic leave.”
17 Students who have been suspended or expelled should not identify themselves as being on leave from MIT.
18 The committee supports continuing the current practice of not noting a withdrawal (or leave) on a

student’s transcript when study is interrupted between semesters, simply leaving a gap in the dates on the
transcript.
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Streamlining the Processes of Leaving and Returning to MIT

In addition to the fear students experience about the prospect of leave, there are also logistical
issues pertaining to both leaving the Institute and returning that were raised by students, faculty,
and staff. As a general matter, many students who leave in the middle of the term or who are
required to leave for academic reasons report feeling like they are rushed out the door. At the point
of return, students often express frustration at the conditions placed on them and the return
process.

The committee recognizes the value of having students who are on leave depart from the Institute
as soon as arrangements can be made, both for the benefit to the student and to the larger Institute
community. However, leaves often occur under difficult circumstances, and it is appropriate to
allow a small amount of additional time to depart. Students whose leave is unplanned must make a
series of life decisions in an extremely brief period of time under very stressful circumstances. They
must vacate Institute housing and find new lodging. They must navigate complex and confusing
rules about financial aid to receive refunds, and figure out issues like health insurance when they
are no longer covered by MIT’s policy.

The time crunch associated with unplanned leaves is particularly salient in the case of vacating
Institute housing, where the current expectation that students depart within 48 hours of a leave
causes a hardship for many. The additional time we recommend is not very much — an extra day.
We believe, however, that in many cases giving a student 72 hours to check out of Institute housing
would ease some of the anxiety often associated with leaving, and also help with the administrative
details.19

Currently, every student who seeks a leave is given a set of expectations to meet before return.
Setting these expectations for all students is consistent with the philosophy that has governed
return policy for many years, which is that the Institute has wanted to ensure that everyone who
takes time away from the rigors of MIT’s academic environment is ready to return — even students
who in the past showed no signs of struggling with the environment.

Students who leave to pursue an exciting educational opportunity or to fulfill a personal
commitment are expected to follow through on their announced plans, complete essays that
account for their time and reflect on what they accomplished while away, assemble letters of
recommendation, and plot out a detailed academic roadmap before they are readmitted. Students
who leave under medical leave are generally required to spend at least one semester away from the
Institute undergoing treatment. In applying for return, not only must they assemble a dossier that
parallels that of students who take voluntary leave, their treatment must also be documented by
healthcare providers and verified by MIT’s Medical Department. Students who are required to leave


19The CAP recognizes that there will be rare cases where it will be appropriate to require a student to vacate
Institute housing in less than 72 hours, especially in circumstances in which the safety to the student or
community are at issue. These are not typical cases, however, and the committee believes that departure
policies should not be determined primarily by atypical cases.
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for academic reasons are expected to spend at least two semesters away from the Institute,
generally taking rigorous college-level classes and getting A and B grades; these students, too, must
also complete an extensive application that requires letters of recommendation, transcripts, and
reflective essays.

Students who leave MIT meet with a dean from S3 to help mold expectations to meet the specific
circumstances of the students. However, all students who take leave must still reapply, and the
expectations for time away (i.e., one semester for medical leave and two semesters for required
academic leave) are rarely relaxed.

In the minds of students who have taken leave from the Institute, the request to return process
often appears to create barriers to returning, and may seem arbitrary and unrelated to educational
purposes. Setting detailed expectations about returning seems extraneous for those taking time to
explore an exciting educational opportunity (a prestigious internship, developing a start-up, or
volunteering internationally) or fulfill a personal commitment (family member’s illness, military
service, or religious mission). Moreover, the expectation that students who are required to leave for
academic reasons pursue a full year of college-level study as a non-degree student at another
college can be an insurmountable obstacle for students of meager financial means.

Also, the prospect of having to surmount the barrier of return looms large when students consider
whether to leave in the first place. After all, if even a junior with a 5.0 average who leaves for a year
to pursue an internship with Microsoft is not guaranteed return to the Institute, what is a student
who is struggling academically to think?

All these considerations together lead us to recommend a series of policy changes to ease the
processes of temporarily leaving the Institute and returning after a hiatus. The committee
particularly urges the adoption of the first recommendation that immediately follows.

    1. The Institute should create a flexible category of leave, the “leave of absence,” that would be
       available to all students who are eligible to register in the following semester. This category
       should be flexible, both as it relates to the purpose of the leave and the administrative
       processes related to claiming the leave and returning from it.
           a. This status would be reserved for students who are eligible to register in the
               upcoming semester. Thus, it would not be available for students choosing to
               withdraw in the middle of the semester or to avoid review by the CAP at the end-of-
               term meetings.
           b. Students taking a leave of absence would be permitted to return to the Institute
               within two years from the date of the leave without formal review.
           c. Students would be allowed to take one leave of absence over their undergraduate
               career.
           d. The administrative process to take a leave of absence would be minimal, but still
               require students to consult with their advisors and with a dean at S3. It is
               appropriate to require students taking a leave of absence to discuss their plans and
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              receive advice from their academic advisor and S3 dean, but these consultations
              should not be considered part of a process to approve the leave.
           e. The leave of absence and return processes would be managed by S3 and involve
              very little effort on the part of the student. Students would not need to submit a
              formal request to return, although it would be appropriate for students to notify the
              DUE (via S3) of their intended return date according to a published deadline.

   2. Letters sent to students taking leave for medical or required academic reasons should be
      revised to more clearly delineate expectations for student return. Leave letters issued by
      the CAP and S3 should be reviewed and modified to be supportive in tone.

   3. Students should be permitted 72 hours to move out of Institute housing at the time of leave.
      S3 should carefully coordinate with Housing to ensure that students have adequate ability
      to move out in this time frame.

   4. Student Financial Services and the Registrar’s Office should continue to prorate tuition for
      students taking leave from the Institute. However, there should be a ten day grace period at
      the start of the semester so that students may decide to take a leave and still be given a full
      tuition refund.

   5. Tuition insurance should be more prominently advertised by Student Financial Services.

   6. More flexibility should be allowed for personal and medical leave processes; S3 deans, in
      consultation with appropriate campus colleagues, should have the ability to decrease the
      required minimum amount of time away or provide fewer expectations.

   7. Required academic leave should still be for a full year but students should be asked to
      demonstrate academic readiness over the course of one semester rather than two.

These recommendations largely relate to the actions taken by the Institute on behalf of the Faculty,
or in administering leave policies. These recommendations do not address the internal procedures
of the CAP as it acts on behalf of the Institute Faculty in determining whether students are prepared
to return to the Institute following personal, medical, and required academic leaves.



Support While on Leave

The separation of a student from the Institute, especially when it is unplanned or unwanted, can
result in a great deal of confusion, even in the best of circumstances. We recognize that there will
always be misunderstanding, anger, and disappointment associated with leave and return.
However, this reality does not exempt the Institute from seeking to minimize friction that is
associated with leave.
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The first step in easing the negative feelings surrounding leave (and the associated return) process
is to make one fact clear: The Institute intends to welcome back the student, in the future, who is
leaving, and ultimately to see the student graduate.

Because the forms of leave that are reviewed in this report are temporary, not permanent, it is
imperative that the relationship between the Institute and the student reflect this fact for the period
when the student’s studies have been interrupted. For a variety of legal and administrative reasons,
there must be distinctions between students who are registered and those who are on leave.
However, a student who goes on leave remains part of the MIT community and is expected to
return to MIT as a student.

In making this statement, we note that sturdy barriers have been erected in the past between
withdrawn students and the Institute, and that some of those barriers have been necessary. In
particular, in the not-too-distant past, the Institute had a difficult time ensuring that unenrolled
students had vacated Institute housing and that the small number of withdrawn students who were
disruptive to the community had left. However, it is our belief that problems associated with
“ghosting” in the dormitories are under much better (if imperfect) control. And in any case, policies
that govern the Institute’s relationship with students on leave should not be governed by the
behavior of a small number of people.

While it is standard practice across universities to prohibit students on leave from using university
services, the language and practice associated with the use of services during a student’s leave
causes a great deal of confusion across the MIT community. Departmental administrators expressed
to us uncertainty about whether they are allowed to contact those who are on leave, housemasters
expressed concern about the support of students while away, and students communicated that they
feel isolated by the policies that seem to restrict their contact with their support community. This
confusion across the Institute results in inconsistent communication between those who are away
with staff and faculty, which leads to greater feelings of isolation.

With these considerations in mind, we recommend the following.

   1. It should be made clear to students when they take leave from the Institute, especially if the
      leave is required or unplanned, that their admission to MIT has not been withdrawn, they
      are still a part of the MIT community, and that we are eager to see them return and
      graduate.

   2. An action plan should be developed for every student who takes leave from MIT, regardless
      of the reason for the leave. This action plan — which should be shared and developed with
      the active participation of the student — should not only record expectations about what
      the student will be doing while on leave and what is required to re-register in the future, but
      should also explicitly identify MIT contacts for students at time of leave for while they are
      away.
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     3. Better efforts should be made to clarify to students and departments that students on leave
        are strongly encouraged to be in contact with their dean, academic advisor, and department
        for support and guidance.

     4. The Institute’s Suspension of Services statement20 should be reviewed to make clear to
        students both the support available, as well as the limits of what they may do in the
        community. It is appropriate that students on leave not live in MIT owned or affiliated
        housing, attend classes, participate in UROP, or have an activated MIT card. However, as a
        general matter, students on leave should not be precluded from activities on campus any
        more than members of the local community. In other words, it should generally be
        appropriate for students on leave to be employed at MIT and participate in campus
        activities that are open to non-students.21 The committee agrees that students should be
        permitted to retain their MIT email address through sponsorship. The committee
        acknowledges, however, that for many students, physical distance from MIT is exactly what
        is necessary to address the issues that were causing problems at the Institute.

     5. S3 should extend its robust and lauded program of support for returning students to
        students on leave, by developing an extended mentorship network with returned students,
        alumni, and interested faculty members.

     6. The MIT Medical Department should investigate the cost involved to offer MIT Health
        Insurance to all students who take leave and were on the MIT Extended Plan. This would
        extend a policy that currently applies to students who take medical leave to all students on
        leave. For students who do not purchase the Extended Plan, every effort should be made by
        the MIT Medical Department to educate students about the health care exchanges and the
        importance of adequate health insurance coverage.

     7. MIT should establish a fund to help support students with financial hardships who are on
        leave, to relieve the burdens that are often imposed, especially when students are required
        to withdraw for academic reasons. The funding requirements to fulfill this recommendation
        are not trivial, and could approach $500,000 a year. However, we believe that such an effort
        is critical if we are to make our commitment to students on leave a reality.



Returning to MIT

The Committee heard consistently from students that the return process is daunting, and
challenges presented by the prospect of confronting it were at the center of their decision whether
or not they should withdraw. The survey results from returned students showed that those on

20http://web.mit.edu/academic-guide/section_13.html
21This is the general expectation that we would recommend, recognizing that there will be cases where a
student would appropriately be required to be absent from the MIT community, either in whole or in part.
However, such a requirement should rarely be imposed, and should only be a condition of return to MIT after
approval of the CAP.
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voluntary leaves were the most dissatisfied with the process. Many students on all types of leave
reported that the expectations of the Institute were unclear; this leads to anxiety about the strength
of their return case. Students who had withdrawn also expressed concerns about the timing of
notification of return. Students applying for return can be notified of the decision just a couple of
weeks before the beginning of a semester, which causes logistical difficulties related to housing,
financial aid, and the reactivation of the MIT ID card.

Students on medical and required leave often expressed the opinion that there was a conflict of
roles with S3, which provides support during the time the student is on leave, but then is seen as
making final return decisions.

Housemasters questioned whether the current process facilitated the placement of students in
appropriate housing to ensure community support, and stated that they were even unsure of which
students in their dormitories were returning. Academic departments also stated that they were
unsure of timelines for return, and that they wished to be kept informed about decisions, especially
in those cases in which a student returned to the Institute as a major in another department.

Of all these concerns, the one that seemed the most fundamental was the problem of the dual,
seemingly conflicting, role of S3 in the process of return. The role of S3 is to support students in all
phases of their relationship with the Institute. Although the role of S3 in the return process is
advisory, the clear impression past withdrawn students get is that S3 is the sole arbiter about
whether or not a student may return.

As noted earlier, return decisions are made by the CAP, but from the perspective of students
applying for return, S3 makes the decision. This confusion is reinforced by the practice of having
the letter that notifies the student of the return decision come over the signature of the head of S3.
This source of misunderstanding is easily remedied. How to provide a more meaningful “airlock”
between S3 and the CAP has been one of the most complex matters which the committee wrestled
with.

The design challenge is that the deans of S3 are the most knowledgeable MIT employees when it
comes to the specific circumstances of students who are on leave, and yet the CAP, which by its
nature will always have less intimate knowledge of students’ specific circumstances, must make the
decision. Therefore, a way must be found to apply the insights of S3 about individual students to the
final decisions about return that must be made by the CAP.

However, the calendar presents further problems that prevent the full CAP from considering
applications for return. For return in the Fall semester, grades that are relevant to return cases are
generally not available until the Spring semester has ended and the CAP can no longer be convened
as a full body.22 For return in the Spring semester, grades are made available during the winter

22Current CAP student members confirm that their summer commitments to end-of-term grades and
deferred action meetings already make it difficult to navigate with summer internships and employment.
Furthermore, faculty members are either not employed by the Institute during the summer, or grant
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break and during the period when S3 and the CAP are intensively engaged in end-of-term
assessments of currently enrolled students.

Because of these calendar constraints, the return process described at the beginning of this report
puts heavy emphasis on S3 forming a recommendation about each student’s application for return
that is then presented to the CAP Chair for ratification or referral to the full CAP. This way, the full
CAP only needs to be involved in the most difficult of decisions. The fact that the process is
weighted heavily in favor of intensive S3 deliberation and less intensive active involvement of the
full CAP, other than by the Chair, easily leads to the students’ impression that decisions are in fact
made by S3.

Other universities deal with these same calendar constraints in ways that avoid some of the
problems that the current MIT return process is prone to, but in ways that seem alien to MIT’s
culture. Many universities, for instance, leave the faculty out of the return decision altogether,
putting the decision in the hands of a single dean who may, or may not be, a member of the faculty.
MIT, on the other hand, values the primacy of faculty in all fundamental academic decisions,
including decisions about whether students are prepared to engage in classes. Some universities
only have one deadline for applications to return, during the school year, which constrains return to
the university to occur only in the Fall semester. By setting the deadline early enough in the spring,
it allows fuller involvement of faculty and staff in return decisions, but it also creates a big gap in
time between the classes that a student might take to demonstrate their being ready to return to
MIT and recommencing study at the Institute.

After careful deliberation of all the issues surrounding the return process, the CAP has concluded
that a way must be found to make it clear that the primary role of the deans who work for S3 is to
support students while on leave from the Institute, not to decide whether they are ready to return.
S3’s role in the return process is to provide advice to students who are on leave about how to
prepare to return, and to advise the CAP about the progress that students have made along the path
to return. The decision must be in fact, and in appearance, made by the faculty CAP.

    1. To position S3 and the CAP to do their respective jobs, it is absolutely critical for there to be
       clear and explicit expectations at the time of the leave (see recommendation #2 in the
       “Streamlining the processes of leaving and returning to MIT section”). Indeed, the leave
       needs to be connected closely to the return and this starts with specific expectations.
       Recommendations from MIT Medical need to be clear, and the CAP also needs to clarify a
       standard set of expectations for students on academic required leave.

    2. With a clear set of expectations it is our hope that the Readmission Committee in S3 could
       be dissolved. S3’s role would transform from being a decision maker in this process to being
       a coordinator and supporter. We anticipate that there will be a transition period to get to



restrictions prohibit them from performing administrative duties unrelated to their sponsored research over
the summer.
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        this state, and that the CAP and S3 will collaborate with S3 to make the change as quickly
        and smoothly as possible.
            a. S3 would be responsible for assembling the return materials, shepherding the
                 students through the process, and providing the CAP with information about
                 whether or not the concrete expectations for leave were met.
            b. MIT Medical and Mental Health would be asked to provide clear guidance about
                 medical clearance and academic departments would be asked to do the same about
                 academic readiness to return.
            c. Our vision is that the CAP Chair can make decisions on behalf of the committee, but
                 would consult with additional members of the CAP before denying someone the
                 ability to return.

     3. Since the CAP will have much more direct oversight of the return process, ensuring the
        committee is well informed and trained will be critical. The full CAP will review (after the
        fact) all denials and a sample of acceptances, for the purpose of providing oversight to the
        process and helping S3 calibrate the advice it gives to students who apply for return in the
        future .23

     4. Decision letters, both denials and acceptances, will go out over the signature of the Chair of
        CAP.

     5. In addition to this significant alteration of the return process, we recommend the following
        ways to improve the process of the return for students:
            a. S3 should develop an online return application portal that would make it easier for
                students to submit their materials in a timely fashion. This will require significant
                technical and financial support.
            b. All students living on campus at the time of their leave, and who have not used their
                eight semesters of eligibility for housing, should be guaranteed housing upon return.
                The Housing Office and S3 should consult every semester about the likely return
                cases to be considered early enough, so that rooms can be set aside for students
                returning from leave. Furthermore, this planning should prioritize returning
                students to their previous dormitory assignment, if that is their wish.
            c. It is critical that DSL forward on to the housemasters the list they receive from S3
                about returning students, so that housemasters can prepare to support those
                students as they reintegrate into the community.
            d. The following should occur as soon as practicable after the decision to return:
                   i.    Reactivation of the MIT ID card
                  ii.    Assignment to housing




23This recommendation will be implemented immediately in the Spring 2016 semester for the most recent
set of readmission applications. The remaining experiments pertain to readmission applications for Fall 2016
and beyond.
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                 iii.   Decisions about financial aid24
            e. If a student switches majors upon return to the institute, notification of the return
               should be provided to both the student’s new department, as well as the original
               department.




                                          Other Recommendations

Throughout this review, the Committee heard concerns about MIT policies and practices that are
outside the CAP’s purview, or not in the charge of the committee, but which nonetheless affect the
leave and return issues we have reviewed. They should be addressed by the Institute without
undue delay.

The related set of issues we wish to flag are the following:
   ● Involuntary medical leave
   ● Psychiatric hospitalization
   ● Graduate student leave and return

We briefly consider these in order.



Involuntary Medical Leave

As mentioned earlier, involuntary medical leave is a process intended for the rarest of cases, when a
student is a danger to him- or herself, the community, or both, and when the student refuses to
voluntarily commit to a course of action to address the student’s condition that has created the
situation. Students, faculty, and staff were often incredulous to learn that the policy of involuntary
medical leave has never been invoked at the Institute.

We heard from students the frequent claim that the threat of invoking the involuntary medical
leave policy has been used to coerce students into taking a leave “voluntarily.” This must stop. If
there is, in fact, a belief that the policy should be invoked, it should be invoked, not threatened. This
attitude must be communicated and reinforced throughout the Institute.

        Therefore, we urge the Chancellor to assign the Medical Department, the DUE, the DSL, and
        the Dean for Graduate Education (ODGE) the task of reviewing policies related to
        involuntary medical leave, and that the review be conducted in such a way that widespread
        engagement with the community occurs.


24It is particularly important for international students to be made aware of their financial award well in
advance of their return to MIT.
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Psychiatric Hospitalization

Between 40 and 50 undergraduate students are hospitalized during an academic year, owing to
concerns about the student’s mental health. We were not charged with reviewing psychiatric
hospitalizations, nor did we have the expertise to conduct such a review. However, student
concerns about the hospitalization process were universal. The concerns raised included issues of
emotional support while in the hospital, communication, coordination among the different offices
involved in working with the student and the hospital, and feelings that hospitalized students often
feel coerced to take a leave. These concerns loom so large that they are major impediments to the
smooth operation of current leave policies.

The concerns we heard were often precisely the same ones that have been expressed for decades
around the Institute. This suggests two possibilities. One is that they are inevitable consequences of
the circumstances that often lead to hospitalizations and MIT’s decentralized administrative
culture. The other is that the Institute has devoted insufficient attention to this set of problems, and
has been inattentive to working to achieve a community consensus about how to deal with
hospitalizations.

        We urge the Chancellor to sponsor a review of MIT’s policies concerning student
        hospitalizations that engages the entire Institute. We believe this review would be a natural
        fit and could occur together with the review mentioned previously on involuntary medical
        leaves.



Graduate Student Leave and Return

The Chancellor’s charge to the committee confined this review to processes that affect
undergraduate students. As the length and complexity of the report suggests, simply focusing on
undergraduates is a substantial task. Several times during our review, we were reminded that many
of the issues we encountered also pertain to graduate students. Because of the different
administrative context of graduate education at MIT — namely, graduate students are admitted by
departments, not by a centralized admissions process, and support for graduate students is focused
in ODGE (along with graduate administrators in the departments) rather than with S3 — the
precise details of the issues we wrestled with differ when it comes to graduate students.
Nonetheless, the issue of leaves from and returns to graduate programs causes distress among
graduate students and confusion among graduate departments.

        We therefore urge the Dean for Graduate Education to sponsor a review of these issues as
        they relate to graduate education at MIT.
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                             Committee on Academic Performance
                                Academic Year 2015--2016

Voting members
    ● Prof. Charles Stewart III (Chair), Political Science
    ● Prof. Arnold Barnett, Sloan School of Management
    ● Prof. Robert Berwick, Electrical Engineering & Computer Science
    ● Prof. Tanja Bosak, Earth, Atmospheric & Planetary Sciences
    ● Prof. Scott Hughes, Physics
    ● Prof. Kristala Jones Prather, Chemical Engineering
    ● Ms Jeannette Maisano-Brown '17, Physics
    ● Mr. Obasi Onuoha '17, Computer Science & Engineering
    ● Ms Amelia Trainer '18, Nuclear Science & Engineering


Ex-officio members
    ● Ms Leslie Bridson, Director of Financial Aid (Designee of Student Financial Services)
    ● Dean DiOnetta Jones Crayton, Director of the Office of Minority Education/DUE (Designee of
         the Dean of Undergraduate Education)
    ● Dr. Haleh Rokni, MIT Medical Department (Designee of the Medical Director)
    ● Dean Kathleen Monagle, Director of Student Disabilities Services
    ● Dean Julie Norman, Director of the Office of Undergraduate Advising and Academic
         Programming, DUE (Designee of the Dean of Undergraduate Education)
    ● Dean David Randall, Director of Student Support Services
    ● Ms Ri Romano, Associate Registrar (Designee of the Registrar)

Staff to the committee
    ● Mr Stephen Pepper, Staff Associate of the Office of Undergraduate Advising and Academic
    ● Ms Kimberly Benard, Assistant Director in Global Education and Career Development
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                                            Appendix A

                             Results of Readmitted Students Survey

The returned students survey was designed to gather feedback directly from students who have
been through the withdrawal and readmission process, but who might not wish to participate in-
person. The survey was sent out via e-mail to a listserv of 194 current students who have returned
from withdrawals. The survey consisted of 17 questions (4 Likert-style questions, 10 open-ended
questions, and 3 demographic questions), and was divided into four sections: the withdrawal
Process, Time Away from the Institute, the Readmission Process, and the Return to MIT. Seventy
students began the survey and 45 completed it for a response rate of 23%. Sixteen of the
respondents had been on voluntary withdrawal, 20 on medical withdrawal, and 9 on required
withdrawal. While the response rate was low, we felt this was an important part of our review
process because it would allow students most affected by the process a way to share their feelings
anonymously. Answers to the open-ended questions in the survey have been incorporated into the
feedback given during the meetings, and are together in the “Findings and Recommendations”
section in the body of the report.

The Withdrawal Process

The survey included three questions about the withdrawal process, beginning with students’
overall impressions: “Using the following scale, indicate your overall impression of the withdrawal
process, taking into account all the MIT offices you worked with.” Overall responses were normally
distributed with most of the responses clustering around a neutral impression. In general, students
who took medical withdrawals reported a more negative experience (43% negative or somewhat
negative) and those who took required withdrawal had a less negative experience (18% negative or
somewhat negative). Students who took voluntary withdrawals generally had a neutral impression
of the process. See the graph in the body of the text for more information.

Time Away from MIT

Students were asked four questions about resources during their time away from MIT, beginning
with their overall experience: “Using the following scale, indicate your overall impression of the
resources MIT provided during your time away from MIT.” Overall, very few students reported a
positive impression (10% positive or somewhat positive). The students on required withdrawal
portrayed a negative experience (44% negative or somewhat negative, 0% positive or somewhat
positive) as did the students on medical withdrawal (33% negative). Most of the students on
voluntary withdrawal reported feeling “neutral” about resources while they were away (78%).
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The Readmission Process

The next section of the survey focused on the readmission process. It included three questions,
beginning with asking students to rate their overall impression of the readmission process.
Students on required withdrawal had a more positive experience (55% somewhat positive or
positive). Students on voluntary withdrawal reported a more negative experience (50% somewhat
negative or negative). Students on medical withdrawal were more mixed (45% negative or
somewhat negative and 40% positive or somewhat positive).

Returning to MIT

The survey continued by asking about students’ experiences coming back to MIT: “Using the
following scale, indicate your overall impression of the return process, taking into account all the
MIT offices you worked with.” Students were more positive overall (60% somewhat positive or
positive). None of the students on required withdrawal reported a negative or somewhat negative
impression, with the majority reporting positive experiences (77% positive or somewhat positive).
As is shown in the graph in the body of the report, there were very few negative impressions overall
(19% of students on voluntary withdrawal, 10% of students on medical withdrawal).
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                                              Appendix B

                                    Summary of All Recommendations

Openness of Communication25

      1. Overall efforts need to be made to communicate actively about how the processes operate,
         expectations concerning return, and results of the leave and return process.
            a. The CAP and DUE should report annually about the number of students seeking
                 leave and return, the rates of return, and measure of academic success among
                 students who return from leave. The CAP and DUE should also regularly
                 communicate with the faculty and administrative staff about how these processes
                 work, and about the resources available to students, faculty, and staff who come in
                 contact with leave and return.
            b. The CAP and DUE should work with The Tech and other communications resources
                 at the Institute to ensure that this same information is reported on a regular basis to
                 the community.

      2. S3 should undertake a review of the sections of their website that communicate information
         concerning leave and return policies, to ensure that the information is communicated
         clearly and effectively. It should create and regularly update a FAQ section on their website
         that addresses common concerns about leaves and return.

      3. A physical or virtual book of student experiences while on leave should be made available to
         students considering leave.



Terminology26

      1. The terms associated with the current processes of withdrawal and readmission should be
         changed.
            a. The term “withdrawal” should no longer be used; the corresponding processes
                should be termed “leave.”27 Implementing this change will involve amending the
                Rules of the Faculty.28
            b. The categories of leave that the Institute maintains should be the following:
                    i.  Personal leave
                   ii.  Medical leave
                  iii.  Involuntary medical leave
                  iv.   Required academic leave


25   For full recommendation, see pp. 13-4.
26   For full recommendation, see pp. 14-5.
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               c. The term “readmission” should no longer be used and instead be called “return from
                  leave” or just simply “return.”
               d. The term “readmission application” should not be used. Students are not applying to
                  MIT, they are “requesting to return from leave.”

      2. Students should be encouraged to use the generic description of being “on leave” when they
         interrupt their studies at the Institute for the reasons outlined in this section of the report.29
         The categorization of the types of leave (personal leave, medical leave, etc.) is strictly for
         internal purposes, and should not be reflected on the transcript, in keeping with current
         practice related to withdrawals. We encourage the registrar to use the terminology “leave of
         absence” rather than “withdrawal” on the external transcript when students take leave in
         the middle of the semester. 30



Streamlining the Processes of Leaving and Returning to MIT31

      1. The Institute should create a flexible category of leave, the “leave of absence,” that would be
         available to all students who are eligible to register in the following semester. This category
         should be flexible, both as it relates to the purpose of the leave and the administrative
         processes related to claiming the leave and returning from it.
             a. This status would be reserved for students who are eligible to register in the
                 upcoming semester. Thus, it would not be available for students choosing to
                 withdraw in the middle of the semester or to avoid review by the CAP at the end-of-
                 term meetings.
             b. Students taking a leave of absence would be permitted to return to the Institute
                 within two years from the date of the leave without formal review.
             c. Students would be allowed to take one leave of absence over their undergraduate
                 career.
             d. The administrative process to take a leave of absence would be minimal, but still
                 require students to consult with their advisors and with a dean at S3. It is
                 appropriate to require students taking a leave of absence to discuss their plans and
                 receive advice from their academic advisor and S3 dean, but these consultations
                 should not be considered part of a process to approve the leave.
             e. The leave of absence and return processes would be managed by S3 and involve
                 very little effort on the part of the student. Students would not need to submit a
                 formal request to return, although it would be appropriate for students to notify the
                 DUE (via S3) of their intended return date according to a published deadline.




31   For full recommendation, see pp. 16-8.
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      2. Letters sent to students taking leave for medical or required academic reasons should be
         revised to more clearly delineate expectations for student return. Leave letters issued by
         the CAP and S3 should be reviewed and modified to be supportive in tone.

      3. Students should be permitted 72 hours to move out of Institute housing at the time of leave.
         S3 should carefully coordinate with Housing to ensure that students have adequate ability
         to move out in this time frame.

      4. Student Financial Services and the Registrar’s Office should continue to prorate tuition for
         students taking leave from the Institute. However, there should be a ten day grace period at
         the start of the semester so that students may decide to take a leave and still be given a full
         tuition refund.

      5. Tuition insurance should be more prominently advertised by Student Financial Services.

      6. More flexibility should be allowed for personal and medical leave processes; S3 deans, in
         consultation with appropriate campus colleagues, should have the ability to decrease the
         required minimum amount of time away or provide fewer expectations.

      7. Required academic leave should still be for a full year but students should be asked to
         demonstrate academic readiness over the course of one semester rather than two.



Support While on Leave32

      1. It should be made clear to students when they take leave from the Institute, especially if the
         leave is required or unplanned, that their admission to MIT has not been withdrawn, they
         are still a part of the MIT community, and that we are eager to see them return and
         graduate.

      2. An action plan should be developed for every student who takes leave from MIT, regardless
         of the reason for the leave. This action plan — which should be shared and developed with
         the active participation of the student — should not only record expectations about what
         the student will be doing while on leave and what is required to re-register in the future, but
         should also explicitly identify MIT contacts for students at time of leave for while they are
         away.

      3. Better efforts should be made to clarify to students and departments that students on leave
         are strongly encouraged to be in contact with their dean, academic advisor, and department
         for support and guidance.




32   For full recommendation, see pp. 18-20.
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      4. The Institute’s Suspension of Services statement33 should be reviewed to make clear to
         students both the support available, as well as the limits of what they may do in the
         community. It is appropriate that students on leave not live in MIT owned or affiliated
         housing, attend classes, participate in UROP, or have an activated MIT card. However, as a
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         “Streamlining the processes of leaving and returning to MIT section”). Indeed, the leave
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35   For full recommendation, see pp. 20-4.
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   a coordinator and supporter. We anticipate that there will be a transition period to get to
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   process and helping S3 calibrate the advice it gives to students who apply for return in the
   future .36

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   CAP.

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       a. S3 should develop an online return application portal that would make it easier for
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           eight semesters of eligibility for housing, should be guaranteed housing upon return.
           The Housing Office and S3 should consult every semester about the likely return
           cases to be considered early enough, so that rooms can be set aside for students
           returning from leave. Furthermore, this planning should prioritize returning
           students to their previous dormitory assignment, if that is their wish.
       c. It is critical that DSL forward on to the housemasters the list they receive from S3
           about returning students, so that housemasters can prepare to support those
           students as they reintegrate into the community.
       d. The following should occur as soon as practicable after the decision to readmit a
           student:
                i. Reactivation of the MIT ID card
               ii. Assignment to housing
        Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 120 of 198
                                                                                                       34


                   iii. Decisions about financial aid37
            e. If a student switches majors upon return to the institute, notification of the return
               should be provided to both the student’s new department, as well as the original
               department.



Involuntary Medical Leave38

        Therefore, we urge the Chancellor to assign the Medical Department, the DUE, the DSL, and
        the Dean for Graduate Education (ODGE) the task of reviewing policies related to
        involuntary medical leave, and that the review be conducted in such a way that widespread
        engagement with the community occurs.



Psychiatric Hospitalization39

        We urge the Chancellor to sponsor a review of MIT’s policies concerning student
        hospitalizations that engages the entire Institute. We believe this review would be a natural
        fit and could occur together with the review mentioned previously on involuntary medical
        leaves.



Graduate Student Leave and Return40



        We therefore urge the Dean for Graduate Education to sponsor a review of these issues as
        they relate to graduate education at MIT.




38 For full recommendation, see p. 24.
39 For full recommendation, see p. 25
40 For full recommendation, see p. 25
Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 121 of 198




                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 10
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

              Communication from Yale College
                 Benjamin Franklin College
                Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 122 of 198

                                                                                       Jakub Madej <jakub.madej@yale.edu>



Mail in BF College Office
1 message

Benjamin Franklin College At Yale <benjaminfranklincollege@gmail.com>                            Mon, Jan 27, 2020 at 11:19 AM
To: Benjamin Franklin <benjaminfranklincollege@gmail.com>

 If you are receiving this email, you have mail in the Benjamin Franklin College Office. Come pick it up as soon as you can,
 and keep in mind that the office is open on weekdays from 10am to 5pm. Thanks, and have a great day.
                 Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 123 of 198

                                                                            Jakub Madej <jakub.madej@yale.edu>



Mail in the Office
1 message

Benjamin Franklin College Aides <bfcaides@yale.edu>                                   Fri, Jan 31, 2020 at 4:02 PM

 Hi!

 Please pick up your mail in the HOC oﬃce. We are open from 9 am to 5 pm.

 All the best,
 BFC Aide
               Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 124 of 198

                                                                             Jakub Madej <jakub.madej@yale.edu>



You've Got Mail!
1 message

Benjamin Franklin College Aides <bfcaides@yale.edu>                                   Thu, Feb 6, 2020 at 10:26 AM

 Good Morning,

 You have mail in the HoC oﬃce. Please pick it up at earliest convenience.

 Thank you!

 Best wishes,
 BF College Aide
               Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 125 of 198

                                                                            Jakub Madej <jakub.madej@yale.edu>



Mail in the Office
Benjamin Franklin College Aides <bfcaides@yale.edu>                                  Wed, Feb 12, 2020 at 11:51 AM

 Hi!

 We have received mail for you in the college oﬃce. Please pick it up as soon as possible, we are open from 9-
 5pm on weekdays! Thank you.

 Best,
 BF College Aide
                Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 126 of 198

                                                                Jakub Madej <jakub.madej@yale.edu>



mail in hoc office
Benjamin Franklin College Aides <bfcaides@yale.edu>                      Fri, Feb 21, 2020 at 11:19 AM

 see subject

 -namra
 college aide
Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 127 of 198




                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 11
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

              Communication from Yale Health
                         Part 1.
                        Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 128 of 198

                                                                                     Jakub Madej <jakub.madej@yale.edu>



Yale Health
9 messages

Riollano Bayouth, Carlos <carlos.riollano@yale.edu>                                             Mon, Jan 6, 2020 at 10:20 AM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


 Hello Jakub,

 Hope you had a wonderful holiday. I’m following up about your last Yale Health visit and would like to find a good time to
 meet. Perhaps you can give me your available times to find one that matches mine. Look forward to hearing from you soon.

 Bests

 Carlos




 Carlos Riollano, Ph.D.

 Postdoctoral Fellow

 Mental Health and Counseling

 Yale Health Center

 Desk: (203)436-5412

 carlos.riollano@yale.edu




Jakub Madej <jakub.madej@yale.edu>                                                               Mon, Jan 6, 2020 at 5:34 PM
To: "Riollano Bayouth, Carlos" <carlos.riollano@yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>

 Hi Carlos,

 Thanks for reaching out! Glad you remembered about our visit even though it was brief and short notice.

 I tentatively scheduled a visit with Doctor Paxton back in December – should I separately meet you and her, choose one
 person depending on availability, or something else? I'm new to the Mental Health department, so I may be missing
 something.

 Have a great Monday,
 Jakub
 [Quoted text hidden]



Riollano Bayouth, Carlos <carlos.riollano@yale.edu>                                              Tue, Jan 7, 2020 at 11:10 AM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


 Hi Jakub

 We have diﬀerent roles. How about we meet and further talk about ques ons you may have.
                         Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 129 of 198
  Best

  Carlos
  [Quoted text hidden]



Jakub Madej <jakub.madej@yale.edu>                                                                   Wed, Jan 8, 2020 at 11:00 AM
To: "Riollano Bayouth, Carlos" <carlos.riollano@yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>

  Sounds good to me!

  I return to New Haven on January 13 but I have to sort a few unfinished things soon after my arrival. How about the week of
  January 30, for example Friday? Early morning is always good for me (even very early) but I'm flexible.

  How early can we schedule a meeting on a given day? Just trying to fit this into my schedule; few courses meet on Friday,
  so I'm generally more available then, but other days of the week are also an option.

  Otherwise, I can pick a date if you suggest a few that work for you.

  Have a great Wednesday,
  Jakub
  [Quoted text hidden]



Riollano Bayouth, Carlos <carlos.riollano@yale.edu>                                                 Wed, Jan 8, 2020 at 12:15 PM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


  Hi Jakub

  I have you conﬁrmed for Friday 1/31 @9:15 am.

  See you then
  [Quoted text hidden]



Jakub Madej <jakub.madej@yale.edu>                                                                  Mon, Jan 27, 2020 at 10:25 PM
To: "Riollano Bayouth, Carlos" <carlos.riollano@yale.edu>

  Hi Carlos, are we still good for Friday 1/31 @ 9.15 am?

  Best,
  Jakub

  Jakub Madej | Class of 2020, Yale College (?) | P.O. Box 204000, New Haven, CT 06520-4000 | (203)-928-8486 |
  jakub.madej@yale.edu

  if you ever need to reach me quickly, just call (203)-928-8486. i will pick up or call you back


  [Quoted text hidden]



Riollano Bayouth, Carlos <carlos.riollano@yale.edu>                                                 Tue, Jan 28, 2020 at 11:04 AM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


  Hi Jakub

  Yes we are,

  See you then
Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 130 of 198




                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 12
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

              Communication from Yale Health
                         Part 2.
                         Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 131 of 198
  [Quoted text hidden]



Jakub Madej <jakub.madej@yale.edu>                                                                 Tue, Feb 4, 2020 at 11:15 AM
To: "Riollano Bayouth, Carlos" <carlos.riollano@yale.edu>

  Hi Carlos,

  Thanks for arranging the prescription. I assume it was Doctor Paxton who prescribed it -- I just received a call directly
  from the pharmacy.

  I picked up one medication last weekend; the pharmacist said he only received one prescription. I don't know if that's an
  error on their side, or something else. What should I do to make sure they receive the other prescription? Or who should I
  talk to?

  I put down our next appointment for 2/21 at 12:15p in my calendar. I will let you know if anything changes.

  Thanks,
  Jakub

  Jakub Madej | Class of 2020, Yale College (?) | P.O. Box 204000, New Haven, CT 06520-4000 | (203)-928-8486 |
  jakub.madej@yale.edu

  if you need to reach me quickly, call (203)-928-8486. i will pick up or call you back


  [Quoted text hidden]



Jakub Madej <jakub.madej@yale.edu>                                                                 Tue, Feb 11, 2020 at 8:20 PM
To: "Riollano Bayouth, Carlos" <carlos.riollano@yale.edu>

  Hi Carlos,

  Let me know what should I do. I can e-mail Doctor Paxton directly, if necessary.

  Best,
  Jakub

  Jakub Madej | Class of 2020, Yale College (?) | P.O. Box 204000, New Haven, CT 06520-4000 | (203)-928-8486 |
  jakub.madej@yale.edu

  if you need to reach me quickly, call (203)-928-8486. i will pick up or call you back


  [Quoted text hidden]



Jakub Madej <jakub.madej@yale.edu>                                                                Mon, Feb 17, 2020 at 7:53 AM
To: Heather Lee Paxton <heather.paxton@yale.edu>

  Hi Doctor Paxton,

  Carlos recently arranged a prescription for me. I assume he did it directly with you. I tried to get in touch with him but
  he didn't get back to me yet. I assume he's been busy recently.

  I picked up the medication at Stop & Shop, where I usually do it, but the pharmacist there said they only received one
  prescription, though I take two different medications (Effexor and Concerta). Could you issue a second prescription for
  me, please? I am almost running out.

  Thanks!
  Jakub

  Jakub Madej | Class of 2020, Yale College (?) | P.O. Box 204000, New Haven, CT 06520-4000 | (203)-928-8486 |
  jakub.madej@yale.edu
                        Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 132 of 198
 if you need to reach me quickly, call (203)-928-8486. i will pick up or call you back

 [Quoted text hidden]



Riollano Bayouth, Carlos <carlos.riollano@yale.edu>                                            Tue, Feb 18, 2020 at 10:07 AM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


 Hi Jakub,

 Unfortunately your status prevents us from further providing our services. There are several providers in New Haven you
 could look into should you have a private insurance. Otherwise, there’s also other clinics in New Haven that provide
 services without insurance, such as the CMHC. Should there be an emergency go to the YNHH ER.

 All the best,
 [Quoted text hidden]



Jakub Madej <jakub.madej@yale.edu>                                                               Thu, Feb 20, 2020 at 8:15 AM
To: "Riollano Bayouth, Carlos" <carlos.riollano@yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>

 Hi Carlos,

 I understand. What is my current status in the system? Did it change since our last visit? I see no change in my MyChart
 account; in fact, our Friday appointment shows up as confirmed. What was my status two and a half weeks ago when I
 requested a prescription? I received only one medication at the pharmacy, whether intentionally or by mistake. I am
 almost out of medication at the moment -- I sent several e-mails to you precisely to avoid this situation.

 Best,
 Jakub

 Jakub Madej | Class of 2020, Yale College (in litigation) | P.O. Box 204000, New Haven, CT 06520-4000 | (203)-928-8486 |
 jakub.madej@yale.edu

 if you need to reach me quickly, call (203)-928-8486. i will pick up or call you back


 [Quoted text hidden]



Riollano Bayouth, Carlos <carlos.riollano@yale.edu>                                            Thu, Feb 20, 2020 at 11:42 AM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


 Hi Jakub,

 I checked with member services and your eligibility expired on 1/31 2020 due to Withdrawal. You may forward further
 ques ons to member.services@yale.edu. I reiterate my previous message. Should there be an emergency please go
 to the ER at Yale New Haven Hospital.

 Best,
 [Quoted text hidden]



Jakub Madej <jakub.madej@yale.edu>                                                             Thu, Feb 20, 2020 at 12:00 PM
To: "Riollano Bayouth, Carlos" <carlos.riollano@yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>

 Ok, thank you.

 Jakub
                        Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 133 of 198
 [Quoted text hidden]



Jakub Madej <jakub.madej@yale.edu>                                                          Thu, Feb 20, 2020 at 2:33 PM
To: "Riollano Bayouth, Carlos" <carlos.riollano@yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>

 Just one more quick question: can I check on MyChart whether my coverage ended on 1/31/2020 or on some other date? I
 believe that's your what system says – I'm just trying to establish some facts.

 Jakub
 [Quoted text hidden]
Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 134 of 198




                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 13
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

            Communication with Jessie Royce Hill
                      October 2019
                        Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 135 of 198

                                                                                        Jakub Madej <jakub.madej@yale.edu>



PSYC 330
8 messages

Hill, Jessie <jessie.hill@yale.edu>                                                                 Thu, Oct 10, 2019 at 3:02 PM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


 Dear Jakub,



 I heard from Prof. Lockhart that you were erroneously enrolled in her course, though you hadn’t applied or been given a
 spot. I’m writing in part to confirm that will be withdrawn from the course, which I believe you already know.



 I’m also wondering if you’d like to meet next week or after the break to talk through your classes and see what might be
 helpful to optimize your experience in the back half of the semester. As you’re aware, you are on academic warning this
 term so it’s important to pass your classes and keep progressing. I’d be happy to set up a time to touch base.



 Best,

 Dean Hill




Jakub Madej <jakub.madej@yale.edu>                                                                  Thu, Oct 10, 2019 at 9:37 PM
To: "Hill, Jessie" <jessie.hill@yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>

 Hi Jessie,

 Thanks for letting me know. I was not aware I'm on academic warning this term -- no one ever notified me about this but,
 judging by academic regulations, it should be my responsibility. Was it because I dropped out of these classes last
 semester?

 I did enrol in this course -- the syllabus didn't mention anything about applications (it still doesn't) or a limited number of
 spots. I originally intended to register for a BK college writing seminar on journalism & Wall Street but I indeed wasn't
 given a spot there. I received a message from professor Lockhart where she explained the situation -- I understand she
 turned away many people but the syllabus didn't contain a clue about limited enrollment and/or a need for an
 application. I'm checking the number of credits required for graduation with Michelle as we speak -- apparently she was
 out of the office today.

 I'll come after the break, as I leave campus this Monday. What times work for you/when are your office hours?

 Best,
 Jakub

 Jakub Madej | Class of 2020, Yale College | P.O. Box 204000, New Haven, CT 06520-4000 | (203)-928-8486 |
 jakub.madej@yale.edu


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                        Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 136 of 198

Hill, Jessie <jessie.hill@yale.edu>                                                          Thu, Oct 10, 2019 at 10:02 PM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


 Dear Jakub,



 You were placed on academic warning on May 31 and the letter I’m attaching was emailed to you at that time.
 Additionally, I emailed you on August 20 before the term started suggesting we meet and talk about a good game plan for
 the term. Michelle also followed up to try to arrange an appointment.



 I’m happy to meet upon your return from break and think it’s a good idea we do. Can you come in Monday the 21st? I am
 open that entire morning at the moment. Let me know what works.



 Best,

 Dean Hill



 Jessie Royce Hill

 Dean of Benjamin Franklin College
 Yale University

 (203) 432-2934




 [Quoted text hidden]


       Jakub Madej.pdf
       167K


Jakub Madej <jakub.madej@yale.edu>                                                           Thu, Oct 10, 2019 at 10:11 PM
To: "Hill, Jessie" <jessie.hill@yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>

 I checked my e-mail for May 31 and neighbouring dates, and I have not received this email. I understand it might have
 been sent via snail mail to my home address in Europe -- I was there twice this summer and never received any
 correspondence from Yale. I remember Michelle contacting me in September but I didn't know at all it's about academic
 warning... I see your e-mail but again, it didn't say anything about the academic warning -- thus I assume you're just
 offering general help. Regardless of what happened, I wish I knew about all of this before.

 I won't be here on Monday the 21st, unfortunately. I could come next Monday (Nov 14) morning or any time?

 Best,
 Jakub

 Jakub Madej | Class of 2020, Yale College | P.O. Box 204000, New Haven, CT 06520-4000 | (203)-928-8486 |
 jakub.madej@yale.edu


 [Quoted text hidden]
                        Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 137 of 198
Hill, Jessie <jessie.hill@yale.edu>                                                              Sun, Oct 20, 2019 at 5:36 PM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


 Dear Jakub,



 Hope you’ve had a nice break. First, my apology, as I checked and see that while I filed your letter of academic warning
 in May I did not forward you a copy. I’m sorry about that. While you are correct that the academic regulations place the
 onus on the student to track their progress, I do make it a practice to inform my students directly. I checked my sent batch
 from the spring and yours was not among them. I regret the omission.



 Let’s definitely meet before Nov. 14 to set as positive a plan as we can for the second half of the term. When are you
 availavle this week?



 Best,

 Dean Hill

 [Quoted text hidden]



Jakub Madej <jakub.madej@yale.edu>                                                              Sun, Oct 20, 2019 at 11:00 PM
To: "Hill, Jessie" <jessie.hill@yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>

 This week is difficult for me but I suggest next Tuesday or Wednesday. The 2 pm - 4 pm time slot works best for me but I
 can come any time during these days. Let me know what works best for you.

 Best,
 Jakub

 Jakub Madej | Class of 2020, Yale College | P.O. Box 204000, New Haven, CT 06520-4000 | (203)-928-8486 |
 jakub.madej@yale.edu


 [Quoted text hidden]



Hill, Jessie <jessie.hill@yale.edu>                                                             Thu, Oct 24, 2019 at 11:04 AM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


 Hi Jakub,



 Tuesday the 29th at 2:00 works well. Look forward to seeing you then.

 [Quoted text hidden]



Jakub Madej <jakub.madej@yale.edu>                                                              Thu, Oct 24, 2019 at 11:08 AM
To: Jessie Royce Hill <jessie.hill@yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>

 Great! Thanks.

 Jakub
 [Quoted text hidden]
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8K
Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 139 of 198




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                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 14
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

             Communication with Mark Schenker
                    Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 140 of 198

                                                                                                  Jakub Madej <jakub.madej@yale.edu>



Reply Requested - Your Petition to the Committee on Honors and Academic Standing
(MJS)
2 messages

Schenker, Mark <mark.schenker@yale.edu>                                                          Wed, Jan 15, 2020 at 12:05 PM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>
Cc: "Insley, Sarah" <sarah.insley@yale.edu>, "Hill, Jessie" <jessie.hill@yale.edu>, "Tracey, Michelle"
<michelle.tracey@yale.edu>


  [Please acknowledge receipt of this le er. A signed hard copy will also be provided to you. -MJS]




  Yale College
                                                           Office of the Dean                         Campus address:

                                                           P.O. Box 208241                          Grove & Prospect Streets

                                                           New Haven, CT 06520-8241                   Telephone: (203) 432-2900

                                                                                                      Fax: (203) 432-7369



  15 January 2020




  Mr. Jakub Madej

  c/o Benjamin Franklin College Dean’s Office



  sent also via email



  Dear Mr. Madej,



  As you already know from my email to you of this past Monday evening, the Committee on Academic Standing met on 13 January to
  consider your petition for an exception to the Academic Regulations regarding withdrawal for academic reasons. As you also know, the
  Committee voted not to grant your request. As a result, your withdrawal from College for academic reasons has been reinstated. As I
  previously informed you, you have until 8 pm on Thursday 16 January—72 hours from my emailed notice to you of the Committee’s
  action—to turn in your ID card and any other University property (such as keys or access devices) to the office of your residential
  college dean. You will not be charged tuition for spring term 2019-2020, but there may be a prorated charge for room and board, if
  relevant. You will want to be sure to consult with the Office of Financial Aid, if relevant, and with the Office of International Students
  and Scholars.
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Please consult closely with Dean Hill about this withdrawal and the routes available to you for the completion of your degree
requirements.



The Committee is made up of tenured and non-tenured members of the Yale College Faculty, representatives of the Yale College Dean’s
Office, and undergraduate students. I serve as Chairman. In advance of the meeting, each of the members of the Committee had received
a copy of: your (dated 8 January); a cover letter (8 January) from the residential college dean in the form on an email; a letter from Dean
Hill to you (6 January) informing you of this academic withdrawal; and your academic record.



The members reviewed these materials with care, and with special attention to the grade of F you earned last term in ECON 456, which
grade resulted in your withdrawal from Yale College for academic reasons. Noting that your “argument” that the “Grade of ‘F’ in ECON
456 Wasn’t Justified” was the last of those you presented in your petition, members could find no grounds for agreeing with your view of
that grade. The Committee observed that you stated in your petition that you “made a series of easily avoidable mistakes” and that you
submitted the final paper after the deadline.



They noted also that, while it is regrettable that the BF Dean’s Office did not send you in May a letter informing you that you would be
on Academic Warning (AW) in for the fall term of 2019-2020, you had been informed of this consequence by the BF Dean’s Office
senior administrative assistant in spring 2019, when you withdrew from MATH 251 after midterm, thereby having a course schedule that
would earn no more than two course credits, which is a condition of AW. They noted also that Dean Hill subsequently gave you a copy of
the AW letter in August and that by your own account, you were aware of your AW status in October, well before the end of the fall
term.



Lastly, the Committee was mindful of what the Academic Regulations have to say about Academic Warning:



         Academic Warning is an indication that a student’s scholastic record is unsatisfactory. Students on
         Academic Warning who do not pass all of their courses in the term in which they are on Academic
         Warning will be dismissed for academic reasons. No matter how many course credits a student has
         earned, Academic Warning is automatic in the following cases: (a) failure in one term to earn more
         than two course credits; (b) a record that shows two grades of F in one term; (c) in two successive
         terms, a record that shows a grade of F for any course. The college deans attempt to give
         written notification of Academic Warning to students whose records show these
         deficiencies, but such students should regard themselves as being on warning even in
         the absence of written notification. A student permitted to continue in Yale College with fewer
         than the number of course credits ordinarily required for academic good standing may be placed
         on Academic Warning, and in such a case the student will be notified that he or she has been
         placed on warning. See section D, Promotion and Good Standing, “Requirements for Academic
         Good Standing.” The Committee on Honors and Academic Standing may at its discretion disqualify
         a student on Academic Warning from participation in recognized University organizations.



                                     [Chapter II, Section I, “Academic Penalties and Restrictions,”

                                     Yale College Program of Study, 2019-2020; emphasis added]




In the end, the Committee could find no grounds for granting you the exception you were seeking and so voted without dissent not to
approve your request. As a result, the grade of F recorded for you in ECON 456 will stand. Your withdrawal from Yale College for
academic reasons has already been processed; you will want to be in close contact with your dean and with the Office of International
Students and Scholars.
                    Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 142 of 198
 The members join me in the hope that as you move forward you will consider the full ramifications of your statement that “I don’t think
 Academic Regulations apply differently to me than to any other student at Yale.” And as importantly, that you give serious thought to
 how you wish to manage your study in Yale College before you re-engage in it following your current withdrawal and future
 reinstatement.




 Yours sincerely,




 Mark J. Schenker

 Dean of Academic Affairs



 cc:   Dean Jessie Royce Hill, Benjamin Franklin College

       Dean Sarah E. Insley, Secretary of the Committee on Honors & Academic Standing

       Ms. Emily Shandley, University Registrar




Jakub Madej <jakub.madej@yale.edu>                                                            Fri, Jan 17, 2020 at 6:17 AM
To: "Schenker, Mark" <mark.schenker@yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>, "Insley, Sarah" <sarah.insley@yale.edu>, "Hill, Jessie"
<jessie.hill@yale.edu>, "Tracey, Michelle" <michelle.tracey@yale.edu>

 Dear Mr Schenker,

 I confirm that I have received your e-mail, and read it with care yesterday. Michelle passed a hard copy to me when I
 came to pick up my other mail from Benjamin Franklin's College Office.

 I have already consulted with the Office of Financial Aid and with the Office of International Students and Scholars --
 Ozan Say was welcoming and helpful, as always. I assume that the explanation for the Committee's decision you provided
 in your e-mail is final, and I won't receive any further official documents or explanations regarding this decision. But
 please correct me if I am wrong.

 I believe that a number of crucial points I made in my petition have not been satisfactorily addressed, and two important
 statements regarding my AW in the Committee's explanation are factually untrue, or simply false. Is there a way, formal
 or informal, to appeal from the decision on my case within Yale College or Yale University? If so, what would it be?
 Unfortunately, Undergraduate Regulations provide little guidance on this matter, as they did regarding my first appeal to
 this Committee, so I thought I would ask directly. I'm also interested in understanding the procedure by which the
 Committee reaches its final decision and how many members were sitting on the Committee on that day; is this
 information available?

 In any case, I would like to better understand the Committee's thinking that led to this outcome. I think it would be more
 effective for everyone to speak in person than exchange e-mails. When would you be available to talk about this? How do
 I schedule an appointment with you? I was told your office is located on 1 Prospect Street, close to the Psychology
 Department.

 I will contact Dean Hill separately with my other questions, including those about reinstatement.

 Thanks,
 Jakub

 Jakub Madej | Class of 2020, Yale College (?) | P.O. Box 204000, New Haven, CT 06520-4000 | (203)-928-8486 |
 jakub.madej@yale.edu
                       Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 143 of 198
if you ever need to reach me quickly, just call (203)-928-8486. i will pick up or call you back


[Quoted text hidden]
                 Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 144 of 198

                                                                                        Jakub Madej <jakub.madej@yale.edu>



Madej BF '20 - In repply to your email of 17 January
1 message

Schenker, Mark <mark.schenker@yale.edu>                                                     Mon, Jan 20, 2020 at 2:30 PM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>, "Insley, Sarah" <sarah.insley@yale.edu>, "Hill, Jessie"
<jessie.hill@yale.edu>, "Tracey, Michelle" <michelle.tracey@yale.edu>


 Dear Mr. Madej,



 I have attached a corrected version of my letter to you, and can have a signed hard copy mailed to a postal address you
 provide. I regret my error (which had no bearing on the members’ deliberations nor vote) and any confusion it may have
 caused you.



 The Committee’s decision is indeed final, and my letter to you of 15 January (corrected 19 January, and included also below)
 provides the grounds for the Committee’s denial of your request. There will be no further formal written communication from
 me on behalf of the Committee regarding your petition nor the members’ action.



 As to your question below: the Committee on Honors and Academic has seven voting members, and can act on petitions
 and other matters requiring a vote with a quorum of four members present. The number of members present and voting on
 your request exceeded that minimum number.



 I cannot agree that it would be “more effective for everyone to speak in person.” As you have already seen, the Committee
 does it work via written statements and documents. Given this fact, and that I neither had a vote in the members’ decision
 nor am I empowered to alter it, I ask that you send me any questions or concerns in writing, and I will do my best to reply to
 you as soon as I am able, within the limits of what I have written above (that is, I will not be speaking for the members
 regarding your petition nor the Committee’s vote).



 Sincerely,



 Mark J. Schenker

 Dean of Academic Affairs




 From: Jakub Madej <jakub.madej@yale.edu>
 Date: Friday, January 17, 2020 at 6:18 AM
 To: "Schenker, Mark" <mark.schenker@yale.edu>
 Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>, "Insley, Sarah"
 <sarah.insley@yale.edu>, "Hill, Jessie" <jessie.hill@yale.edu>, "Tracey, Michelle"
 <michelle.tracey@yale.edu>
 Subject: Re: Reply Requested - Your Petition to the Committee on Honors and Academic Standing
 (MJS)
                 Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 145 of 198


Dear Mr Schenker,



I confirm that I have received your e-mail, and read it with care yesterday. Michelle passed a hard copy to me when I
came to pick up my other mail from Benjamin Franklin's College Office.



I have already consulted with the Office of Financial Aid and with the Office of International Students and Scholars --
Ozan Say was welcoming and helpful, as always. I assume that the explanation for the Committee's decision you provided
in your e-mail is final, and I won't receive any further official documents or explanations regarding this decision. But
please correct me if I am wrong.



I believe that a number of crucial points I made in my petition have not been satisfactorily addressed, and two important
statements regarding my AW in the Committee's explanation are factually untrue, or simply false. Is there a way, formal
or informal, to appeal from the decision on my case within Yale College or Yale University? If so, what would it be?
Unfortunately, Undergraduate Regulations provide little guidance on this matter, as they did regarding my first appeal to
this Committee, so I thought I would ask directly. I'm also interested in understanding the procedure by which the
Committee reaches its final decision and how many members were sitting on the Committee on that day; is this
information available?



In any case, I would like to better understand the Committee's thinking that led to this outcome. I think it would be more
effective for everyone to speak in person than exchange e-mails. When would you be available to talk about this? How do
I schedule an appointment with you? I was told your office is located on 1 Prospect Street, close to the Psychology
Department.



I will contact Dean Hill separately with my other questions, including those about reinstatement.



Thanks,

Jakub

__________________




Yale College
                                                          Office of the Dean                        Campus address:

                                                          P.O. Box 208241                           Grove & Prospect Streets

                                                          New Haven, CT 06520-8241                  Telephone: (203) 432-2900

                                                                                                    Fax: (203) 432-7369




{CORRECTION to letter of 15 January 2020, underlined in the 5th paragraph below. The error was entirely mine. The members had the
correct information in the materials they received, as I did myself. I regret that I made the mistake in composing my first letter to you. -
MJS ]
                  Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 146 of 198



19 January 2020




Mr. Jakub Madej BF ‘20

c/o Benjamin Franklin College Dean’s Office



sent also via email



Dear Mr. Madej,



As you already know from my email to you of this past Monday evening, the Committee on Academic Standing met on 13 January to
consider your petition for an exception to the Academic Regulations regarding withdrawal for academic reasons. As you also know, the
Committee voted not to grant your request. As a result, your withdrawal from College for academic reasons has been reinstated. As I
previously informed you, you have until 8 pm on Thursday 16 January—72 hours from my emailed notice to you of the Committee’s
action—to turn in your ID card and any other University property (such as keys or access devices) to the office of your residential
college dean. You will not be charged tuition for spring term 2019-2020, but there may be a prorated charge for room and board, if
relevant. You will want to be sure to consult with the Office of Financial Aid, if relevant, and with the Office of International Students
and Scholars.



Please consult closely with Dean Hill about this withdrawal and the routes available to you for the completion of your degree
requirements.



The Committee is made up of tenured and non-tenured members of the Yale College Faculty, representatives of the Yale College Dean’s
Office, and undergraduate students. I serve as Chairman. In advance of the meeting, each of the members of the Committee had received
a copy of: your petition (dated 8 January); a cover letter (8 January) from the residential college dean in the form on an email; a letter
from Dean Hill to you (6 January) informing you of this academic withdrawal; and your academic record.



The members reviewed these materials with care, and with special attention to the grade of F you earned last term in ECON 456, which
grade resulted in your withdrawal from Yale College for academic reasons. Noting that your “argument” that the “Grade of ‘F’ in ECON
456 Wasn’t Justified” was the last of those you presented in your petition, members could find no grounds for agreeing with your view of
that grade. The Committee observed that you stated in your petition that you “made a series of easily avoidable mistakes” and that you
submitted the final paper after the deadline.



They noted also that, while it is regrettable that the BF Dean’s Office did not send you in May a letter informing you that you would be
on Academic Warning (AW) in for the fall term of 2019-2020, you had been informed of this consequence by the BF Dean’s Office
senior administrative assistant in spring 2019, when you withdrew from MATH 251 after midterm, thereby having a course schedule that
would earn no more than two course credits, which is a condition of AW. They noted also that Dean Hill subsequently sent you a copy of
the AW letter in October and that by your own account, you were aware of your AW status in October, well before the end of the fall
term.



Lastly, the Committee was mindful of what the Academic Regulations have to say about Academic Warning:
                   Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 147 of 198


          Academic Warning is an indication that a student’s scholastic record is unsatisfactory. Students on
          Academic Warning who do not pass all of their courses in the term in which they are on Academic
          Warning will be dismissed for academic reasons. No matter how many course credits a student has
          earned, Academic Warning is automatic in the following cases: (a) failure in one term to earn more
          than two course credits; (b) a record that shows two grades of F in one term; (c) in two successive
          terms, a record that shows a grade of F for any course. The college deans attempt to give
          written notification of Academic Warning to students whose records show these
          deficiencies, but such students should regard themselves as being on warning even in
          the absence of written notification. A student permitted to continue in Yale College with fewer
          than the number of course credits ordinarily required for academic good standing may be placed
          on Academic Warning, and in such a case the student will be notified that he or she has been
          placed on warning. See section D, Promotion and Good Standing, “Requirements for Academic
          Good Standing.” The Committee on Honors and Academic Standing may at its discretion disqualify
          a student on Academic Warning from participation in recognized University organizations.



                                    [Chapter II, Section I, “Academic Penalties and Restrictions,”

                                    Yale College Program of Study, 2019-2020; emphasis added]




In the end, the Committee could find no grounds for granting you the exception you were seeking and so voted without dissent not to
approve your request. As a result, the grade of F recorded for you in ECON 456 will stand. Your withdrawal from Yale College for
academic reasons has already been processed; you will want to be in close contact with your dean and with the Office of International
Students and Scholars.



The members join me in the hope that as you move forward you will consider the full ramifications of your statement that “I don’t think
Academic Regulations apply differently to me than to any other student at Yale.” And as importantly, that you give serious thought to
how you wish to manage your study in Yale College before you re-engage in it following your current withdrawal and future
reinstatement.




Yours sincerely,



Mark J. Schenker

Dean of Academic Affairs



cc:   Dean Jessie Royce Hill, Benjamin Franklin College

      Dean Sarah E. Insley, Secretary of the Committee on Honors & Academic Standing

      Ms. Emily Shandley, University Registrar




      Madej CORRECTED No exception to regs re WD.doc
      Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 148 of 198
31K
Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 149 of 198




                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 15
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

            Communication with Jessie Royce Hill
                      January 2020
                 Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 150 of 198

                                                                                           Jakub Madej <jakub.madej@yale.edu>



your academic withdrawal
Hill, Jessie <jessie.hill@yale.edu>                                                                     Fri, Jan 3, 2020 at 12:56 PM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>
Cc: "Tracey, Michelle" <michelle.tracey@yale.edu>


 Dear Jakub,



 I write to let you know that having received an “F” in ECON 456 you will be withdrawn from Yale for two semesters, effective
 immediately. As your letter states (dated May 31 but forwarded to you on Oct. 10), students on Academic Warning who do
 not pass all of their courses in the term in which they are on Academic Warning will be dismissed for academic reasons.



 http://catalog.yale.edu/ycps/academic-regulations/academic-penalties-restrictions/



 I will send you an official letter this month, but wanted to be in touch right away. If you would like to discuss any of this by
 phone, I’m certainly available to you. I know this is tough news and I’m sending you my best.




 Jessie Royce Hill

 Dean of Benjamin Franklin College
 Yale University

 (203) 432-2934




      AR Jakub Madej.pdf
      9K
                 Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 151 of 198

                                                                                        Jakub Madej <jakub.madej@yale.edu>



updated Withdrawal Letter
3 messages

Hill, Jessie <jessie.hill@yale.edu>                                                                Tue, Jan 14, 2020 at 11:10 AM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


 Dear Jakub,



 Attached is an updated withdrawal letter (with a correction to the reinstatement date), for your records.



 Please let me know if you have any questions about the process.



 My best,

 Dean Hill




      Jakub Madej.pdf
      148K


Jakub Madej <jakub.madej@yale.edu>                                                                   Fri, Jan 17, 2020 at 2:25 PM
To: "Hill, Jessie" <jessie.hill@yale.edu>
Cc: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>
Bcc: j.macnar@columbia.edu

 Hi Dean Hill,

 I confirm that I received the letter. I noticed that my withdrawal date hasn't changed between the two letters, so I assume the
 only difference is a typo in possible reinstatement date.

 I do have a few questions about the procedure and my circumstances. It would be perhaps easier for everyone to talk in
 person – when would you be available in the near future, for example today or Monday? I am flexible regarding timing and
 location.

 Dean Schenker wrote in his response that the Committee reviewed, among other documents, a cover sheet from you
 regarding my case. Could I see this sheet in any form, electronic or paper? I am trying to understand the procedures and
 decision-making practices governing CHAS, which are not particularly transparent.

 I believe that I cc'ed you in my message to Dean Schenker. I haven't received a response from him as of now but it would be
 helpful if you could address the questions and concerns I included in the email. I can resend that email to you if you haven't
 received. I am particularly concerned about the fact that CHAS didn't address any of my arguments except for one, and
 didn't provide any explanation for doing so.

 On a different note, I have two appointments scheduled with the Mental Health Department at Yale Health in January, and I
 was referred to therapy that would most likely start in February. How does coverage look like for withdrawn students? How
 long does my coverage extend?
                        Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 152 of 198

 I'm in touch with OISS regarding immigration issues, as suggested in Dean Schenker's email. They're very helpful.

 If it's easier for you to call me, my number is 203-928-8486.

 Best,
 Jakub
 [Quoted text hidden]



Hill, Jessie <jessie.hill@yale.edu>                                                                  Mon, Jan 20, 2020 at 3:34 PM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>


 Dear Jakub,



 I see that Dean Schenker has replied to your message, along with a corrected letter.



 As a withdrawn student, you will not be eligible for services at Yale Health, including MH&C. If you’re planning to stay in
 New Haven during your year away you might look into Connecticut Mental Health Center on Park St, which provides low
 cost treatment. It won’t be as flexible as a private clinician’s services, but if cost is prohibitive it may be worth exploring.
 You can also ask Yale Health for a referral.



 Best,

 Dean Hill

 [Quoted text hidden]
Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 153 of 198




                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 16
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

                Communication with Ozan Say
                      January 2020
                 Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 154 of 198

                                                                                         Jakub Madej <jakub.madej@yale.edu>



Important Immigration: Withdrawal from Yale College
5 messages

yasar.say@yale.edu <yasar.say@yale.edu>                                                              Mon, Jan 6, 2020 at 3:20 PM
To: jakub.madej@yale.edu

  Office of International Students and Scholars

   Dear Jakub,

   I hope you are well. OISS has now been notified that you have been withdrawn from Yale College, determined on January
   2, 2020 and effective from December 18, 2019. I hope this brief time away from Yale will provide you the time to recharge
   and it will be productive. I am now writing to explain the immigration consequences of this action.


       1. Students who are not registered full time no longer continue to maintain F-1 student status and must depart the
          U.S. within 15 days of the effective date of the withdrawal (in your case you need to leave by Friday, January 17th).
          This means that you cannot legally remain in the US in F-1 status during your withdrawal period and that your
          current F-1 record will be deactivated. If you are still in New Haven and would like to discuss your withdrawal
          further, please make an appointment with me to meet either in person or by phone. If you do not need to meet with
          me or if you have already left the US, please respond to this email and confirm your date of departure.
       2. The Yale College Reinstatement process is outlined in the YCPS. If you have questions about the reinstatement
          process you can talk with your Residential College Dean or with Dean Risa Sodi.
       3. If you decide to apply for reinstatement for Spring 2021 or later, contact me at least three months (October 2020) in
          advance so that I can guide you through the immigration steps. Upon confirmation that you have submitted a
          reinstatement application to Yale College we will be able to issue and send you a new I-20. Part of this process will
          entail submitting new financial certification to cover expenses for the academic year of your return. If you need to
          apply for financial aid, you will submit your application as a continuing student. Once the new I-20 is issued you will
          need to apply for a new F-1 visa and pay a new SEVIS fee. You will use the new I-20 and F-1 visa to re-enter the
          U.S.

   Let me know if you have any questions or concerns.

   Wishing you all the best,
   Ozan



Jakub Madej <jakub.madej@yale.edu>                                                                   Mon, Jan 6, 2020 at 5:31 PM
To: "Say, Ozan" <yasar.say@yale.edu>

 Hi Ozan,

 I hope you had a great break, wherever you happened to be!

 I am currently appealing the academic withdrawal with the Committee on Honors and Academic Standing, and the grade of
 "F" that resulted in the withdrawal. I am happy to provide any information about this situation, but they have no bearing on
 the immigration matters and I am not including them here for now.

 I scheduled a meeting with you on Wednesday, January 15 for 3:40pm. I intend to pursue further action even if the
 Committee denies my petition, so I will come with questions regardless of how the situation evolves. Plus it's always fun to
 visit OISS and feel like at OIS again.

 On a more personal note, you were always of great help ever since I came to Yale in August 2016. You and other OISS
 members made my feel welcome and appreciated as I moved my life, relationships, commitments, and plans to the United
 States. I am unlikely to come back in 2021 in case other measures to resolve the ongoing dispute fail, and Yale and I don't
 achieve a mutually satisfactory outcome. None of this is personal, especially with regards to you or anyone at OISS but you
 were always of great help for me, so I simply wanted to say: thanks.
Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 155 of 198




                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 20
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

                  Jakub Madej’s I-94 record
                  (as of February 23, 2020)
        Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 156 of 198



   For: JAKUB JONASZ MADEJ




         Most Recent I-94


         Admission (I-94) Record Number : 443085390A2
         Most Recent Date of Entry: 2020 January 15
         Class of Admission : B2
         Admit Until Date : 07/14/2020
         Details provided on the I-94 Information form:


        Last/Surname :                MADEJ
        First (Given) Name :          JAKUB JONASZ
        Birth Date :                  1996 XXXXXXXX
        Passport Number :             EN9890XXX
        Country of Issuance :         Poland




          Effective April 26, 2013, DHS began automating the admission process. An alien lawfully admitted or paroled into the U.S. is no
       longer required to be in possession of a preprinted Form I-94. A record of admission printed from the CBP website constitutes a
       lawful record of admission. See 8 CFR § 1.4(d).

         If an employer, local, state or federal agency requests admission information, present your admission (I-94) number along with
       any additional required documents requested by that employer or agency.

         Note: For security reasons, we recommend that you close your browser after you have finished retrieving your I-94 number.
                                                                                                                                OMB No. 1651-0111
                                                                                                                        Expiration Date: 02/29/2020


                           For inquiries or questions regarding your I-94, please click here

                                                 Accessibility|Privacy Policy




                                             ----------------------------------------------------------------------------
                                             (1) Birth month and date, and (2) Three last digits of passport
                                             number have been redacted before filing.

                                                                                                /s/ Jakub Madej
                                             ----------------------------------------------------------------------------
         Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 157 of 198



Passport Number : EN9890856
Passport Country of Issuance : Poland



        Date                       Type                   Location

1       2020-01-15                 Arrival                HIG

2       2020-01-14                 Departure              328
Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 158 of 198




                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 21
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

       Jakub Madej’s Financial Aid Letters and History
                    Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 159 of 198
                                                                                     Last five digits of SID have been redacted before filing.
                                                                                                                                     /s/ Jakub Madej
                                                                                     -------------------------------------------------------------------


Jakub Jonasz Madej                                                                                                                January 14, 2020
1245 Chapel St                                                                                                                  SID: 9164XXXXX
New Haven, CT 06511

The Office of Undergraduate Financial Aid has adjusted your 2019-2020 financial aid award. Your eligibility for financial aid has changed
based on our recent evaluation of new or updated information. Please refer to the Special Notes section for a more detailed explanation of
this adjustment. If we can provide you any additional information or if you have questions, please contact us.



                                     Revised Financial Aid Award 2019-2020
  Estimated Cost to Attend Yale

  Tuition                                                                  55,500     Billed Expenses are charges billed by Yale and will
  Room and Board                                                           16,600     appear on your Student Account statement.
  Student Activity Fee                                                        125     Unbilled expenses are not paid directly to Yale and do
  Senior Expenses                                                             200     not appear on any bill. The amounts shown here are
  Hospitalization Insurance                                                     0     estimates to help you plan for expenses you may incur
  Billed Expenses:                                                         72,425     throughout the year.
                                                                                      The Estimated Cost of Attendance includes Billed and
  Books/Personal Expenses                                                   3,700     Unbilled expenses for the 2019-20 academic year.
  Travel Expenses                                                           1,000
  Vacation Expenses                                                         1,500
  Budget Supplement                                                           600
  Estimated Unbilled Expenses:                                              6,800

  Estimated Cost of Attendance:                                           $79,225


  Gift Aid

                                                    Fall      Spring         Year     Gift aid does not need to be repaid.
  Yale Scholarship                               36,888            0       36,888     The grants and scholarships shown reflect our
  Supplemental Allowance                            300            0          300     calculation of your demonstrated need for gift aid.
  Vacation Allowance                                750            0          750

  Total Gift Aid:                                37,938            0      $37,938


  Expected Family Contribution

  Calculated Family Contribution:                                          $1,675     Parent and Student Share figures shown are suggested
  Parent Share                                                                  0     divisions of Billed and Unbilled expenses based on our
  Student Share                                                                 0     assessment of your family's combined ability to pay.
  Student Campus Employment Option                                          1,675     Families will decide how to divide the Expected
                                                                                      Family Contribution and how to cover specific Billed
  Other Payment Options and Resources                                                 and Unbilled expenses.
   Yale Payment Plan                                                                  Scholarship funds from outside sources can reduce the
   Outside Scholarship/Aid                                                            Student Share.
   Campus Employment Option                                                           Students and parents have the option to finance some
   Student and Parent Loans                                                           or all of their Expected Family Contribution with a
                                                                                      loan. Details on this and other payment options are
                                                                                      included with your award.
               Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 160 of 198
                                                                                                    JAKUB JONASZ MADEJ / SID 916421456 / PAGE 2 OF 2

Special Notes about Your Award

 You qualify for a Supplemental Allowance. This additional scholarship will be paid directly to your Yale Student Account.
 We have revised your award due to your withdrawal from Yale College. Once we make all the necessary adjustments to your account, we
 expect your account balance to be zero.
           Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 161 of 198

                                                                                        Last five digits of SID have been redacted before filing.
                                                                                                                                           /s/ Jakub Madej
Award History                                                                           ------------------------------------------------------------------------
                                                                                                                        9164XXXXX Jakub J. Madej
                                                                                                                            Feb 14, 2020 08:46 pm
          This is your financial aid award history arranged by aid year. To obtain more detailed
          information about a Direct, Stafford, PLUS, or alternative (private) loan listed below, click
          Loan Application History.



 History for the 2019-2020 aid year


  Fund                     Offered      Accepted      Declined    Cancelled    Total        Paid to Date

  Yale Scholarship         $36,888.00    $36,888.00                            $36,888.00          $36,888.00

  Supplemental Allowance     $300.00       $300.00                               $300.00              $300.00

  Vacation Allowance         $750.00       $750.00                               $750.00              $750.00

  Yale Term-time Job        $1,675.00                                           $1,675.00                $0.00

  Total                    $39,613.00    $37,938.00       $0.00        $0.00   $39,613.00          $37,938.00




                 No outside resource information is available for you at this time. Please contact your financial aid office if you
                 have questions.



 History for the 2018-2019 aid year


  Fund                     Offered      Accepted      Declined    Cancelled    Total        Paid to Date

  Yale Scholarship         $70,830.00    $70,830.00                            $70,830.00          $70,830.00

  Supplemental Allowance     $600.00       $600.00                               $600.00              $600.00

  Vacation Allowance        $1,500.00     $1,500.00                             $1,500.00           $1,500.00

  Yale Term-time Job        $3,350.00                                           $3,350.00                $0.00

  Total                    $76,280.00    $72,930.00       $0.00        $0.00   $76,280.00          $72,930.00




                 No outside resource information is available for you at this time. Please contact your financial aid office if you
                 have questions.



 History for the 2017-2018 aid year


  Fund                     Offered      Accepted      Declined    Cancelled    Total        Paid to Date

  Yale Scholarship         $70,552.00    $70,552.00                            $70,552.00          $70,552.00

  Supplemental Allowance     $600.00       $600.00                               $600.00              $600.00

  Vacation Allowance        $1,500.00     $1,500.00                             $1,500.00           $1,500.00

  Yale Term-time Job        $3,350.00                                           $3,350.00                $0.00

  Total                    $76,002.00    $72,652.00       $0.00        $0.00   $76,002.00          $72,652.00




                 No outside resource information is available for you at this time. Please contact your financial aid office if you
                 have questions.



 History for the 2016-2017 aid year


  Fund                     Offered      Accepted      Declined    Cancelled    Total        Paid to Date
              Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 162 of 198
    Yale Scholarship            $67,644.00   $67,644.00                         $67,644.00    $67,644.00

    Intern'l Travel Allowance    $1,000.00    $1,000.00                          $1,000.00     $1,000.00

    First Year Allowance         $1,000.00    $1,000.00                          $1,000.00     $1,000.00

    Vacation Allowance           $1,500.00    $1,500.00                          $1,500.00     $1,500.00

    Yale Term-time Job           $2,850.00    $2,850.00                          $2,850.00         $0.00

    Total                       $73,994.00   $73,994.00    $0.00        $0.00   $73,994.00    $71,144.00




                    No outside resource information is available for you at this time. Please contact your financial aid office if you
                    have questions.


   Back to Top


     Award By Aid Year             Award Payment Schedule          Loan Application History       Cost of Attendance




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RELEASE: 8.24.0.1Y
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                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 22
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

             Committee Notice of Petition Denial
                       January 2020
                Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 164 of 198

                                                                                      Jakub Madej <jakub.madej@yale.edu>



CHAS result - Jakub Madej BF '20
Schenker, Mark <mark.schenker@yale.edu>                                                        Mon, Jan 13, 2020 at 6:44 PM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>
Cc: "Hill, Jessie" <jessie.hill@yale.edu>, "Kuhlman, Ann" <ann.kuhlman@yale.edu>, "Say, Ozan" <yasar.say@yale.edu>


 Dear Mr. Madej:


 In the interest of time, I am sending this brief notice to you now, with Dean Hill and the OISS cc’d. I
 will send you a fuller letter on behalf of the Committee later this week:
         At its meeting this afternoon the Committee on Honors and Academic Standing voted without
         dissent not to approve your petition for an exception to the Academic Regulations concerning
         withdrawal for academic reasons. As a result, your withdrawal for academic reasons is hereby
         reinstated and you will have 72 hours from 8 pm this evening to turn in your ID card and any
         other University property (such as keys or access devices) to the office of your residential
         college dean. You will not be charged tuition for spring term 2019-2020, but there may be a
         prorated charge for room and board, if relevant. You will want to be sure to consult with the
         Office of Financial Aid—again, if relevant.
 While I understand that this note brings unwelcome news, Mr. Madej, in the end the members agreed
 with the statement you yourself made near the end of your petition: “I don’t think Academic
 Regulations apply differently to me than to any other student at Yale.”
 Sincerely,
 Mark J. Schenker, Dean of Academic Affairs




 From: Jakub Madej <jakub.madej@yale.edu>
 Date: Thursday, January 9, 2020 at 5:22 PM
 To: "Schenker, Mark" <mark.schenker@yale.edu>
 Cc: "Hill, Jessie" <jessie.hill@yale.edu>
 Subject: Re: Reply requested


 Dear Mr Schenker,



 I appreciate this concrete message.



 I confirm that I have received your e-mail, and that I understand my withdrawal has been provisionally rescinded while the
 Committee makes its final decision regarding my petition.
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                                  U.S. District Court, District of Connecticut
                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 23
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

          Committee Justification of Petition Denial
                       January 2020
                    Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 166 of 198

                                                                                                  Jakub Madej <jakub.madej@yale.edu>



Reply Requested - Your Petition to the Committee on Honors and Academic Standing
(MJS)
Schenker, Mark <mark.schenker@yale.edu>                                                          Wed, Jan 15, 2020 at 12:05 PM
To: "jakub.madej@yale.edu" <jakub.madej@bulldogs.yale.edu>
Cc: "Insley, Sarah" <sarah.insley@yale.edu>, "Hill, Jessie" <jessie.hill@yale.edu>, "Tracey, Michelle"
<michelle.tracey@yale.edu>


  [Please acknowledge receipt of this le er. A signed hard copy will also be provided to you. -MJS]




  Yale College
                                                           Office of the Dean                         Campus address:

                                                           P.O. Box 208241                          Grove & Prospect Streets

                                                           New Haven, CT 06520-8241                   Telephone: (203) 432-2900

                                                                                                      Fax: (203) 432-7369



  15 January 2020




  Mr. Jakub Madej

  c/o Benjamin Franklin College Dean’s Office



  sent also via email



  Dear Mr. Madej,



  As you already know from my email to you of this past Monday evening, the Committee on Academic Standing met on 13 January to
  consider your petition for an exception to the Academic Regulations regarding withdrawal for academic reasons. As you also know, the
  Committee voted not to grant your request. As a result, your withdrawal from College for academic reasons has been reinstated. As I
  previously informed you, you have until 8 pm on Thursday 16 January—72 hours from my emailed notice to you of the Committee’s
  action—to turn in your ID card and any other University property (such as keys or access devices) to the office of your residential
  college dean. You will not be charged tuition for spring term 2019-2020, but there may be a prorated charge for room and board, if
  relevant. You will want to be sure to consult with the Office of Financial Aid, if relevant, and with the Office of International Students
  and Scholars.
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Please consult closely with Dean Hill about this withdrawal and the routes available to you for the completion of your degree
requirements.



The Committee is made up of tenured and non-tenured members of the Yale College Faculty, representatives of the Yale College Dean’s
Office, and undergraduate students. I serve as Chairman. In advance of the meeting, each of the members of the Committee had received
a copy of: your (dated 8 January); a cover letter (8 January) from the residential college dean in the form on an email; a letter from Dean
Hill to you (6 January) informing you of this academic withdrawal; and your academic record.



The members reviewed these materials with care, and with special attention to the grade of F you earned last term in ECON 456, which
grade resulted in your withdrawal from Yale College for academic reasons. Noting that your “argument” that the “Grade of ‘F’ in ECON
456 Wasn’t Justified” was the last of those you presented in your petition, members could find no grounds for agreeing with your view of
that grade. The Committee observed that you stated in your petition that you “made a series of easily avoidable mistakes” and that you
submitted the final paper after the deadline.



They noted also that, while it is regrettable that the BF Dean’s Office did not send you in May a letter informing you that you would be
on Academic Warning (AW) in for the fall term of 2019-2020, you had been informed of this consequence by the BF Dean’s Office
senior administrative assistant in spring 2019, when you withdrew from MATH 251 after midterm, thereby having a course schedule that
would earn no more than two course credits, which is a condition of AW. They noted also that Dean Hill subsequently gave you a copy of
the AW letter in August and that by your own account, you were aware of your AW status in October, well before the end of the fall
term.



Lastly, the Committee was mindful of what the Academic Regulations have to say about Academic Warning:



         Academic Warning is an indication that a student’s scholastic record is unsatisfactory. Students on
         Academic Warning who do not pass all of their courses in the term in which they are on Academic
         Warning will be dismissed for academic reasons. No matter how many course credits a student has
         earned, Academic Warning is automatic in the following cases: (a) failure in one term to earn more
         than two course credits; (b) a record that shows two grades of F in one term; (c) in two successive
         terms, a record that shows a grade of F for any course. The college deans attempt to give
         written notification of Academic Warning to students whose records show these
         deficiencies, but such students should regard themselves as being on warning even in
         the absence of written notification. A student permitted to continue in Yale College with fewer
         than the number of course credits ordinarily required for academic good standing may be placed
         on Academic Warning, and in such a case the student will be notified that he or she has been
         placed on warning. See section D, Promotion and Good Standing, “Requirements for Academic
         Good Standing.” The Committee on Honors and Academic Standing may at its discretion disqualify
         a student on Academic Warning from participation in recognized University organizations.



                                     [Chapter II, Section I, “Academic Penalties and Restrictions,”

                                     Yale College Program of Study, 2019-2020; emphasis added]




In the end, the Committee could find no grounds for granting you the exception you were seeking and so voted without dissent not to
approve your request. As a result, the grade of F recorded for you in ECON 456 will stand. Your withdrawal from Yale College for
academic reasons has already been processed; you will want to be in close contact with your dean and with the Office of International
Students and Scholars.
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The members join me in the hope that as you move forward you will consider the full ramifications of your statement that “I don’t think
Academic Regulations apply differently to me than to any other student at Yale.” And as importantly, that you give serious thought to
how you wish to manage your study in Yale College before you re-engage in it following your current withdrawal and future
reinstatement.




Yours sincerely,




Mark J. Schenker

Dean of Academic Affairs



cc:   Dean Jessie Royce Hill, Benjamin Franklin College

      Dean Sarah E. Insley, Secretary of the Committee on Honors & Academic Standing

      Ms. Emily Shandley, University Registrar
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                                    CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 24
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

         [MOTION TO SEAL FILED – February 23, 2020]
                REDACTED version follows
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Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 181 of 198
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                                    U.S. District Court, District of Connecticut
                                      CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 25
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

                   Official Letter of Withdrawal
                          (January 2020)
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Yale College                              Benjamin Franklin College     Campus address:
                                          Office of the Dean            90 Prospect Street
                                          P.O. Box 208374               Telephone: (203) 432-2934
                                          New Haven, CT 06520-8374      Fax: (203) 432-8083
January 6, 2020

Jakub Madej
Os. 2 Pulku Lotniczego 16/157
Malopolskie
31-868 Cracow, Poland

Dear Jakub,

Enclosed is the official notification from the Yale College Committee on Honors and Academic Standing
of your withdrawal for academic reasons, effective December 18, 2019.

In examining your record, we observed that you earned a grade of F in ECON 456 during the Fall 2019
term and that you were placed on Academic Warning for that same term. As you know from the academic
regulations, any record that shows a grade of F for a student on Academic Warning in that term will result
in that student’s dismissal for academic reasons.

The Yale College Programs of Study’s Academic Regulations determine the conditions of withdrawal and
reinstatement, and I urge you to read carefully the relevant paragraphs in Section J carefully
(http://catalog.yale.edu/ycps/academic-regulations/leave-of-absence-withdrawal-reinstatement). I especially
call your attention to the following points:
    • Students whose withdrawal was for academic reasons must remain away for at least one fall term
         and one spring term, in either order, not including the term in which the withdrawal occurred.
    • For reinstatement to a fall term, the application deadline is June 1. For reinstatement to a spring
         term, the application deadline is November 1. These deadlines are strictly enforced.

Thus, the conditions of your reinstatement are the following. The earliest term to which you may be
reinstated is spring 2020; however, you may also elect to wait until a later term, if you prefer. You must
successfully complete two term courses in Yale Summer Session or at an accredited, four-year, Bachelor’s
degree-granting institution and earn grades of A or B. Courses taken elsewhere, as well as the institution at
which they are taken, should be cleared in advance by the chair of the Committee on Reinstatement, Dean
Risa Sodi (risa.sodi@yale.edu). You must submit a complete application by the appropriate deadline, and
you must arrange for an interview with Dean Sodi after you have submitted your application.

Additional reinstatement information is available online, on the Yale College Reinstatement FAQ page
(https://yalecollege.yale.edu/academics/reinstatement-faq), including information about deadlines,
application forms and materials, course work, and contact information.

The Committee on Reinstatement expects students to maintain a satisfactory standard of conduct and to
remain constructively occupied while away from Yale. This may be done in many informal and formal
ways, such as work, volunteering, or taking time to explore other pursuits, and will depend on each
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student’s situation. In addition, withdrawn students may not stay in residences on campus, attend classes,
participate in student extracurricular activities, or make use of University libraries, athletic and other
facilities. Withdrawn students may be on campus only upon receiving prior permission from the Dean of
Student Affairs, Camille Lizarríbar (camille.lizarribar@yale.edu), or from me.

It is Yale College policy to inform parents or guardians in writing of any changes in a student’s academic
status, and so I will be sending a copy of this letter to your parents under separate cover.

Jakub, I hope that you will use your time away from Yale in a beneficial and rewarding manner and that
you will return to complete your degree in good order. Even while you are away, I remain your dean and
your primary campus contact. If I can be of any assistance, please do not hesitate to contact me.

Sincerely,




Jessie Royce Hill
Dean, Benjamin Franklin College
Yale University

Cc:    Mark J. Schenker, Dean of Academic Affairs
       Camille Lizarríbar, Dean of Student Affairs
       Risa Sodi, Assistant Dean of Academic Affairs and Chair, Committee on Reinstatement

Enc:   Academic record
       Report of action by the Committee on Honors and Academic Standing
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                                  U.S. District Court, District of Connecticut
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                         Exhibit 31
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

                Yale Daily News article about
              Plaintiff’s involuntary withdrawal
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




Student sues Yale alleging unfair
dismissal
OLIVIA TUCKER & MEERA SHOAIB | 1:28 AM, FEB 06,
2020
STAFF REPORTERS




                                                                           Yale News



A former member of the Yale College class of 2020 filed a lawsuit against
Yale on Jan. 30, alleging that the University unfairly forced him to withdraw
just a semester before his anticipated graduation date.

Jakub Madej ’20 — a former photo staffer and guest columnist at the News
— received a withdrawal notice on Jan. 3, while he was on winter recess in
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San Diego. The notice came after Madej was placed on academic warning

in the spring of his junior year and subsequently failed a course in the fall
of his senior year. The University automatically dismisses any student who
receives a failing grade in a course while on an academic warning.

As an international student from Poland on an F-1 visa, the withdrawal left
Madej with 15 days to leave the United States. Madej has since traveled to
Canada and re-entered the country on a visitor B-2 visa, which will allow
him to stay long enough to pursue his lawsuit.

“Yale isn’t the land of milk and honey,” Madej wrote in a Feb. 5 Facebook
post. “The line at Durfees could be shorter. The journalism seminar I loved
could be uncapped. I wish our dining halls were open throughout the day,
just like those at Columbia. I wish I didn’t have to sue Yale College for
unfairly withdrawing me, giving [me] 36 hours to leave the country, and
pretending all along nothing has ever happened.”

The economics major in Benjamin Franklin College filed the suit against
Yale, University President Peter Salovey, Yale College Dean Marvin Chun,
Dean of Academic Affairs Mark Schenker and Dean of Benjamin Franklin
College Jessie Royce Hill. Madej alleged in his complaint that Yale did not
notify him of the warning — which he incurred last spring for taking a two-
course schedule — until mid-October 2019. He also alleged that Yale
neglected to provide pre-approved accommodations — such as extended
time on assessments or permission to type exams — after a wrist injury
last fall.

University spokesperson Karen Peart declined to comment and explained
that Yale does not comment on pending litigation.

The demands in Madej’s civil complaint include a reassessment of
academic withdrawal policies and increased transparency, the
reinstatement of Madej as a student in good academic standing, and an
award to Madej of an amount exceeding $314,159 for breach of contract
and $121,232 for emotional distress.
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Madej said that he reduced his course load to two credits in the spring of

2019 to devote time to a Polish higher-education consulting business he
helped launch in February. According to his LinkedIn profile, he currently
serves as the firm’s “Chief Anti-Procrastination Officer.”

Most students typically take four or five credits in a semester, or, with their
dean’s permission, three credits. In his complaint, Madej stated that he
never received notice from the Yale administration that he would incur an
academic warning by reducing his course load. While his residential
college dean’s assistant claimed that he had informed the student, Madej
said that no proof of this notification exists.

According to Madej, Hill initially claimed that she notified him of the
warning last May, but upon further questioning, admitted that she had
filed the appropriate paperwork but never emailed a copy to him.
Schenker later claimed that Hill notified Madej in August, which he refuted
in the complaint.

According to Yale’s online academic regulations, a college dean is not
required to inform a student if they have been placed on academic
warning. Students who have not completed more than two course credits
in a term or have received two failing grades in a consecutive or single
term should “regard themselves as being on warning even in the absence
of written notification.”

The complaint stated that Madej was on track to graduate on time with the
class of 2020. However, the complaint also stated that by the end of his
seventh semester, he had only earned 29 of the 36 credits required for
graduation — meaning he would have had to take seven credits in his final
semester in order to graduate in the spring of 2020.

According to his complaint, Madej submitted his final report for an
advanced economics seminar to professor Michael Schmertzler in
December 2019 before leaving on a personal trip to China. Schmertzler
was unable to open the assignment file and notified Madej to that effect
over email. However, Madej was unable to access his Yale email account
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because all Google services are blocked in China. Consequently,

Schmertzler submitted a failing grade for Madej, triggering Madej’s
withdrawal.

Schmertzler told the News he was unaware of the suit, and declined to
comment.

At Yale, Madej studied economics and conducted research with Sterling
Professor of Economics Robert Shiller and former School of Management
Dean Edward Snyder. He also served as the editor-in-chief of Rumpus, a
campus tabloid that drew criticism in September 2018 for publishing jokes
making light of sexual assault.

Snyder declined to comment for the story.

In the complaint, Madej highlighted a lack of support from the Yale
administration and Office of Disabilities in making accommodations for his
mental and physical health.

After receiving the withdrawal notice from Yale on Jan. 3, Madej called Hill,
his college dean, who advised Madej to petition the Committee on Honors
and Academic Standing for reinstatement. According to Madej, he received
no guidance on relevant information to include in this petition and could
not find details on these procedures online or elsewhere. Madej therefore
wrote a 6,200-word document outlining nine separate arguments against
his withdrawal and submitted it to Hill, who forwarded it to the committee.

Madej said he was given just 40 minutes to retrieve his belongings from
Benjamin Franklin College on Jan. 13 and leave campus; that evening, the
chairman of the committee — Schenker — informed him that his petition
was denied “without dissent.” In an interview with the News, Madej said
that due to contradictory information from Schenker, he believes the
committee never read his petition.

Finding little other opportunities for recourse, Madej decided to file a
lawsuit under his own name and is representing himself in the
proceedings.
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“It’s easier for me to learn the law than a lawyer to learn my case,” Madej

said, citing the “unusual” circumstances of his withdrawal.

In an interview with the News, Madej highlighted the opaqueness of
withdrawals proceedings at Yale. Madej said that since his withdrawal, the
Committee on Honors and Academic Standing has been a “black box
committee” –– one that did not justify reasons for denying his petition or
give any information on channels for appeal. He said that, by contrast, the
process of appealing withdrawal decisions made by the University-Wide
Committee on Sexual Misconduct is much more transparent.

Madej said he was unable to find any statistics or materials on other
students who had been academically withdrawn from Yale.

“Yale breached its contract with Jakub by improperly investigating
withdrawals at Yale College, providing scant resources to the dismissed
student in his most vulnerable moment, and no avenue for a meaningful
review of unexplained and unclear decision,” Madej’s civil complaint
stated. “Yale’s decision to withdraw Jakub from the University is capricious
and arbitrary.”

Madej stressed that he does not intend to villainize Yale as a whole in his
lawsuit. Rather, he is trying to address flaws in a community to which he
still feels deeply connected and emphasized the support he has received
from his friends and close faculty members.

“It’s not me against the University,” Madej said. “I don’t feel like I am out of
the Yale family because I got a letter like this. I feel part of the Yale family
more now than ever before.”

Benjamin Franklin College is located at 90 Prospect St.

Olivia Tucker | olivia.tucker@yale.edu

Meera Shoaib | meera.shoaib@yale.edu

This article has been updated to reflect the version run in print on Feb. 10.
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
         Case 3:20-cv-00133-JCH Document 23 Filed 02/24/20 Page 193 of 198
    AD                                                AD


                                  New York -                                     Chicago -
                                  Barcelona                                      Barcelona
                                   From $154                                      From $141


                                  Chicago -                                      New York -
                                  Barcelona                                      Barcelona
    Chicago - Barcelona                               New York - Barcelona
                                   From $141                                      From $154
    From $141                                         From $154


5 Comments         Yale Daily News                                                     Jakub Madej

 Recommend          t Tweet     f Share                                                Sort by Newest



           Join the discussion…


         rick131 • 4 days ago
         He didn't follow the rules of which he was well aware. This will go nowhere.
         △ ▽ • Reply • Share ›

                 Jakub Madej > rick131 • 2 days ago
                 I appreciate your well warranted skepticism. If you wish to suggest I lied, I'd prefer
                 you say it to me directly, not anonymously online. My phone number is (203) 586-
                 0363.
                 △ ▽ • Edit • Reply • Share ›

         CMCAlum • 13 days ago
         Uhh, yeah, this complaint seems like utter BS. Moreover, assuming that this student was
         on an F-1 visa (the standard student visa), he is required by US law to take a full-time
         courseload unless it is his final semester (which it seems like it was not). See
         https://oiss.yale.edu/immig...

         Dropping down to 2 courses put his visa in jeopardy, and that's entirely on him. He would
         have received sufficient notice about this -- the fact that he ignored it until 36 hours
         beforehand is his fault.
         1△     ▽ • Reply • Share ›

                 Jakub Madej > CMCAlum • 2 days ago • edited
                 I appreciate the healthy dose of skepticism. I encourage you to read the actual
                 complaint -- which is in public record -- before making a judgment on the merits.
                 △ ▽ • Edit • Reply • Share ›
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            Celia • 15 days ago
             Um, what? It is very clearly stated in the YCPS that 2 credits leads to academic warning
             and failing while on warning leads to dismissal. I know this because I was on warning for
             having only 2 credits once. It sounds like he was trying to skate out of school while
             focusing only on his business, and he thought that the rules didn’t apply to him.
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                                         Y A L E D A I LY N E W S 2 0 2 0
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                                   U.S. District Court, District of Connecticut
                                     CIVIL ACTION no. 3:20-cv-00133-JCH




                         Exhibit 32
  Attached to Plaintiff’s Motion for Preliminary Injunction

                   Dated: February 23, 2020


                          Description:

              Letter “No trust without transparency”
                           (May 2015)
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LETTER: 03.05.15
T H E YA L E D A I LY N E W S | 2 : 0 4 A M , M A R 0 5 , 2 0 1 5



No trust without transparency

Dean Holloway, Dr. Genecin, Dr. Siggins, Dr. Blue and Professor Rogers,

We are grateful for the opportunity that last week’s mental health forum
offered to express concerns about administrative policy and the services
of Yale Mental Health and Counseling, and we are encouraged by the
progress the forum represents. This conversation marked a large step
forward in administrative visibility on the issue, and we trust that you have
heard our voices and thought over our concerns and suggestions.

However, despite frequent assurances that the administration is receptive
to the changes suggested by the student body, we find that barriers to the
success of this dialogue persist. We still await answers to many of our
questions on policy and statistics in mental health care and withdrawal; we
continue to fight for transparency in the reform process. In this letter, we
illuminate some of our most urgent concerns and provide constructive
suggestions for their resolution.

First, we are unsettled by the lack of transparency from the administration
in matters of institutional reform, which we believe surpasses the level of
discretion necessary to protect medical confidentiality. We reiterate Yale
College Council President Michael Herbert’s request that the
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administration commit to providing a point-by-point response to the
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Report on Mental Health (September 2013) and the Recommendations for
Improvement to Withdrawal and Leave of Absence Policies (March 2014).
We do not demand definitive acceptance or rejection of any
recommendation, but we do ask that the administration acknowledge and
reply to each. We also ask that the administration cite any legal restrictions
preventing the Review Committee on Withdrawal and Readmissions from
releasing information about its proceedings. These acts will further
understanding between students and administration.

Furthermore, there is currently no publicized timeline for the anticipated
hiring of new MH&C staff, nor any offer of a provisional date for the
release of the coming report by the Review Committee on Withdrawal and
Readmission. The administration has repeatedly asked students to have
faith in the committees and individuals tasked with discussing and
enacting changes, but we in turn ask for evidence that our most urgent
needs will be met with prompt and decisive action in the coming weeks.

Second, we are concerned by the administration’s assertions that student
perception of MH&C is misinformed or distorted. We worry that this belief
may preclude a thorough investigation of the miscommunication between
MH&C and students. We acknowledge that many students have had
positive experiences with MH&C, and that published student experiences
do not reflect overall rates of patient satisfaction. Still, a significant
number of students report unsatisfying or unacceptable interactions with
MH&C. We believe that if the administration makes information on MH&C
policies more readily available, we can better distinguish legitimate policy
shortcomings from incidents of miscommunication.

In particular, we request publication of the operative standards for
involuntary withdrawal and an overview of the involuntary withdrawal
process. This is absolutely necessary when Yale administrators, rather
than clinical professionals, have the ultimate say in determining a
student’s future. Far too many students do not seek professional help or
do not disclose the severity of their symptoms out of fear that their
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statements will be grounds for involuntary hospitalization or involuntary
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withdrawal. Although the best course of action for students varies on a
case-by-case basis, the absence of information on the process discourages
some students from obtaining the treatment they need to heal and thrive.
If MH&C desires to close this information gap, we believe that this is a
necessary first step.

Third, we emphasize that the burden of recognizing MH&C shortcomings
does not lie on the patients. We trust that the administration was indeed
unaware of specific policy violations, such as the failure to follow up after
missed appointments or the enforcement of a twelve-session maximum
for one-on-one counseling. But when such policies are not publicly or
easily accessible, students cannot be expected to notice or report
violations. We urge you to release a clear, comprehensive handbook of
Yale’s policies and statistics pertaining to mental health. To facilitate low-
stakes avenues for patient-provider communication, we call for the
distribution of simple post-visit patient satisfaction surveys and feedback
tools to all patients of Yale MH&C.

The student body and administration must stay firmly focused on these
mental health care issues and remain committed to maintaining
productive collaboration. We urge you to move forward with the proposals
we have outlined, and we look forward to a climate of constructive
dialogue and reform that does not end with this academic year.

Respectfully submitted,

Chris Cappiello ’15, Joseph Cornett ’17, Hiral Doshi ’17, Aaron Gertler ’15,
Carlee Jensen ’15, Christopher Landry ’15, Jessica Liang ’17, Alexa Little ’16,
Adrian Lo ’15, Tammy Pham ’15, Šimon Podhajský ’16, Caroline Posner ’17,
Korbin Richards ’15, Nathan Sitaraman ’15, Geoffrey Smith ’15, Charlotte
Storch ’15, Ella Wood ’15

March 5

The above was sent as an open letter to the aforementioned individuals.
